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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                        Plaintiffs,
                                                        No. 17-cv-1154-EGS
                v.

 DONALD J. TRUMP, in his official
 capacity as President of the United States,

                        Defendant.



         DEFENDANT’S NOTICE OF PETITION FOR WRIT OF MANDAMUS

       Defendant Donald J. Trump, President of the United States, respectfully notifies the

Court that he will shortly file in the U.S. Court of Appeals for the D.C. Circuit a petition for a

writ of mandamus against this Court’s orders declining to dismiss the case or to certify an

interlocutory appeal, as well as an application for a stay of district court proceedings pending

resolution of the mandamus petition. A copy of the proposed filing and addendum are attached.

Dated: July 8, 2019                                Respectfully submitted,

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                                                      /s/ Jean Lin
                                                      JEAN LIN

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2019, I electronically filed a copy of the foregoing. Notice

of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.
                                                     /s/ Jean Lin
                                                     JEAN LIN
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            [ORAL ARGUMENT NOT SCHEDULED]
                             No. 19-____


         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT



            In re DONALD J. TRUMP, in his official capacity
                    as President of the United States,

                                      Petitioner.


PETITION FOR A WRIT OF MANDAMUS TO THE UNITED STATES
   DISTRICT COURT FOR THE DISTRICT OF COLUMBIA AND
   MOTION FOR STAY OF DISTRICT COURT PROCEEDINGS
                 PENDING MANDAMUS


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            INTRODUCTION AND SUMMARY OF ARGUMENT

       In this extraordinary case, individual Members of Congress have brought suit

directly under the Constitution against the President of the United States for alleged

violations of the Foreign Emoluments Clause. The Members’ complaint rests on a

host of novel and flawed constitutional premises—including an assertion of legislator

standing that is flatly foreclosed by a Supreme Court decision issued last month—and

litigating the claims would entail intrusive discovery into the President’s personal

financial affairs on account of his federal office. Despite this remarkable complaint,

the district court treated this case as a run-of-the-mill commercial dispute. Not only

did it deny the President’s motion to dismiss, but it refused even to certify for

immediate appeal under 28 U.S.C. § 1292(b) its orders denying dismissal: without

disputing that there are substantial legal grounds for disagreeing with its refusal to

dismiss the case, the court simply held that an interlocutory appeal would not

materially advance the termination of the litigation because it intended to provide for

an expeditious schedule of discovery and summary judgment briefing. In so ruling,

the court ignored the unique separation-of-powers concerns posed by discovery in a

case against the President in his official capacity.

       Pursuant to 28 U.S.C. § 1651 and Federal Rule of Appellate Procedure 21, the

government respectfully requests that this Court issue a writ of mandamus directing

the district court to dismiss the complaint outright or, at a minimum, to certify for

interlocutory appeal pursuant to section 1292(b) the court’s September 28, 2018, and
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April 30, 2019, orders denying the President’s motion to dismiss. In addition, the

government respectfully requests that this Court promptly stay district-court

proceedings pending disposition of this petition, as the Fourth Circuit has done in a

parallel case, In re Trump, No. 18-2486 (4th Cir. Dec. 20, 2018).

       A party seeking mandamus must demonstrate that it has a “clear and

indisputable” right, there are “no other adequate means” of relief, and the writ is

otherwise “appropriate under the circumstances.” Cheney v. United States Dist. Court for

D.C., 542 U.S. 367, 380-81 (2004). Each of those requirements is easily satisfied in

this case.

       The district court’s failure to dismiss the complaint for lack of Article III

standing was clear and indisputable legal error. The Supreme Court held in Raines v.

Byrd, 521 U.S. 811 (1997), that federal legislators generally lack Article III standing to

sue to enforce the asserted institutional interests of Congress. Since then, neither that

Court nor this one has found standing on the part of Congress, much less individual

Members, to sue the Executive. And just last month, the Supreme Court held in

Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945 (2019), that one branch of a

state legislature lacked standing to appeal a federal court’s invalidation of a state law

governing redistricting even though it affected the legislature’s own composition; the

Court reasoned that, where the interest asserted is shared by the entire legislature,

Article III requires at a minimum that any suit be brought by the legislature itself—

not an amalgam of individual legislators or even a single chamber of a bicameral body.
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Assuming Article III would permit a suit by the legislative branch at all, that principle

applies here a fortiori: a minority of Members of Congress clearly lack standing to

vindicate an alleged interest in the President’s compliance with the Foreign

Emoluments Clause that is based merely on the ability of Congress as a whole to

provide consent for the President’s acceptance of otherwise-prohibited Emoluments.

Indeed, the district court ignored Bethune-Hill even though the government promptly

brought that decision to its attention while the motion for section 1292(b)

certification was pending.

       Equally indefensible was the district court’s decision to infer a novel equitable

cause of action to enforce the Foreign Emoluments Clause against the President of

the United States. Judicially inferring a cause of action that goes beyond traditional

equitable practice is a “significant step under separation-of-powers principles,” Ziglar

v. Abbasi, 137 S. Ct. 1843, 1856 (2017), because “Congress is in a much better position

than [the courts] to . . . design the appropriate remedy” for a legal injury, Grupo

Mexicano de Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 322 (1999). That is

particularly true when a plaintiff seeks to infer an equitable cause of action directly

against the President, who is not subject to suit in his official capacity even under

statutory causes of action absent an “express statement by Congress,” given his

unique position in our constitutional structure. Franklin v. Massachusetts, 505 U.S. 788,

801 (1992). And all the more so because the plaintiffs here are legislators who lack

cognizable interests protected by the Clause, which imposes a prophylactic
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requirement to prevent foreign corruption of official action. The district court’s

contrary holding that the President may be subject to an injunction or declaratory

judgment at the behest of the Members improperly minimized all of these separation-

of-powers concerns.

       The district court also clearly erred in interpreting the Foreign Emoluments

Clause. Below, the President explained that the text, structure, and history of the

Constitution’s Emoluments Clauses demonstrate that the term “Emolument” therein

refers only to compensation accepted from a foreign or domestic government for

services rendered by an officer in either an official capacity or employment-type

relationship. The district court’s contrary construction of the term “Emolument,”

which would broadly encompass any “profit, gain, or advantage,” renders parts of the

constitutional text superfluous and is contradicted by unbroken executive practice

from the Founding era to modern times. On mandamus, this Court need not resolve

this merits issue given the obvious threshold defects with the Members’ suit. But the

district court’s interpretive error underscores that this suit is fatally flawed.

       Mandamus is appropriate in these circumstances to correct such fundamental

errors. The President has no other adequate means of obtaining relief. If the district

court’s clearly erroneous orders are allowed to stand, this improper suit will proceed

and the Members will commence discovery aimed at probing the President’s personal

financial affairs because he holds federal office. Indeed, that discovery, the Members

acknowledge, may be directed at the President himself, “distract[ing] [him] from the
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energetic performance of [his] constitutional duties.” Cheney, 542 U.S. at 382. As the

Supreme Court has stressed, the “high respect that is owed to the office of the Chief

Executive . . . is a matter that should inform the conduct of the entire proceeding,

including the timing and scope of discovery.” Id. at 385 (alteration in original). And

that is particularly true where, as here, the discovery that the Members envision seeks

to end-run the process of seeking information if there is a legitimate legislative

interest, through a congressional subpoena. Mandamus is appropriate in light of these

separation-of-powers concerns with the requested discovery and the indisputable

futility of the underlying suit.

       For essentially the same reasons, the government also requests that the Court

promptly stay further district-court proceedings pending consideration of this

mandamus petition. The Members have already propounded thirty-seven subpoenas

to third parties. Those requests require a response by July 29, 2019, and the

government respectfully requests that, by July 22, 2019, this Court grant a stay of

proceedings, as the Fourth Circuit has done in a parallel Emoluments suit.

                                    STATEMENT

       A. The Foreign Emoluments Clause provides that “No Title of Nobility shall

be granted by the United States: And no Person holding any Office of Profit or Trust

under them, shall, without the Consent of the Congress, accept of any present,

Emolument, Office, or Title, of any kind whatever, from any King, Prince, or foreign

State.” U.S. Const. art. I, § 9, cl. 8. Although not directly at issue here, the Domestic
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Emoluments Clause provides that “The President shall, at stated Times, receive for

his Services, a Compensation, which shall neither be encreased nor diminished during

the Period for which he shall have been elected, and he shall not receive within that

Period any other Emolument from the United States, or any of them.” Id. art. II, § 1,

cl. 7.

         B. Plaintiffs are 215 Members of Congress who sued the President in his

official capacity on June 14, 2017. The Members allege that, “[s]ince taking office,

[the President] has accepted, or necessarily will accept, numerous emoluments from

foreign states.” Add. 138, 172 (Second Am. Compl. ¶¶ 1, 77). They allege that the

President owns hundreds of businesses in the United States and in at least twenty

foreign countries, and that he violates the Foreign Emoluments Clause whenever such

businesses receive “any monetary or nonmonetary benefit . . . from a foreign state

without first obtaining ‘the Consent of the Congress.’” Add. 139, 155 (Second Am.

Compl. ¶¶ 6, 34). The Members assert that these alleged violations injure them

because they are denied an “opportunity to cast a binding vote that gives or withholds

their ‘Consent’ before the President . . . accepts a foreign ‘Emolument.’” Add. 171-72

(Second Am. Compl. ¶ 76). They seek a declaration that the President has violated

the Foreign Emoluments Clause and an injunction prohibiting him from accepting

foreign Emoluments without first obtaining congressional consent. Add. 175-76

(Second Am. Compl. 57-58).


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      C. The government moved to dismiss the Members’ complaint for lack of

jurisdiction and for failure to state a claim on which relief could be granted. The

district court bifurcated its motion-to-dismiss proceedings. On September 28, 2018, it

held that the Members had Article III standing to bring this suit. Add. 4. It reasoned

that legislators have standing to allege that their votes have been “completely

nullified,” Add. 17 (quoting Raines, 521 U.S. at 823), and that the Members’ votes

were so nullified due to the President’s alleged acceptance of “prohibited foreign

emoluments as though Congress had provided its consent,” Add. 32. The

government promptly moved to certify an interlocutory appeal of that order on

October 22, 2018.

      On April 30, 2019, the district court denied the remainder of the motion to

dismiss. Add. 59. As to the Members’ cause of action, the court held that it is proper

to imply a right of action to protect any “right[] safeguarded by the Constitution

unless there is a reason not to do so.” Add. 99 (quotation marks omitted). The court

further rejected the government’s argument that relief was unavailable directly against

the President, concluding that an injunction could properly be entered against the

President because compliance with the Emoluments Clauses is a mere “ministerial

duty.” Add. 105. The court also determined that the Members fall within the Foreign

Emoluments Clause’s zone of interests because “the only way the Clause can achieve

its purpose” is if Congress is permitted to vote on the receipt of Emoluments. Add.

100. As to the meaning of the Foreign Emoluments Clause, the district court ruled
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that the term “Emolument” meant any “profit, gain, or advantage,” a definition that

encompassed the Members’ factual allegations. Add. 94. The government moved to

certify an interlocutory appeal of that order on May 14, 2019.

      On June 25, 2019, the district court denied certification of its two orders. Add.

107. The court reasoned only that, because the issues in this case could “be resolved

on cross motions for summary judgment” after expeditious discovery and summary-

judgment briefing, the government did not satisfy section 1292(b)’s requirement that

interlocutory appeal “materially advance the ultimate termination of the litigation.”

Add. 112-16 (quoting 28 U.S.C. § 1292(b)). The court did not dispute the existence

under section 1292 of multiple “controlling” questions as to which there is, at the very

least, “substantial ground for difference of opinion.” Indeed, the court did not

address at all the relative merits of its orders denying the government’s motion to

dismiss.

      D. The Members’ pre-discovery statement makes clear that they may seek

what they assert will be “limited” discovery from the President. Dkt. No. 75, at 2-3.

That discovery may include attempts to obtain “the President’s financial documents.”

Id. at 3. Moreover, while the Members assert that they “plan to focus discovery” on

third parties, even that discovery would concern the financial interests of the

President on account of his office, in order to “determine whether President Trump is

currently receiving funds” from his business enterprises attributable to proceeds from

foreign governmental customers. Id. at 2-3.
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       On June 25, the district court entered a discovery schedule contemplating three

months of fact discovery. To date, the Members have propounded thirty-seven third-

party subpoenas. The subpoena recipients are required to respond by July 29, 2019.

                                     ARGUMENT

       An appellate court has the power under 28 U.S.C. § 1651(a) to issue a writ of

mandamus directing the conduct of a district court where (1) the petitioner has a

“clear and indisputable” right to relief; (2) there are “no other adequate means to

attain the relief”; and (3) mandamus relief is otherwise “appropriate under the

circumstances.” Cheney v. United States Dist. Court for D.C., 542 U.S. 367, 380-81 (2004).

Although the standard for mandamus is, and should be, a high one, it is satisfied in

the extraordinary circumstances presented here.

I.     THE PRESIDENT HAS A CLEAR AND INDISPUTABLE RIGHT TO RELIEF.

       A.     The district court’s standing holding was clearly and
              indisputably incorrect.

       1. In Raines v. Byrd, 521 U.S. 811 (1997), six Members of Congress who had

unsuccessfully opposed the Line Item Veto Act brought suit following its enactment

seeking to declare the Act unconstitutional. Id. at 814-16. The Raines plaintiffs

contended that the Act had injured them by “alter[ing] the legal and practical effect of

[their] votes” and “divest[ing] [them] of their constitutional role in the repeal of

legislation.” Id. at 816. The Supreme Court held that the plaintiff legislators lacked a

judicially cognizable injury under Article III. Id. at 818, 829-30. After noting that the


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Members had not asserted any “personal injury”—that is, harm suffered in a “private

capacity”—the Court explained that the Members’ institutional injury was not

judicially cognizable. Id. at 818-19, 821.

       Most important to that institutional-injury analysis, the Court emphasized the

absence of any “historical practice” supporting the legislators’ suit. Raines, 521 U.S. at

826. “It is evident from several episodes in our history,” the Court observed, “that in

analogous confrontations between one or both Houses of Congress and the

Executive Branch, no suit was brought on the basis of claimed injury to official

authority or power.” Id. The fact that past Congresses and Presidents never resorted

to the courts to resolve these and other inter-branch disputes underscored that the

Raines plaintiffs’ suit was not one “traditionally thought to be capable of resolution

through the judicial process.” Id. at 819.

       Raines also noted two other factors militating against the plaintiffs’ standing.

First, the Court “attach[ed] some importance to the fact that [the plaintiffs] have not

been authorized to represent their respective Houses of Congress in this action.” 521

U.S. at 829. The Court observed that Congress’s powers are “not vested in any one

individual, but in the aggregate of the members who compose the body,” id. at 829

n.10, and reaffirmed that “[g]enerally speaking, members of collegial bodies do not

have standing to [take litigative actions] the body itself has declined to take,” id.

Second, the Court highlighted that the plaintiffs had “adequate remed[ies]” through

the legislative process that would entirely address their injuries, provided that they
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could persuade a majority of their colleagues to agree. Id. at 829. For instance,

Congress could “repeal the Act or exempt appropriations bills from its reach.” Id.

       After Raines, this Court has twice rejected claims of standing by federal

legislators. See Campbell v. Clinton, 203 F.3d 19 (D.C. Cir. 2000); Chenoweth v. Clinton,

181 F.3d 112 (D.C. Cir. 1999). On both occasions, this Court reaffirmed that Raines

generally forecloses such suits, and emphasized the narrowness of any possible

exception. Campbell, 203 F.3d at 20-22; Chenoweth, 181 F.3d at 113-14. This Court

also emphasized that Raines abrogated its prior precedent on legislative standing.

Chenoweth, 181 F.3d at 113-15.

       In Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945 (2019), the Supreme

Court applied Raines to hold that one chamber of Virginia’s bicameral legislature

lacked standing to appeal to defend a state redistricting plan affecting the composition

of the legislature itself. Id. at 1952-55. The Virginia House of Delegates argued that it

had standing because Virginia’s constitution allocates the authority to establish

“electoral districts” to “the General Assembly.” Id. at 1953. But the Court rejected

that argument, explaining that “the House constitutes only a part” of the General

Assembly, and so lacked standing to sue regardless of whether the Assembly itself

could establish a cognizable injury. Id. “Just as individual members lack standing to

assert the institutional interests of a legislature,” the Court concluded, “a single House

of a bicameral legislature lacks capacity to assert interests belonging to the legislature


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as a whole,” such as the alleged interest in drawing the electoral maps that would

determine its own composition. Id. at 1953-54 (citing Raines, 521 U.S. at 829).

       Finally, it warrants emphasis that the specific limitations on legislative standing

in Raines and Bethune-Hill reflect the fundamental rationale of Article III standing.

“[T]he law of Art. III standing is built on a single basic idea—the idea of separation of

powers,” Allen v. Wright, 468 U.S. 737, 752 (1984), and “serves to prevent the judicial

process from being used to usurp the powers of the political branches,” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 408 (2013).

       2. The lack of Article III standing in this case follows a fortiori from Bethune-

Hill for three reasons. First, individual Members of the House and Senate necessarily

“lack standing to assert the institutional interests” of “the Congress” as they cannot

even assert any interests of their respective Chambers. See Bethune-Hill, 139 S. Ct. at

1953 (citing Raines, 521 U.S. at 829). Second, the separation-of-powers concerns that

counseled against standing in Bethune-Hill are even stronger for federal legislators,

because the Constitution itself vests “enforcement powers” concerning compliance

with federal law in the Executive, not the Legislative, branch. See Buckley v. Valeo, 424

U.S. 1, 138 (1976); Raines, 521 U.S. at 824 n.8. And third, the asserted legislative

interest in whether or not to pass a law consenting to a foreign “Emolument” is

weaker than the Virginia House’s asserted interest in Bethune-Hill concerning a

redistricting law that directly affected its own composition. See 139 S. Ct. at 1953.


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       Indeed, the implications of plaintiffs’ theory of standing only underscore its

inadequacy, particularly after Bethune-Hill. For example, the Members’ professed

interest in whether Congress should consent to prohibited Emoluments would

perversely imply that Congress has standing to enforce the Foreign Emoluments

Clause but lacks standing to enforce the Domestic Emoluments Clause because the

latter prohibition is absolute rather than qualified by congressional consent. And it

would also mean that one House of Congress has standing to enforce against

sovereign States—or the other chamber of Congress—the numerous constitutional

provisions that require the consent of Congress. E.g., U.S. Const. art. I, § 5, cl. 4

(adjournment of a House of Congress); id. § 10, cl. 2 (imposts or duties); id. § 10, cl. 3

(duties of tonnage and interstate compacts). Those propositions are plainly untenable,

and the case should end with Bethune-Hill, which the district court ignored even

though the government brought that recent decision to its attention while the section

1292(b) motion was pending.

       Moreover, even setting aside Bethune-Hill’s square holding that individual

legislators cannot sue to enforce alleged institutional interests of their legislature as a

whole, the Members’ suit fails. Raines and its progeny refute the existence of any

judicially cognizable legislative interest in compliance with the Foreign Emoluments

Clause by the President or other federal officers.

       Most fundamentally, the district court made little effort to square its conclusion

with the lack of historical support for Article III adjudication of interbranch political
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disputes. See Raines, 521 U.S. at 826-29. Neither the Members nor the court ever

identified an analogous confrontation that was adjudicated in federal court. See

Chenoweth, 181 F.3d at 113-14 (“Historically, political disputes between Members of

the Legislative and Executive Branches were resolved without resort to the courts.”).

And contrary to the district court’s assertion (Add. 53), the type of dispute implicated

here is not new: Members of Congress frequently clash with the Executive on

whether Congress’s consent is constitutionally necessary before the President’s taking

particular actions. See, e.g., Campbell, 203 F.3d at 20; Chenoweth, 181 F.3d at 113. That

the merits of those disputes have never culminated in adjudication by courts

demonstrates that such interbranch disputes are not “traditionally thought to be

capable of resolution through the judicial process.” Raines, 521 U.S. at 819.

Otherwise, Members of Congress could sue every time the President or his

subordinates—by Executive Order, agency rulemaking, or other executive action—

allegedly circumscribe Congress’s institutional role of providing “consent” for federal

action that the Executive lacks authority to take unilaterally. But see id. at 826 (no

standing to allege “the abstract dilution of institutional legislative power”).

       The district court likewise disregarded the additional factors that the Raines

Court found relevant. The district court never reckoned with the fact that the

Members have not been “authorized to represent their respective Houses of Congress

in this action,” Raines, 521 U.S. at 829, and that they have not been and could not

have been authorized to represent the United States itself, compare Bethune-Hill, 139 S.
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Ct. at 1952 (noting that Virginia “could have authorized the House to litigate on the

State’s behalf”), with Buckley, 424 U.S. at 138. The district court’s conclusion that “a

single Member of Congress could have standing to sue based on a vote nullification

theory when it was the President’s action, rather than a lack of legislative support, that

nullified the Member’s vote,” Add. 33, is impossible to square with this Court’s

holdings in Campbell and Chenoweth, where it was the President’s actions that caused the

Members’ alleged injuries. E.g., Campbell, 203 F.3d at 20 (“Appellants claim that the

President . . . failed to end U.S. involvement in the hostilities after 60 days.”).

       Similarly, the district court’s suggestion that, unlike in Raines, 521 U.S. at 829,

the Members lack legislative remedies as an alternative to suit is untenable. Congress,

unlike members of the public, has access to various “self-help” remedies uniquely

available to legislators. Campbell, 203 F.3d at 24; see United States v. Windsor, 570 U.S.

744, 791 (2013) (Scalia, J., dissenting) (noting that Congress has “available

innumerable ways to compel executive action without a lawsuit”); Natural Res. Def.

Council, Inc. v. Hodel, 865 F.2d 288, 319 (D.C. Cir. 1988) (“[T]he most representative

branch is not powerless to vindicate its interests or ensure Executive fidelity to

Legislative directives.”). Among other powers, Congress can withhold funds from the

Executive, decline to enact legislation that the Executive desires, or enact and override

vetoes of legislation that the Executive disfavors—including on the subject of

Emoluments. The availability of such political remedies reinforces the wisdom of

Article III’s “barrier against congressional legal challenges to executive action.”
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Campbell, 203 F.3d at 21; see id. at 24 (“Raines explicitly rejected [the] argument that

legislators should not be required to turn to politics instead of the courts for their

remedy.”). Using these remedies, Congress may force the Executive to comply with

its view of the law. But Congress “must care enough to act against the” Executive

Branch itself, “not merely enough to instruct its lawyers to ask [the courts] to do so,”

let alone outside counsel for a minority of Members. See Windsor, 570 U.S. at 791

(Scalia, J., dissenting).

       Finally, the district court misunderstood a possible narrow exception identified

in Raines. The Court there noted that it had only ever “upheld standing for legislators

(albeit state legislators) claiming an institutional injury” in “one case.” Raines, 521 U.S.

at 821. In that case, Coleman v. Miller, 307 U.S. 433 (1939), a group of state legislators

brought suit in state court contending that their votes in the legislature, which would

have been dispositive to reject a proposed federal constitutional amendment, had

been “completely nullified” through an improper voting procedure that ratified the

amendment. Raines, 521 U.S. at 823. Raines explained that Coleman stands—“at

most”—for “the proposition that legislators whose votes would have been sufficient

to defeat (or enact) a specific legislative Act have standing to sue if that legislative

action goes into effect (or does not go into effect), on the ground that their votes

have been completely nullified.” Id. Subsequently, this Court emphasized that this

“very narrow possible Coleman exception to Raines” is satisfied only in circumstances

where the plaintiff legislators “could [not] have done anything to reverse” the
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outcome of the challenged legislative vote. Campbell, 203 F.3d at 22-23; see Bethune-

Hill, 139 S. Ct. at 1954 (limiting Coleman to “the results of a legislative chamber’s poll

or the validity of any counted or uncounted vote.”).

       The Members’ attempt to fit this case into any Coleman exception fails at

multiple levels. To begin, Coleman—a case involving state legislators—does not apply

to claims brought by Members of Congress. Even before Raines, this Court

recognized that “[a] separation of powers issue arises as soon as the Coleman holding is

extended to United States legislators,” because “[i]f a federal court decides a case

brought by a United States legislator, it risks interfering with the proper affairs of a

coequal branch.” Harrington v. Bush, 553 F.2d 190, 205 n.67 (D.C. Cir. 1977). In light

of “the separation-of-powers concerns present[ed],” the Supreme Court in Raines

expressly reserved the question whether Coleman could be extended to a suit “brought

by federal legislators.” 521 U.S. at 824 n.8. And this Court has not applied that

decision post-Raines to allow federal legislators to litigate institutional claims of injury

(even assuming arguendo that Coleman might not be limited to state legislators).

Recently, the Supreme Court reiterated that “a suit between Congress and the

President would raise separation-of-powers concerns absent” in a case applying

Coleman to a claim by a state Legislature. Arizona State Legislature v. Arizona Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2665 n.12 (2015); see also Bethune-Hill, 139 S. Ct. at

1959 (Alito, J., dissenting) (noting that “[a]n interest asserted by a Member of


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Congress or by one or both Houses of Congress” may not be “consistent with the

structure created by the Federal Constitution”).

       Moreover, even assuming Coleman could be extended to the federal context, the

Members’ claim here in no way resembles the claim in Coleman. The Members here

do not allege that their “votes have been completely nullified” such that their “votes

would have been sufficient to defeat (or enact) a specific legislative Act” and yet the

“legislative action [went] into effect (or [did] not go into effect)” despite their votes.

Raines, 521 U.S. at 823; see also Bethune-Hill, 139 S. Ct. at 1954 (reiterating that Coleman

applies, “at most,” in that specific context). Indeed, the Members do not even allege

that their votes would be sufficient to approve or disapprove of the President’s

alleged receipt of Emoluments. And unlike the ratification of a proposed

constitutional amendment at issue in Coleman, the injuries alleged by the Members

here are hardly irrevocable through future legislative action. See Campbell, 203 F.3d at

23 (stating that “the very narrow possible Coleman exception to Raines” applies only

where a plaintiff legislator “ha[s] no legislative remedy”).

       In all events, even assuming that this suit asserting legislative injuries somehow

falls with a gap left open by Raines, it is unequivocally foreclosed by Bethune-Hill

because it is brought by a minority of Members rather than Congress as a whole.

Because the President is clearly and indisputably entitled to dismissal of the Members’

suit for lack of Article III standing, a writ of mandamus is appropriate.


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       B.      The district court’s cause-of-action holding was clearly and
               indisputably incorrect.

       1. Neither the Constitution nor any statute provides an express cause of action

for alleged violations of the Foreign Emoluments Clause. And the Supreme Court

has cautioned that the creation of a “judge-made remedy” of an implied cause of

action in equity is available only in “some circumstances” that present “a proper

case.” Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015); see Grupo

Mexicano de Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 318 (1999) (federal

equity jurisdiction is limited to historical practices of the English Court of Chancery).

Inferring a cause of action that extends beyond “traditional equitable powers” is a

“significant step under separation-of-powers principles” because it intrudes upon

“Congress, [which] has a substantial responsibility to determine” whether a suit

should lie against individual officers and employees. Ziglar v. Abbasi, 137 S. Ct. 1843,

1856 (2017).

       Implied equitable claims against government officers have typically involved

suits that “permit potential defendants in legal actions to raise in equity a defense

available at law.” Michigan Corrs. Org. v. Michigan Dep’t of Corrs., 774 F.3d 895, 906 (6th

Cir. 2014); see, e.g., Free Enter. Fund v. Public Co. Accounting Oversight Bd., 561 U.S. 477,

491 n.2 (2010). Such suits ordinarily do not pose separation-of-powers concerns

because they merely shift the timing and posture of litigating a legal question that

Congress has already authorized to be adjudicated in federal court.

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        Here, by contrast, the district court barely paused in creating an equitable cause

of action even though the Members “are not subject to or threatened with any

enforcement proceeding” and even though the parties’ dispute otherwise would not

be in federal court at all. See Douglas v. Independent Living Ctr. of S. Cal., Inc., 565 U.S.

606, 620 (2012) (Roberts, C.J., dissenting). The Members’ attempt to wield the

Constitution “as a cause-of-action-creating sword” poses significant separation-of-

powers concerns. Michigan Corrs. Org., 774 F.3d at 906. The district court believed it

could create a cause of action because the Supreme Court has permitted a suit in

equity to enjoin a violation of the Appointments Clause. Add. 98. But the relevant

precedent allowed such a suit where a “formal investigation” had been threatened

against one of the plaintiffs’ private businesses. Free Enter. Fund v. Public Co. Accounting

Oversight Bd., 561 U.S. 477, 487 (2010). The Members here have not alleged any such

investigation, nor any other analogous harm to their property or person warranting

invocation of equitable remedies. That crucial difference places Free Enterprise Fund

squarely within the precedents discussed above, and this case squarely outside of

them.

        2. This is a particularly inappropriate context to recognize a non-traditional

equitable claim because there is neither a proper defendant nor a proper plaintiff.

        a. No equitable relief is available against the President in his official capacity.

As the Supreme Court has explained, imposing such relief would violate the

fundamental principle, rooted in the separation of powers, that federal courts have
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“no jurisdiction of a bill to enjoin the President in the performance of his official

duties.” Mississippi v. Johnson, 71 U.S. 475, 501 (1867); see Franklin v. Massachusetts, 505

U.S. 788, 802-03, 806 (1992) (plurality op.). As this Court has explained, “for the

President to ‘be ordered to perform particular executive . . . acts at the behest of the

Judiciary,’ at best creates an unseemly appearance of constitutional tension and at

worst risks a violation of the constitutional separation of powers.” Swan v. Clinton, 100

F.3d 973, 978 (D.C. Cir. 1996) (citation omitted; alteration in original). And this

Court has further noted that “similar considerations” govern claims for declaratory

relief against the President. Id. at 976 n.1; see Newdow v. Roberts, 603 F.3d 1002, 1012-

13 (D.C. Cir. 2010); see also Ali v. Rumsfeld, 649 F.3d 762, 778 (D.C. Cir. 2011) (“[T]he

availability of declaratory relief presupposes the existence of a judicially remedial

right.”).

       This constitutional rule, at a minimum, counsels against holding that the

President is subject to an implied cause of action in equity or a direct declaratory

judgment when there is neither historical precedent nor express language supporting

such a suit. Indeed, the Supreme Court has repeatedly held that, in light of these

separation-of-powers concerns, an express statement is at the very least required

before even a generally available cause of action may be extended specifically to the

President. See Franklin, 505 U.S. at 801 (APA’s express cause of action); Nixon v.

Fitzgerald, 457 U.S. 731, 748 n.27 (1982) (Bivens and other implied causes of action for

damages). That alone forecloses subjecting the President to suit here.
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       The district court’s contrary reasoning is plainly erroneous. In the court’s view

(Add. 105), an injunction against the President would be proper because compliance

with the Foreign Emoluments Clause is the type of mere “ministerial duty” that

Mississippi suggested the President might permissibly be ordered to satisfy. 71 U.S. at

477. But a ministerial duty is one in “which nothing is left to discretion.” Id. at 498.

Here, by contrast, determining compliance with the Foreign Emoluments Clause

requires ample “exercise of judgment.” Id. at 499. It is immaterial that violating the

Clause would be prohibited, because President Johnson in Mississippi likewise was

prohibited from enforcing the statutes at issue if they were unconstitutional. Id. at

498. What matters is that President Trump must exercise judgment in determining

whether his financial interests are compatible with the continued exercise of his office

under the Emoluments Clauses, and thus his “performance of [that] official dut[y]” is

not ministerial under Mississippi. Id. at 501.

       b. Even assuming that individual Members of Congress could ever

demonstrate Article III standing to sue to enforce institutional interests, legislators

have no legally or judicially cognizable interests to sue to enforce the Foreign

Emoluments Clause. The Supreme Court “has required that the plaintiff’s complaint

fall within the zone of interests to be protected or regulated by the statute or

constitutional guarantee in question.” Valley Forge Christian Coll. v. Americans United for

Separation of Church & State, Inc., 454 U.S. 464, 475 (1982) (quotation marks omitted);

see also Lexmark Int’l, Inc. v. Static Components, Inc., 572 U.S. 118, 129 (2014) (explaining
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that the zone-of-interests limitation on congressionally authorized causes of action is

of “general application” and “applies unless it is expressly negated”).

       As the Members acknowledge, the Foreign Emoluments Clause is a

prophylactic measure that aims to protect the public at large against the corrupting

influence of foreign Emoluments on official actions. The Members, in bringing this

suit, do not even allege any such corrupted action, let alone direct injury from any

such corrupted action. Instead, they assert only an abstract interest in an alleged

violation of the law by an official in the Executive Branch, cast as an infringement of

their ability to consent to otherwise-prohibited Emoluments. They thus do not assert

an interest that is even arguably protected under the Clause, but rather what is in

essence only a generalized grievance, shared by all members of the public, in having

an official comply with a prophylactic provision of the Constitution adopted for the

benefit of the public generally. United States v. Richardson, 418 U.S. 166, 176-78 (1974).

There is no basis in Article III or in the courts’ equitable authority for such a suit.

       C.     The district court’s Foreign Emoluments Clause holding
              was clearly and indisputably incorrect.

       The district court was also clearly mistaken to hold that the Members have

stated a claim under the Foreign Emoluments Clause, as properly construed. As the

government explained, interpreting the Clause to prohibit only compensation

accepted from a foreign government for services rendered by an officer in either an

official capacity or employment-type relationship is supported by contemporaneous

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dictionaries; by intra-textual comparison both within the Foreign Emoluments Clause

itself and with the Domestic Emoluments Clause, U.S. Const. art. II, § 1, cl. 7, and the

Incompatibility Clause, id. art. I, § 6, cl. 2; and by consistent Executive practice from

the Founding era to modern times. Dkt. No. 15-1, at 18-41. But the district court

rejected this well-supported interpretation and instead construed the term “broadly as

any profit, gain, or advantage.” Add. 95. This Court need not rely on that merits

defect to grant this mandamus petition, given the threshold standing and cause-of-

action defects. Supra p. 4. That said, the government stands ready to provide

supplemental briefing on the merits if this Court so desires, as occurred in the parallel

Fourth Circuit case. In re Trump, No. 18-2486 (4th Cir. Dec. 20, 2018) (inviting

additional briefing); Reply Brief for Petitioner, In re Trump, No. 18-2486, at 15-22

(Feb. 21, 2019) (providing additional briefing).

II.    MANDAMUS IS APPROPRIATE IN THIS EXTRAORDINARY CASE.

       Because the district court’s orders declining to dismiss this suit are clearly and

indisputably incorrect, this Court should grant the petition if the President has “no

other adequate means to attain relief” and the writ of mandamus is otherwise

“appropriate under the circumstances.” Cheney, 542 U.S. at 380-81. Although an

appeal from final judgment is ordinarily an adequate means of relief from the

erroneous failure to dismiss a complaint, see id. at 381-82, that is not the case here

given the unique and fundamental separation-of-powers concerns presented by

allowing a suit to proceed and discovery to commence in a case against the President
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in his official capacity that targets his private financial affairs because of the office he

holds. The Supreme Court has repeatedly held that “[t]he high respect that is owed to

the office of the Chief Executive . . . is a matter that should inform the conduct of the

entire proceeding, including the timing and scope of discovery.” Id. at 385 (quoting

Clinton v. Jones, 520 U.S. 681, 707 (1997)). Where the underlying suit is clearly and

indisputably nonjusticiable (and meritless), it is not “adequate” to expose the

President to suit and unwarranted and distracting discovery, and it is accordingly

“appropriate” to provide mandamus relief to eliminate that “threat[] [to] the

separation of powers.” Id. at 380-81; see also In re Sealed Case No. 98-3077, 151 F.3d

1059, 1065 (D.C. Cir. 1998) (per curiam) (mandamus appropriate when “the burden

of discovery . . . could not be recompensed” by appeal of final judgment); In re

Papandreou, 139 F.3d 247, 250-51 (D.C. Cir. 1998) (similar).

       The district court has ignored the constitutional implications of proceeding

with this litigation. In concluding that it was appropriate to commence discovery

rather than certify an interlocutory appeal, the district court explained that an

expedited discovery and summary-judgment schedule would provide the President

with protection from the burdens of protracted litigation. Add. 113. But the fact that

this suit is brought against the President “remove[s] this case from the category of

ordinary discovery orders where interlocutory appellate review is unavailable, through

mandamus or otherwise.” Cheney, 542 U.S. at 381. As the Supreme Court has


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explained, “separation-of-powers considerations should inform a court of appeals’

evaluation of a mandamus petition involving the President.” Id. at 382.

       Those separation-of-powers concerns apply with force here. If the Members

seek discovery against the President directly, that would inevitably “distract” the

President “from the energetic performance of [his] constitutional duties.” Cheney, 542

U.S. at 382. The Members’ plan to target third parties to discover the President’s

personal financial information also poses severe separation-of-powers problems. As

an end-run around the congressional subpoena process for seeking information if

there is a legitimate legislative interest, the Members have initiated a meritless suit

where they plainly lack standing and a cause of action in an effort to invoke the

judicial discovery process. Allowing such a gambit would distract the President from

the performance of his constitutional duties in similar ways as seeking discovery

directly against the President. In both instances, whether intended or not, any

information produced through discovery would undoubtedly be publicized and used

to distract and harass the President. The Members cannot deny that obtaining such

discovery for its own sake is a primary purpose of the suit. Indeed, below, the

Members devoted the vast majority of their argument to opposing the government’s

motion for a stay of discovery pending interlocutory appeal, while opposing

certification of the interlocutory appeal only in the final pages of their brief. Compare

Dkt. No. 74, at 10-40 (opposing stay), with id. at 40-44 (opposing certification). The

Members should not be permitted to use this (clearly and indisputably) flawed suit to
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pry into the President’s personal finances in such a manner. Because the district court

refused to dismiss an “unwarranted impairment of another branch in the performance

of its constitutional duties,” this Court should step in to terminate this litigation now.

Cheney, 542 U.S. at 390. 1

       Alternatively, if this Court were disinclined to grant mandamus to dismiss this

suit, it should at the very least grant mandamus to order the district court to certify its

motion-to-dismiss orders for interlocutory appeal. See Fernandez-Roque v. Smith, 671

F.2d 426, 431 (11th Cir. 1982). The sole reason that the district court gave for its

refusal to certify was its view that further district-court proceedings could terminate

this litigation faster than an appeal would. Add. 117. Again, though, that analysis

entirely ignored Cheney’s teaching that “[s]pecial considerations applicable to the

President” instruct that this Court “should be sensitive to requests by the

Government for interlocutory appeals” such as this one. 542 U.S. at 391-92. Of

course, the decision whether to grant certification under section 1292(b) is

discretionary. But “[d]iscretion is not whim,” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923, 1931 (2016), and can be “clear[ly] abuse[d],” Cheney, 542 U.S. at 380. This is

the rare case where the district court’s exercise of discretion warrants mandamus



       1
        The separation-of-powers concerns of the Executive Branch would be
exacerbated if the Members also seek, as plaintiffs in parallel Emoluments suits have
done, to inquire into the effect of alleged Emoluments on official actions of the
President’s administration, including through third-party subpoenas of government
agencies.
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relief, given that the legal standard for certification was plainly met and that the

district court’s reasoning to the contrary ignored important separation-of-powers

concerns.

III.   THIS COURT SHOULD STAY DISTRICT-COURT PROCEEDINGS
       PENDING ITS CONSIDERATION OF THIS PETITION.

       This Court has previously granted stays of district-court proceedings pending

disposition of a petition for a writ of mandamus. See, e.g., In re Kellogg Brown & Root,

Inc., 756 F.3d 754, 756 (D.C. Cir. 2014); In re Sealed Case No. 98-3077, 151 F.3d at

1063. And the Fourth Circuit recently stayed district-court discovery in a parallel case

brought by different plaintiffs against the President under the Foreign and Domestic

Emoluments Clauses. In re Trump, No. 18-2486 (4th Cir. Dec. 20, 2018). A stay is

likewise appropriate here. See Nken v. Holder, 556 U.S. 418, 425-26 (2009) (standard

for stay pending appeal). As discussed above, the President is likely to obtain

mandamus, and he is likely to suffer irreparable injury in the interim from the

continuation of this suit and intrusive discovery into his personal finances based on

the public office he holds. Plaintiffs have already sought discovery against thirty-

seven third parties, demanding information including the tax returns of the Trump

Organization and other entities. A response to those subpoenas is required by July

29, 2019.

       No countervailing harm will result from the requested stay. Even setting aside

that the Members’ injuries are not cognizable at all, they do not come close to

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outweighing the separation-of-powers concerns with this suit against the President in

which the Members seek to pry into his personal finances on account of his office.

Indeed, the Members have not sought and could not plausibly seek a preliminary

injunction, which underscores that they face no immediate harm sufficient to

outweigh the harm to the President. Nor can the Members explain how a suit such as

this is a more appropriate vehicle to try to obtain the information they seek than the

ordinary tools Congress possesses that do not rely on the judicial branch. The

government thus requests that this Court promptly issue a stay of district court

proceedings pending the Court’s disposition of this petition.




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                                   CONCLUSION

      The petition for a writ of mandamus should be granted. Additionally, this

Court should stay district-court proceedings pending resolution of this petition.

Because the subpoenas have a return date of July 29, 2019, the government

respectfully requests that this Court act on the stay motion by July 22, 2019, in order

to provide time to seek relief from the Supreme Court if necessary.

                                                Respectfully submitted,

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July 2019




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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 21(d)(1) because it contains 7362 words. This brief also complies with the

typeface and type-style requirements of Federal Rule of Appellate Procedure 32(a)(5)-

(6) because it was prepared using Microsoft Word 2016 in Garamond 14-point font, a

proportionally spaced typeface.



                                              /s/ Martin Totaro
                                              Martin Totaro
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies as

follows:

       A.     Parties and Amici
       Plaintiffs in district court, and respondents here, are 215 Members of Congress

whose names appear at Add. 119-137.

       The defendant in district court, and petitioner here, is Donald J. Trump, in his

official capacity as President of the United States.

       The amici in district court are: (1) Seth Barrett Tillman and the Judicial

Education Project; (2) Michael Barnes, Leonard Boswell, Barbara Boxer, Bob Carr,

Tom Coleman, Mickey Edwards, Lee Hamilton, Tom Harkin, Gary Hart, Bob Inglis,

Carl Levin, Brad Miller, George Miller, Philip Sharp, Chris Shays, Peter Smith, Mark

Udall, Henry Waxman, and Dick Zimmer; (3) Don Fox, Marilyn Glynn, Karen Kucik,

Lawrence R. Reynolds, Amy Comstock Rick, Trip Rothschild, Walter Shaub, Richard

M. Thomas, Kathleen Whalen, Harvey Wilcox, and Leslie Wilcox; (4) Madeleine K.

Albright, Bruce Andrews, Daniel Benjamin, Antony Blinken, William J. Burns,

Bathsheba N. Crocker, Ryan Crocker, Daniel Feldman, Joshua A. Geltzer, Suzy

George, Chuck Hagel, Heather A. Higginbottom, Christopher R. Hill, John F. Kerry,

Prem Kumar, James C. O’Brien, Jeffrey Prescott, Kori Schake, Eric P. Schwartz,

Wendy R. Sherman, Vikram Singh, and James B. Steinberg; (5) Matthew I. Hall,
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Thomas Campbell, Erwin Chemerinsky, Perry Dane, Frank Deale, Robin Effron,

Heather Elliott, Jamal Greene, Aziz Huq, Jon D. Michaels, Sandra Rierson, Eric J.

Segall, Joan E. Steinman, Emily Garcia Uhrig, and Arthur D. Wolf; (6) Rebecca L.

Brown, Harold H. Bruff, Neil Kinkopf, Christopher H. Schroeder, Peter M. Shane,

Kevin M. Stack, and Peter L. Strauss; and (7) Jed H. Shugerman, John Mikhail, Jack

Rakove, Gautham Rao, and Simon Stern.

      B.     Rulings Under Review
      Petitioner seeks review of the September 28, 2018, April 30, 2019, and June 25,

2019 opinions and orders of the United States District Court for the District of

Columbia in Blumenthal v. Trump, No. 1:17-cv-1154. Those opinions are reproduced at

Add. 1, Add. 59, and Add. 107.

      C.     Related Cases
      The case on review has not previously been before this Court or any other

court, save the district court where it originated. Counsel for the government is not

aware of any related cases within the meaning of D.C. Circuit Rule 28(a)(1)(C).



                                               /s/ Martin Totaro
                                               Martin Totaro
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                           CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Appellate Procedure 21(a)(1), I hereby certify that

on July 8, 2019, I electronically filed the foregoing with the Clerk of the Court by

using the appellate CM/ECF system. Service on counsel for all parties in the district

court has been accomplished via notice filed through the district court’s CM/ECF

system attaching a copy of this filing. The district court will also be provided with a

paper copy of this filing through hand delivery to the district court clerk’s office.


                                                 /s/ Martin Totaro
                                                 Martin Totaro
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                         ADDENDUM
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District Court Opinion, Dkt. No. 67 (Apr. 30, 2019) .............................................Add. 59

District Court Opinion and Order, Dkt. No. 82 (June 25, 2019) ....................... Add. 107

Second Amended Complaint, Dkt. No 87 (June 25, 2019) ................................. Add. 119

Constitutional and Statutory Provisions:

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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,      )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                            MEMORANDUM OPINION

I.   Introduction

     When Members of Congress sue the President in federal court

over official action, a court must first determine whether the

dispute is a “Case” or “Controversy” under Article III of the

United States Constitution, rather than a political dispute

between the elected branches of government. A critical part of

this inquiry is whether the plaintiffs have legal standing to

bring the action. Whether legislators have standing to sue often

turns on whether they can obtain the remedy they seek from the

court from fellow legislators. When a legislative remedy is

available, courts generally dismiss the case on jurisdictional

grounds. The Supreme Court, however, has not foreclosed federal

courts from appropriately exercising jurisdiction over certain

types of disputes between the political branches. This case is




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one of those disputes. And when a case is properly before a

court because it presents an Article III “Case” or

“Controversy,” it is the role of the Judiciary “to say what the

law is.” Marbury v. Madison, 1 Cranch 137, 177 (1803).

     Plaintiffs, approximately 201 minority Members of the 535

Members of the United States Senate and House of

Representatives, allege that Donald J. Trump in his official

capacity as President of the United States (“the President”) is

violating the Foreign Emoluments Clause (“Clause”). Under this

Clause, certain federal officials, including the President, may

not “accept” an “emolument” from “any King, Prince or foreign

State” without “the Consent of Congress.” U.S Const. art. I, §

9, cl. 8. In Count I, plaintiffs seek declaratory relief

pursuant to 28 U.S.C. § 2201 in the form of a declaratory

judgment stating that the President is violating the Clause when

he accepts emoluments from foreign states without first seeking

the consent of Congress. Am. Compl., ECF No. 14 ¶¶ 85-86. In

Count II, plaintiffs seek injunctive relief pursuant to the

Court’s inherent authority to grant equitable relief and

pursuant to 18 U.S.C. § 1331 in the form of a Court order

enjoining the President from accepting “any present, Emolument,

Office, or Title, of any kind whatever” from a foreign state

without obtaining “the Consent of Congress.” Id. ¶ 92.



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     Pending before the Court is the President’s motion to

dismiss. The President argues that this case should be dismissed

on four independent grounds, 1 but the threshold question is

whether plaintiffs have standing to bring their claims. This

opinion addresses only this threshold question. With respect to

the grounds for dismissal that turn on the merits, the parties

dispute whether the profits that the President’s business

interests earn from foreign governments are covered

“emoluments.” However, for the purpose of determining whether

plaintiffs have standing to sue, the Court must accept as true

the allegations that the President has accepted prohibited

foreign emoluments without seeking the consent of Congress.

     As is explained more fully below, the central question for

standing purposes is how to characterize the injury that occurs

when the President fails to seek the consent of Congress, as

required by the Clause. Plaintiffs argue that each Member of

Congress suffers a particularized and concrete injury when his

or her vote is nullified by the President’s denial of the

opportunity to vote on the record about whether to approve his




1 The President seeks dismissal on these grounds: (1) lack of
subject matter jurisdiction because plaintiffs do not have
standing to bring their claims; (2) lack of a cause of action to
seek the relief requested; (3) failure to state a claim upon
which relief can be granted; and (4) the injunctive relief
sought is unconstitutional. Def.’s Mot. to Dismiss (“Mot. to
Dismiss”), ECF No. 15-1 at 17-18.
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acceptance of a prohibited foreign emolument. The President

argues that this is an intra-branch dispute which does not

belong in federal court because the plaintiffs’ remedy is to

convince a majority of their colleagues in both Houses to pass

legislation addressing the President’s ability to accept

prohibited foreign emoluments.

      Upon careful consideration of the President’s motion to

dismiss, the opposition and reply thereto, the relevant

arguments of amici,2 the parties’ arguments at the June 7, 2018

motion hearing, and for the reasons explained below, the Court

finds that the plaintiffs have standing to sue the President for

allegedly violating the Foreign Emoluments Clause. The Court

therefore DENIES IN PART the motion to dismiss and DEFERS ruling

on the remaining arguments in the motion to dismiss.

II.   Factual Background

      Relevant to whether they have standing to bring their

claims, plaintiffs allege that the President “has a financial

interest in vast business holdings around the world that engage

in dealings with foreign governments and receive benefits from

those governments.” Am. Compl., ECF No. 14 ¶ 2. Plaintiffs also

allege that the President owns “‘more than 500 separate

entities–hotels, golf courses, media properties, books,


2 The Court appreciates the illuminating analysis provided by the
amici.
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management companies, residential and commercial buildings . . .

airplanes and a profusion of shell companies set up to

capitalize on licensing deals.’” Id. ¶ 34 (citation omitted).

     As a result of his financial interests, plaintiffs allege

the President has accepted, and will accept in the future,

emoluments from foreign states. Id. Indeed, the President has

acknowledged “that his businesses receive funds and make a

profit from payments by foreign governments, and that they will

continue to do so while he is President.” Id. ¶ 37. Public

reporting has also confirmed this to be the case. Id. The

President, through his personal attorney, has likewise asserted

that the Constitution does not require “him to seek or obtain

Congress’ consent before accepting benefits arising out of

exchanges between foreign states and his businesses.” Id. ¶ 40.

The President has therefore not provided any information to

Congress about any foreign emoluments he has received. Id. ¶ 41.

Plaintiffs allege that because the President has denied them the

opportunity to give or withhold their consent, he has injured

them in their roles as Members of Congress, id. ¶ 5, and that

they cannot force the President to comply with the Constitution

absent a judicial order, id. ¶ 83.

III. Standard of Review

     A motion to dismiss for lack of standing is properly

considered a challenge to the Court's subject matter

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jurisdiction and should be reviewed under Federal Rule of Civil

Procedure 12(b)(1). Haase v. Sessions, 835 F.2d 902, 906 (D.C.

Cir. 1987)(“[T]he defect of standing is a defect in subject

matter jurisdiction.”). The Court must therefore consider the

defendant’s motion to dismiss pursuant to Rule 12(b)(1) before

reaching a merits challenge pursuant to Rule 12(b)(6). Sinochem

Int’l Co. v. Malay Int’l Shipping Corp., 549 U.S. 422, 430-31

(2007). To survive a Rule 12(b)(1) motion to dismiss, the

plaintiff bears the burden of establishing jurisdiction by a

preponderance of the evidence. Moran v. U.S. Capitol Police Bd.,

820 F. Supp. 2d 48, 53 (D.D.C. 2011) (citing Lujan v. Defenders

of Wildlife, 504 U.S. 555, 561 (1992)). “Because Rule 12(b)(1)

concerns a court's ability to hear a particular claim, the court

must scrutinize the plaintiff's allegations more closely when

considering a motion to dismiss pursuant to Rule 12(b)(1) than

it would under a motion to dismiss pursuant to Rule 12(b)(6).”

Schmidt v. U.S. Capitol Police Bd., 826 F. Supp. 2d 59, 65

(D.D.C. 2011). In so doing, the court must accept as true all of

the factual allegations in the complaint and draw all reasonable

inferences in favor of plaintiffs, but the court need not

“accept inferences unsupported by the facts alleged or legal

conclusions that are cast as factual allegations.” Rann v. Chao,

154 F. Supp. 2d 61, 63 (D.D.C. 2001).



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IV.   Analysis

      A.    Standing

      “Article III of the Constitution limits the jurisdiction of

the federal courts to ‘Cases’ and ‘Controversies.’” Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (quoting

U.S. Const. art. III, § 2). “‘One element of the case-or-

controversy requirement’ is that plaintiffs ‘must establish that

they have standing to sue.’” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 408 (2013) (quoting Raines v. Byrd, 521 U.S. 811, 818

(1997)). The standing requirement “serves to prevent the

judicial process from being used to usurp the powers of the

political branches.” Id. The standing inquiry “often turns on

the nature and source of the claim asserted” and the specific

facts alleged. Warth v. Seldin, 422 U.S. 490, 500 (1975). “[T]he

law of Art. III standing is built on a single basic idea—the

idea of separation of powers.” Allen v. Wright, 468 U.S. 737,

752 (1984).

      To establish standing, “a plaintiff must show (1) an

‘injury in fact,’ (2) a sufficient ‘causal connection between

the injury and the conduct complained of,’ and (3) a

‘likel[ihood]’ that the injury ‘will be redressed by a favorable

decision.’” Susan B. Anthony List, 134 S. Ct. at 2341 (quoting

Lujan, 504 U.S. at 560-61 (1992)); see also Hollingsworth v.

Perry, 570 U.S. 700, 705 (2013) (“To have standing, a litigant

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must seek relief for an injury that affects him in a personal

and individual way.”). These requirements help to “assure that

the legal questions presented to the court will be resolved, not

in the rarified atmosphere of a debating society, but in a

concrete factual context conducive to a realistic appreciation

of the consequences of judicial action.” Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454

U.S. 464, 472 (1982). “The [effect of the] exercise of judicial

power [is] most vivid when a federal court declares

unconstitutional an act of the Legislative or Executive Branch.”

Id. at 473. Therefore, to ensure the “continued effectiveness of

the federal courts in performing that role . . . it has been

recognized as a tool of last resort.” Id. at 473-74.

     “The party invoking federal jurisdiction bears the burden

of establishing these elements.” Lujan, 504 U.S. at 561

(citations omitted). “Since they are not mere pleading

requirements but rather an indispensable part of the plaintiff's

case, each element must be supported in the same way as any

other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the

successive stages of the litigation.” Id.

     When considering whether a legislator has standing, the

Court “must carefully inquire as to whether [plaintiffs] have

met their burden of establishing that their claimed injury is

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personal, particularized, concrete, and otherwise judicially

cognizable.” Raines, 521 U.S. at 820. The “standing inquiry [is]

especially rigorous when reaching the merits of the dispute

would force us to decide whether an action taken by one of the

other two branches of the Federal Government was

unconstitutional.” Id. at 819-20.

     B.   Foreign Emoluments Clause

     The Foreign Emoluments Clause provides:

          No Title of Nobility shall be granted by the
          United States: And no Person holding any
          Office of Profit or Trust under them, shall,
          without the Consent of the Congress, accept of
          any present, Emolument, Office, or Title, of
          any kind whatever, from any King, Prince, or
          foreign State.

U.S Const. art. I, § 9, cl. 8. “[T]he language of the Emoluments

Clause is both sweeping and unqualified.” 17 Op. O.L.C. 114, 121

(1993). The acceptance of an emolument barred by the Clause is

prohibited unless Congress chooses to permit an exception. Id.;

see also Letter from James Madison to David Humphreys (Jan. 5,

1803), https://founders.archives.gov/documents/Madison/02-04-02-

0275# (“the Constitution of the United States has left with

Congress the exclusive authority to permit the acceptance of

presents from foreign Governments by persons holding Offices

under the United States”). And the President may not accept any

emolument until Congress votes to give its consent.



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     The Clause was intended by the Framers to guard against

“corruption and foreign influence.” 3 M. Farrand, Records of the

Federal Convention of 1787, 327 (1966). Historically, Presidents

have complied with the Clause by either seeking and obtaining

congressional consent prior to accepting foreign presents or

emoluments, or by requesting an opinion from the Executive or

Legislative Branch’s advisory office as to whether the Clause

applies.3 See Br. of Federal Jurisdiction and Constitutional Law

Scholars as Amici Curiae in Support of Pls., ECF No. 44 at 24. 4

One such example occurred in 1830 when President Jackson placed

“‘at the disposal of Congress’” a gold medal presented to him by

the Republic of Colombia, noting that accepting presents from a

foreign government is prohibited by the Constitution. Id.

(quoting Message of President Andrew Jackson to the Senate and

House of Representatives, dated January 19, 1830, 3 Compilation

of the Messages and Papers of the Presidents 1029, 1030 (James

D. Richardson ed., 1897)). Similarly, when the King of Siam

presented President Lincoln with various gifts, he informed

Congress, which directed that the gifts “‘be deposited in the


3 In deciding a motion to dismiss, “a Court may take judicial
notice of historical, political, or statistical facts, or any
other facts that are verifiable with certainty.” Youkelsone v.
FDIC, 910 F. Supp. 2d 213, 221 (D.D.C. 2012) (citing Mintz v.
FDIC, 729 F. Supp. 2d 276, 278 n.2 (D.D.C. 2010)).
4 When citing electronic filings throughout this opinion, the

Court cites to the ECF header page number, not the original page
number of the filed document.
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collection of curiosities at the Department of Interior.’” Id.

at 25 (quoting Joint Resolution No. 20, A Resolution providing

for the Custody of the Letter and Gifts from the King of Siam,

Res. 20, 37th Cong., 12 Stat. 616 (1862)).

     Modern Presidents, except for President Trump, have sought

advice from the Department of Justice Office of Legal Counsel

(“OLC”) prior to accepting potentially covered emoluments. Id.

For example, President Kennedy requested an opinion on whether

the offer of an “honorary Irish citizenship” would fall within

the scope of the Clause. Id. (citing 1 Op. O.L.C. Supp. at 278).

And prior to his acceptance of the Nobel Peace Prize in 2009,

President Obama requested an opinion from OLC as to whether

accepting the prize would conflict with the Clause. Id.

     Since the Clause prohibits the President from accepting a

prohibited foreign emolument unless Congress votes to consent,

the Constitution gives each individual Member of Congress a

right to vote before the President accepts. Under the

Constitution, Congress expresses its consent through the

combined votes of its individual members. U.S. Const. art. I, §

9, cl. 8. Congress “consist[s] of a Senate and House of

Representatives.” Id. art. I, § 1. The “Consent of Congress” is

obtained when a majority of the individual members of each House

vote to consent. Id. art. I, § 3, cl. 1 (“each Senator shall

have one Vote”); id. art. I, § 5, cl. 3 (requiring, at the

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request of one-fifth of those present, that “the Yeas and Nays

of the Members of either House on any question” to be recorded).

That Congress acts as “the body as a whole” 5 in providing or

denying consent does not alter each Member’s constitutional

right to vote before the President accepts a prohibited foreign

emolument because the body can give its consent only through a

majority vote of its individual members.

     C.   Plaintiffs Have Standing to Bring their Claims

     The President argues that the Court lacks jurisdiction over

plaintiffs’ claims because plaintiffs have not met their burden

to establish a judicially cognizable injury as is required by

Article III. Def.’s Mot. to Dismiss (“Mot. to Dismiss”), ECF No.

15 at 21-28; Def.’s Reply (“Reply”), ECF No. 28 at 10-19. The

President also disputes that the alleged injury is fairly

traceable to him. Mot. to Dismiss, ECF No. 15-1 at 24; Reply,

ECF No. 28 at 8.

     Plaintiffs contend that they have standing: (1) the injury-

in-fact they have suffered is that the President has denied them

a voting opportunity to which the Constitution entitles them;

(2) the injury is fairly traceable to the President’s conduct


5 United States v. Ballin, 144 U.S. 1, 7 (1892) (“The two houses
of congress are legislative bodies representing larger
constituencies. Power is not vested in any one individual, but
in the aggregate of the members who compose the body, and its
action is not the action of any separate member or number of
members, but the action of the body as a whole.”).
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because he has neither asked for their consent nor provided them

with any information about the prohibited foreign emoluments he

has already allegedly accepted; and (3) the injury can be

redressed by a favorable judicial decision if the Court requires

the President to obtain congressional consent before accepting

prohibited foreign emoluments. Pls.’ Opp’n, ECF No. 17 at 13.

     As discussed below, the President’s arguments rely on a

repeated misstatement of the injury alleged and on proffers of

plainly inadequate legislative remedies. The Court is persuaded

that plaintiffs have sustained their burden to show that they

have standing to bring their claims: (1) they have adequately

alleged a judicially cognizable injury that is fairly traceable

to the President and can be redressed by a favorable judicial

decision; and (2) although plaintiffs’ claims raise separation-

of-powers concerns, plaintiffs have no adequate legislative

remedy and this dispute is capable of resolution through the

judicial process.

          1. Supreme Court and D.C. Circuit Precedent

             a. Raines v. Byrd

     The parties rely heavily on the Supreme Court’s decision in

Raines v. Byrd. See generally Mot. to Dismiss, ECF No. 15-1;

Pls.’ Opp’n, ECF No. 17; Reply, ECF No. 28 (discussing Raines,

521 U.S. 811 (1997)). The President argues that plaintiffs lack

standing pursuant to Raines; plaintiffs respond that Raines does

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not foreclose their standing to bring their claims and indeed

provides support for it. The Court will therefore discuss the

case in detail.

     In Raines, six members of Congress who had voted against

the Line Item Veto Act (“Act”) sued the Secretary of the

Treasury and the Director of the Office of Management and

Budget, challenging the constitutionality of the Act. Raines,

521 U.S. at 814. The Act authorized the President to “‘cancel’

certain spending and tax benefit measures after he ha[d] signed

them into law.” Id. The plaintiffs claimed that the Act injured

them in their official capacities by: (1) “‘alter[ing] the legal

and practical effect of all votes they may cast on bills’”

subject to the Act; (2) “‘divest[ing] [them] of their

constitutional role in the repeal of legislation’”; and

(3) “‘alter[ing] the constitutional balance of powers between

the Legislative and Executive Branches . . . .’” Id. at 816

(quoting Compl.).

     At issue was whether the plaintiffs had standing to bring

their claims. The Court began its inquiry by focusing on the

requirement in standing analysis that the injury be a personal

one: “We have consistently stressed that a plaintiff’s complaint

must establish that he has a ‘personal stake’ in the alleged

dispute, and that the alleged injury suffered is particularized

as to him.” Id. at 819 (quoting Lujan, 504 U.S. at 560-61 and

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n.1). Next, the Court noted “[w]e have also stressed that the

alleged injury must be legally and judicially cognizable. This

requires, among other things, that the plaintiff have suffered

‘an invasion of a legally protected interest which is . . .

concrete and particularized,’ Lujan, 504 U.S. at 560, and that

the dispute is ‘traditionally thought to be capable of

resolution through the judicial process.’” Id. (quoting Flast v.

Cohen, 392 U.S. 83, 97 (1968)). Finally, the Court noted that

the jurisdictional standing requirement must be strictly

complied with: “our standing inquiry has been especially

rigorous when reaching the merits of the dispute would force us

to decide whether an action taken by one of the other two

branches of the Federal Government was unconstitutional.” Id. at

819-20 (citations omitted). “‘[T]he law of Art. III standing is

built on a single basic idea—the idea of separation of powers.’”

Id. at 820 (quoting Allen, 468 U.S. at 751). In view of these

observations, the Court concluded that it “must carefully

inquire as to whether appellees have met their burden of

establishing that their claimed injury is personal,

particularized, concrete, and otherwise judicially cognizable.”

Id.

      The Court distinguished Powell v. McCormack, in which it

held that a Congressman’s “constitutional challenge to his

exclusion from the House of Representatives (and his consequent

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loss of salary) presented an Article III case or controversy,”

id. at 820-21 (citing Powell, 395 U.S. 486, 496, 512-14 (1969)),

on two grounds. First, the Raines plaintiffs had not been

singled out for unfavorable treatment from the other members of

their respective bodies as occurred in Powell; rather, “[t]heir

claim is that the Act causes a type of institutional injury (the

diminution of legislative power), which necessarily damages all

Members of Congress and both Houses of Congress equally.” Id. at

821. Second, the Raines plaintiffs “[did] not claim that they

have been deprived of something to which they are personally

entitled . . .” id.; rather, their

          claim of standing is based on a loss of
          political power, not loss of any private
          right, which would make the injury more
          concrete. . . . [T]he injury claimed by the
          Members of Congress here is not claimed in any
          private capacity but solely because they are
          Members of Congress. If one of the Members
          were to retire tomorrow, he would no longer
          have a claim; the claim would be possessed by
          his successor instead. The claimed injury thus
          runs (in a sense) with the Member’s seat, a
          seat which the Member holds (it may quite
          arguably be    said) as     trustee for    his
          constituents, not as a prerogative of personal
          power.

Id. (internal citation omitted). Thus, according to the Court,

the Raines plaintiffs’ injury was an institutional one and not

sufficiently concrete and personal.

     The Court then distinguished Coleman v. Miller, “[t]he one

case in which we have upheld standing for legislators (albeit

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state legislators) claiming an institutional injury.” Id.

(discussing Coleman v. Miller, 307 U.S. 433 (1939)). In Coleman,

the vote on whether to ratify a proposed federal constitutional

amendment was tied at twenty to twenty, which meant the

amendment would not have been ratified. Id. at 822 (citing

Coleman, 307 U.S. at 436). The Lieutenant Governor, as the

presiding officer of the State Senate, cast a vote in favor of

the amendment and it was deemed ratified. Id. The twenty state

senators who had voted against the amendment sued, and

eventually the Court held that the members of the legislature

had standing because “if these legislators (who were suing as a

bloc) were correct on the merits, then their votes not to ratify

the amendment were deprived of all validity.” Id. In Raines, the

Court clarified that “our holding in Coleman stands . . . for

the proposition that legislators whose votes would have been

sufficient to defeat (or enact) a specific legislative Act have

standing to sue if that legislative action goes into effect (or

does not go into effect), on the ground that their votes have

been completely nullified.” Id. at 823. Noting that this is what

the Coleman holding stands for “at most,” the Court declined to

distinguish Coleman on, inter alia, the ground that “Coleman has

no applicability to a similar suit brought by federal

legislators, since the separation-of-powers concerns present in

such a suit were not present in Coleman . . . .” Id. at 824 n.8.

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     The Court then distinguished the claims in Raines from

those in Coleman:

          [Here], [plaintiffs] have not alleged that
          they voted for a specific bill, that there
          were sufficient votes to pass the bill, and
          that the bill was nonetheless deemed defeated.
          In the vote on the Act, their votes were given
          full effect. They simply lost that vote. Nor
          can they allege that the Act will nullify
          their votes in the future in the same way that
          the votes of the Coleman legislators had been
          nullified. In the future, a majority of
          Senators and Congressmen can pass or reject
          appropriations bills; the Act has no effect on
          this process. In addition, a majority of
          Senators and Congressmen can vote to repeal
          the Act, or to exempt a given appropriations
          bill   (or    a   given   provision    in   an
          appropriations bill) from the Act; again, the
          Act has no effect on this process.

Id. at 824 (footnote omitted). Thus, according to the Court, the

Raines plaintiffs could not allege that their votes had been

nullified in the past; rather, they had lost the vote on the

Act. See id. And the Raines plaintiffs could not allege that

their votes would be nullified in the future because they had a

variety of legislative remedies at their disposal. See id.

     The Court then considered the lack of a historical practice

of lawsuits being filed “on the basis of claimed injury to

official authority or power” as a result of analogous

confrontations between the Legislative and Executive Branches of

the federal government. Id. at 826; see also infra Section

IV.3.b. The Court concluded that, under the Constitution, it is


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not the role of the Article III courts to have “‘some amorphous

general supervision of the operations of government . . . .’”

Raines, 521 U.S. at 829 (quoting United States v. Richardson,

418 U.S. 166, 192 (1974) (Powell, J., concurring)).

     The Court rejected the Raines plaintiffs’ basis for

standing, ultimately holding that “these individual members of

Congress do not have a sufficient ‘personal stake’ in this

dispute and have not alleged a sufficiently concrete injury to

have established Article III standing.” Id. at 830 (no citation

for internal quotation in original). In so holding, the Court

noted that “appellees have alleged no injury to themselves as

individuals (contra, Powell), the institutional injury they

allege is wholly abstract and widely dispersed (contra,

Coleman), and their attempt to litigate this dispute at this

time and in this form is contrary to historical experience.” Id.

at 829. The Court stated that it “attach[ed] some importance to

the fact that appellees have not been authorized to represent

their respective Houses of Congress in this action, and indeed

both Houses actively oppose their suit.” Id. (footnote omitted).

The Court also thought it important to note that “our conclusion

[does not] deprive[] Members of Congress of an adequate remedy

(since they may repeal the Act or exempt appropriations bills

from its reach) nor forecloses the Act from constitutional



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challenge (by someone who suffers judicially cognizable injury

as a result of the Act).” Id.

             b. Arizona State Legislature v. Arizona Independent
                Redistricting Commission

     Relying on Coleman, the Supreme Court recently reaffirmed

that legislators, albeit state legislators as an institutional

plaintiff, have standing to sue based on a vote nullification

claim. In Arizona State Legislature v. Arizona Independent

Redistricting Commission, the state legislature plaintiff

challenged a ballot measure that would have denied it the

authority to draw congressional districts. 135 S. Ct. 2652, 2659

(2015). The legislature’s alleged injury was that the ballot

initiative deprived it of its legislative prerogative to

initiate redistricting. Id. at 2663. Relying on Coleman, as

clarified in Raines, the Court held that the plaintiff had

standing because “their votes have been completely nullified.”

Id. at 2665 (quoting Raines, 521 U.S. at 823). As the Court

explained, “[o]ur conclusion that the Arizona Legislature has

standing fits [within Coleman]” because the ballot initiative

“together with the Arizona Constitution’s ban on efforts to

undermine the purposes of an initiative” would “‘completely

nullif[y]’ any vote by the Legislature, now or ‘in the future,’

purporting to adopt a redistricting plan.” Id. at 2667 (quoting

Raines, 521 U.S. at 823-24). The Court distinguished Raines on


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the grounds that Raines had not been brought by an institutional

plaintiff: “The Arizona Legislature, in contrast, is an

institutional plaintiff asserting an institutional injury, and

it commenced this action after authorizing votes in both of its

chambers. That ‘different . . . circumstanc[e],’ was not sub

judice in Raines.” Id. at 2664 (citation omitted). The Court also

noted that the case before it “does not touch or concern the

question whether Congress has standing to bring a suit against

the President . . . which would raise separation of powers

concerns absent here.” Id. at 2665 n.12.



                         *     *     *       *   *



     In sum, Raines teaches that when a suit is brought by an

individual Member of Congress, the member can allege either a

personal injury or an institutional injury. If the injury is

personal, standing is present when the injury arises out of

something to which the member is personally entitled, such as

the salary associated with his or her seat. As to an

institutional injury, the Court has recognized standing when a

legislator’s vote has been completely nullified. The Supreme

Court has upheld legislator standing based on a vote

nullification claim in two instances. In Coleman, a bloc of

individual state “legislators whose votes would have been

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sufficient to defeat (or enact) a specific legislative Act have

standing to sue if that legislative action goes into effect (or

does not go into effect), on the ground that their votes have

been completely nullified.” Raines, 521 U.S. at 823 (footnote

omitted). In Arizona State Legislature, the legislature, as an

institutional plaintiff authorizing the lawsuit, had standing to

sue based on the alleged nullification of their votes “now” or

“in the future” as a result of a ballot initiative. 135 S. Ct.

at 2667. Although neither of these cases implicated federal

separation-of-powers concerns, the Raines Court specifically

declined to hold that Coleman would be inapplicable “to a

similar suit brought by federal legislators.” Raines, 521 U.S.

at 824 n.8.

     Raines also teaches that it is not necessary for an

institutional claim to be brought by or on behalf of the

institution. Id. at 829 (“We attach some importance to the fact

that appellees have not been authorized to represent their

respective Houses of Congress in this action, and indeed both

Houses actively oppose their suit.”). Indeed, in Coleman, the

claim was not brought on behalf of the state senate as an

institutional plaintiff, but rather by a bloc of individual

legislators who had voted not to ratify the constitutional

amendment. 307 U.S. at 436. Finally, by not overruling Coleman,

the Raines Court suggests that vote nullification is an

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institutional injury that is personal, although not in the sense

that the injury in Powell was personal, to the legislators

entitled to cast the vote that has been nullified.

     Regarding the separation-of-powers concerns implicated by

an inter-branch suit, Raines instructs the Court to consider

whether there is a lack of a historical practice of lawsuits

being filed “on the basis of claimed injury to official

authority or power” as a result of analogous confrontations

between the Legislative and Executive Branches of the federal

government. Raines, 521 U.S. at 826. Raines also instructs the

Court to consider whether there is an adequate legislative

remedy and whether another plaintiff could bring the case. Id.

             c. D.C. Circuit Precedent

     The Court of Appeals for the District of Columbia Circuit

(“D.C. Circuit”) has applied Raines twice, each time finding

legislator standing to be foreclosed. 6 In Chenoweth v. Clinton,

four members of Congress sued the President and another


6 Because the Court has determined that plaintiffs have standing
to bring their claims pursuant to Raines and subsequent D.C.
Circuit precedent, it need not address the parties’ arguments
regarding pre-Raines D.C. Circuit authority. At oral argument,
the Court questioned plaintiffs about their reliance on pre-
Raines D.C. Circuit authority, given that Raines called into
question portions of that authority. See Chenoweth, 181 F.3d
112, 115 (D.C. Cir. 1999). In response, plaintiffs clarified
their reliance on Raines and post-Raines D.C. Circuit precedent
for the proposition that they have standing based on their vote
nullification claim. Hr’g Tr., ECF No. 54 at 20:22-24.


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Executive Branch official to enjoin the implementation of the

American Heritage Rivers Initiative (“AHRI”), a program

President Clinton created by Executive Order. 181 F.3d 112, 112

(D.C. Cir. 1999). After President Clinton announced his

intention to create the AHRI, three of the four plaintiffs

introduced a bill to end the program, but it never came to a

vote. Id. at 113. Plaintiffs then sued, alleging that the

President’s creation of the program by Executive Order “deprived

[the plaintiffs] of their constitutionally guaranteed

responsibility of open debate and vote on issues and legislation

involving interstate commerce, federal lands, the expenditure of

federal monies, and implementation of the [National

Environmental Policy Act].” Id. (citing Compl.). Applying

Raines, the Court held that the plaintiffs lacked standing

because the injury they alleged was “a dilution of their

authority as legislators,” which was “identical to the injury

the Court in Raines deprecated as ‘widely dispersed’ and

‘abstract.’” Id. at 115 (no citation for internal quotation in

original). The Court reasoned that “[i]f, as the Court held in

Raines, a statute that allegedly ‘divests [congressmen] of their

constitutional role’ in the legislative process does not give

them standing to sue, then neither does an Executive Order that

allegedly deprives congressmen of their ‘right[] to participate

and vote on legislation in a manner defined by the

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Constitution.’” Id. (citation omitted). A central element of the

Court’s reasoning was that “[i]t [was] uncontested that the

Congress could terminate the AHRI were a sufficient number in

each House so inclined.” Id. at 116.

     In view of the Supreme Court’s decision in Raines, the

Court considered whether its earlier ruling in Kennedy v.

Sampson survived. Id. at 116-17 (discussing Kennedy v. Sampson,

511 F.2d 430 (D.C. Cir. 1974)). In Kennedy, the Court held,

partially relying on the pre-Raines understanding of Coleman,

that an individual Senator had standing to challenge a

Presidential pocket veto. Kennedy, 511 F.2d at 433-35. Noting

that Raines narrowed the Coleman holding, the Court stated that

Kennedy may nonetheless remain good law:

          Even under this narrow interpretation, one
          could argue that the plaintiff in Kennedy had
          standing. The pocket veto challenged in that
          case had made ineffective a bill that both
          houses of the Congress had approved. Because
          it was the President’s veto—not a lack of
          legislative support—that prevented the bill
          from becoming law (either directly or by the
          Congress voting to override the President’s
          veto), those in the majority could plausibly
          describe the President’s action as a complete
          nullification of their votes.

Chenoweth, 181 F.3d. at 116-17 (emphasis added). The Court

distinguished the claims before it from Coleman on the ground

that plaintiffs “do not allege that the necessary majorities in

Congress voted to block the AHRI. Unlike the plaintiffs in


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Kennedy and Coleman, therefore, they cannot claim their votes

were effectively nullified by the machinations of the

Executive.” Id. at 117.

     In the second post-Raines case considered, Campbell v.

Clinton, thirty-one Members of Congress sued President Clinton,

alleging that he violated the War Powers Resolution and the War

Powers Clause of the Constitution by directing the participation

of U.S. forces in Yugoslavia. 203 F.3d 19, 19 (D.C. Cir. 2010).

A month after President Clinton announced that participation,

Congress voted on four resolutions related to the conflict:

(1) a declaration of war was defeated 427 to 2; (2) an

“authorization” of the air strikes was defeated 213 to 213;

(3) a resolution that would have required the President to end

U.S. participation in the operation was defeated; and

(4) funding for involvement in the operation was approved. Id.

at 20. Plaintiffs claimed that they fit within the “Coleman

exception to the Raines rule” by filing suit after having

“defeat[ed] the War Powers Resolution authorization by a tie

vote.” Id. at 22. The Court found neither of their claims to be

analogous to the nullification that occurred in Coleman, which

the Court understood “to mean treating a vote that did not pass

as if it had, or vice versa.” Id. at 22. In Coleman, “state

officials endorsed a defeated ratification, treating it as

approved, while the President here did not claim to be acting

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pursuant to the defeated declaration of war or a statutory

authorization, but instead ‘pursuant to [his] constitutional

authority to conduct U.S. foreign relations and as Commander-in-

Chief and Chief Executive.’” Id. at 22 (discussing Coleman v.

Miller, 307 U.S. 433 (1939) and quoting Letter to Congressional

Leaders Reporting on Airstrikes Against Serbian Targets in the

Federal Republic of Yugoslavia (Serbia and Montenegro), 35

Weekly Comp. Pres. Doc. 528 (Mar. 26, 1999)). The Court reasoned

that plaintiffs’ argument based on the War Powers Resolution,

“although cast in terms of the nullification of a recent vote,

essentially is that the President violated the . . . War Powers

Resolution” and their argument based on the War Powers Clause

“is that the President has acted illegally-in excess of his

authority-because he waged war in a constitutional sense without

a congressional delegation.” Id. Regarding the Raines Court’s

use of the word “nullification,” the Court stated:

          We think the key to understanding the Court’s
          treatment of Coleman and its use of the word
          nullification is its implicit recognition that
          a ratification vote on a constitutional
          amendment is an unusual situation. It is not
          at all clear whether once the amendment was
          “deemed ratified,” see Raines, 521 U.S. at
          822, the Kansas Senate could have done
          anything to reverse that position. We think
          that must be what the Supreme Court implied
          when it said the Raines plaintiffs could not
          allege that the “[Line Item Veto Act] would
          nullify their votes in the future,” and that,
          after all, a majority of senators and
          congressmen could always repeal the Line Item

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          Veto Act. Id. at 824 (emphasis added). The
          Coleman senators, by contrast, may well have
          been powerless to rescind a ratification of a
          constitutional amendment that they claimed had
          been defeated. In other words, they had no
          legislative remedy.


Id. at 22-23 (quoting Raines, 521 U.S. at 824) (footnote

omitted). Applying Raines, the Court held that the plaintiffs

lacked standing under “the Coleman exception” because they had

“ample legislative power to have stopped prosecution of the

‘war’” despite having lost the vote on the War Powers Resolution

authorization. Id. at 23 (no citation for internal quotation in

original). Therefore, despite the tie vote, the Campbell

plaintiffs had legislative remedies at their disposal, unlike

the situation in Coleman.



                         *     *     *       *   *



     In sum, D.C. Circuit precedent teaches that individual

Members of Congress do not have standing to sue the Executive

Branch when their institutional injury is such that they can

obtain their remedy in Congress. In Campbell, the Court

understood vote nullification “to mean treating a vote that did

not pass as if it had, or vice versa.” Campbell, 203 F.3d at 22.

In Chenoweth, the Court suggested that notwithstanding Raines, a

single Member of Congress could have standing to sue based on a

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vote nullification claim when it was the President’s action,

rather than “a lack of legislative support,” that nullified the

Member’s vote. Chenoweth, 181 F.3d at 117. Such a situation is

therefore a third instance of a type of vote nullification for

which a legislator could have standing. 7

          2. Plaintiffs Adequately Allege a Judicially Cognizable
             Injury

             a. Injury-in-Fact

     To establish that they have an injury-in-fact, plaintiffs

must allege that their injury is “personal, particularized,

concrete, and otherwise judicially cognizable.” Raines, 521 U.S.

at 820. Regarding the requirement that the injury be “legally

and judicially cognizable,” “the plaintiff [must allege to] have

suffered ‘an invasion of a legally protected interest which is .




7 The closest constitutional analogy to plaintiffs’ claims here
is that in Kucinich v. Bush. 236 F. Supp. 2d 1 (D.D.C. 2002). In
that case, thirty-two Members of the House of Representatives
“challenged President Bush’s unilateral withdrawal from the 1972
Anti-Ballistic Missile Treaty . . . without the approval of
Congress,” contending that President Bush was required to obtain
their consent before terminating a treaty. Id. at 1. Applying
Raines, Chenoweth, and Campbell, the Court held plaintiffs did
not have standing because their “claim of a ‘grievous
institutional injury’ where they are ‘deprived of their
constitutional right . . . to participate in treaty termination’
was no different from the institutional injuries alleged in
Chenoweth, Campbell, and Raines.” Id. at 9. The Court did not
discuss whether the plaintiffs’ votes had been nullified. In any
event, the Court also concluded that the plaintiffs’ raised a
nonjusticiable political question. Id. The President has not
argued that the claims here involve nonjusticiable political
questions. Therefore, this persuasive authority is inapposite.
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. . concrete and particularized’ Lujan, 504 U.S. at 560, and

that the dispute is ‘traditionally thought to be capable of

resolution through the judicial process.’” Id. at 819 (quoting

Flast, 392 U.S. at 97).

             b. Plaintiffs Adequately Allege an Institutional
                Injury

     In the context of legislator standing, the Supreme Court

has recognized at least one type of institutional injury for

which legislators may have standing to sue: complete vote

nullification. Coleman, 307 U.S. at 438; Raines, 521 U.S. at

821-23; Ariz. State Legislature, 135 S. Ct. at 2667; Cummings v.

Murphy, No. 17-2308, slip op. at 18 (D.D.C. Aug. 14, 2018)

(“[c]omplete vote nullification is clearly a type of

institutional injury sufficient to support legislator

standing”). Since an institutional injury will “necessarily

damage all Members of Congress and both Houses of Congress

equally,” Raines, 521 U.S. at 821, it will not be a personal

injury in the sense that the injury in Powell was personal. If

institutional injuries were incapable of also being personal to

individual members of the institution, however, the Court in

Raines would have overruled Coleman. Id. at 819 (“We have

consistently stressed that a plaintiff’s complaint must

establish that he has a ‘personal stake’ in the alleged dispute,

and that the alleged injury suffered is particularized as to


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him.”). Instead, the Supreme Court reaffirmed Coleman in both

Raines, id. at 821, and Arizona State Legislature, 135 S. Ct. at

2665, necessarily holding that the institutional injury alleged

–vote nullification–was sufficiently personal to each of the

individual plaintiffs to satisfy the standing requirement under

Article III.

     The Clause requires the President to ask Congress before

accepting a prohibited foreign emolument. Accepting the

allegations in the Complaint as true, which the Court must at

this juncture, the President is accepting prohibited foreign

emoluments without asking and without receiving a favorable

reply from Congress. The “nature and source of the claim,”

Warth, 422 U.S. at 500, is an unusual 8 constitutional provision

which unambiguously prohibits the President from accepting any

emolument from “any King, Prince or foreign State” unless

Congress chooses to permit an exception. U.S. Const. art. I, §

9, cl. 8; 17 Op. O.L.C. 114, 121 (1993). The specific facts

alleged are that the President has accepted, and intends to

continue accepting, prohibited foreign emoluments without

seeking congressional consent. Am. Compl., ECF No. 14 ¶¶ 4, 37,

39, 40, 77, 78, 79. Furthermore, the President has not provided


8 The only similar provision is the Article II requirement that
the President obtain the advice and consent of Congress prior to
taking covered executive branch action. U.S. Const. art. II, §
2, cl. 2.
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any information to Congress about any foreign emoluments he has

received. Id. ¶¶ 41, 80. The President is depriving plaintiffs

of the opportunity to give or withhold their consent, thereby

injuring them “in their roles as members of Congress.” Id. ¶ 5.

Specifically, the President has neither sought plaintiffs’

consent prior to accepting prohibited foreign emoluments, nor

provided any information to Congress about them, thereby

preventing plaintiffs from “exercis[ing] their constitutional

prerogative to authorize or reject the specific emoluments he is

accepting.” Id. ¶ 41. Plaintiffs adequately allege that the

President has completely nullified their votes in the past

because he has accepted prohibited foreign emoluments as though

Congress had provided its consent. And he will completely

nullify their votes in the future for the same reason, as

plaintiffs allege that he intends to continue this practice. The

President’s alleged acceptance of prohibited foreign emoluments

as though Congress provided consent is indistinguishable from

“treating a vote that did not pass as if it had, or vice versa.”

Campbell, 203 F.3d at 22. And, as soon as the President accepts

a prohibited foreign emolument without obtaining congressional

consent, his acceptance is irreversible. Id. at 22-23.

Accordingly, plaintiffs adequately allege that the President has

completely nullified their votes.



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     Although plaintiffs do not sue on behalf of Congress, but

rather in their individual official capacities as Members of

Congress, their ability to bring this suit is not foreclosed by

Supreme Court and D.C. Circuit precedent. The Raines Court did

not hold that it would be necessary for an institutional claim

to be brought by or on behalf of the institution. Raines, 521

U.S. at 829. Rather, the fact that the case had not been

authorized by the institution was a relevant consideration, but

not dispositive, in determining that the Raines plaintiffs

lacked standing. Id. Moreover, the claim in Coleman was not

brought on behalf of the state senate as an institutional

plaintiff, but rather by a bloc of individual members who had

voted not to ratify the constitutional amendment. Coleman, 307

U.S. at 438. The Supreme Court distinguished Raines from Arizona

State Legislature because the latter was brought by the

legislature as an institution, Ariz. State Legislature, 135 S.

Ct. at 2664, but in finding the legislature to have standing,

the Supreme Court did not hold that an institutional claim may

be brought only by the institution. See generally id.

Furthermore, notwithstanding Raines, a single Member of Congress

could have standing to sue based on a vote nullification claim

when it was the President’s action, rather than “a lack of

legislative support,” that nullified the Member’s vote.

Chenoweth, 181 F.3d at 117.

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                i. The President Misstates the Injury

     The President acknowledges that “when a legislative vote is

deemed defeated by executive action,” the legislator has

standing to sue unless there is a legislative remedy. Mot. to

Dismiss, ECF No. 15-1 at 17. Although he disputes that

plaintiffs’ votes have been “defeated by executive action,” his

argument relies on a misstatement of the alleged injury. The

President contends that plaintiffs cannot plausibly allege that

he has prevented votes from being taken on the emoluments bills

pending before Congress,9 or that he has prevented Congress from

otherwise voting on the emoluments issue. Id. at 24, 26. He also

emphasizes that Congress may still choose to vote on the pending

bills or on bills introduced in the future. Id. at 26. However,

the votes contemplated by the President are not votes to

consent, or not, in response to the President’s request for

consent prior to his acceptance of a prohibited foreign

emolument. Rather, these are votes on the issue of emoluments.

Injury to their power to legislate on the issue of emoluments is

not the injury plaintiffs allege. See generally Am. Compl., ECF

No. 14. To be clear, plaintiffs’ alleged injury is caused by the


9 See S. Con. Res. 8, 115th Cong. (2017) (among other things,
declaring the President’s dealings through his companies with
foreign governments to be potential violations of the emoluments
clause); H.R.J. Res. 16, 115th Cong. (2017) (denying
congressional consent for the President to accept any foreign
emolument during his Presidency).
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President’s alleged refusal to give them the opportunity to

exercise their constitutional right to vote on whether to

consent prior to his acceptance of prohibited foreign

emoluments. It is irrelevant that Congress can express its

consent through legislation on the issue of emoluments or that

it has done so in the past on limited occasions. 10 In the absence

of such legislation, the President deprives plaintiffs of the

opportunity to vote every time he accepts an emolument from “any

King, Prince, or foreign State” without the consent of Congress.

U.S. Const. art. I, § 9, cl. 8. 11

                 ii. The President Reads the Precedent too
                     Narrowly

     According to the President, a Court may conclude that

plaintiffs have standing for a vote nullification claim only

when they can “allege that ‘the necessary majorities in the

Congress voted’ to withhold consent to the President’s alleged


10 See Foreign Gifts and Decorations Act of 1966, 5 U.S.C. §
7342.
11 Similarly, the President argues that unlike the situation in

Coleman, there is nothing that is “unusual” or “irreversible”
here because Congress may choose to vote on “the emoluments
issue” in the future. Mot. to Dismiss, ECF No. 15-1 at 26;
Reply, ECF No. 28 at 14. Again, the President’s argument relies
on the same misstatement of the alleged injury. Moreover, each
time the President accepts prohibited foreign emoluments without
the consent of Congress, that acceptance without consent is
irreversible. Finally, although not “unusual” in the sense that
word was used in Coleman, the President’s failure to comply with
the Clause is highly unusual given that prior Presidents have
ensured that their actions were consistent with the Clause. See
supra Section IV.B.
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acceptance of prohibited foreign emoluments.” Mot. to Dismiss,

ECF No. 15-1 at 25 (quoting Chenoweth, 181 F.3d at 117). As an

initial matter, again the President has misstated the injury.

Moreover, the Court disagrees with this narrow reading of

Coleman. Although the Raines Court narrowed the Coleman holding,

the Court neither held nor implied that the only type of vote

nullification claim for which a legislator would have standing

would be “legislators whose votes would have been sufficient to

defeat (or enact) a specific legislative Act . . . if that

legislative action goes into effect (or does not go into

effect), on the ground that their votes have been completely

nullified.” Raines, 521 U.S. at 823. Indeed, following Raines,

the Supreme Court recognized that the Arizona State Legislature

as an institutional plaintiff had standing to bring a vote

nullification claim. See Ariz. State Legislature, 135 S. Ct. at

2667. The legislature there did not allege that it had the

“necessary majorities” to take action; rather the claimed injury

was that the ballot initiative deprived the plaintiff of a

legislative “prerogative.” Id. at 2663. The D.C. Circuit has

emphasized that the Coleman exception is a “narrow rule,”

Chenoweth, 181 F.3d at 116; see Campbell, 203 F.3d at 22-23, and

has interpreted the Coleman exception “to mean treating a vote

that did not pass as if it had, or vice versa,” Campbell, 203

F.3d at 22. As the Court has explained, supra Section IV.C.2.b,

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here the President has allegedly accepted prohibited foreign

emoluments as though Congress has provided its consent, which is

indistinguishable from “treating a vote that did not pass as if

it had, or vice versa.”12 Id.

     The President insists that upholding standing here would

require a “drastic extension of Coleman,” which the Supreme

Court in Raines rejected. Mot. to Dismiss, ECF No. 15-1 at 25.

The Court disagrees. Raines would have required a drastic

extension of Coleman because the nature of the vote

nullification in Coleman was different from the “abstract

dilution of legislative power” alleged in Raines. Raines, 521

U.S. at 826. And critically, the Raines plaintiffs had adequate

legislative remedies at their disposal. Id. at 824. Here, by

contrast, the President’s complete nullification of plaintiffs’

votes is entirely different from the “abstract dilution of

legislative power” alleged in Raines. Id. at 826. And as will be

explained in detail, plaintiffs have no adequate legislative

remedies. See infra Section IV.C.4.




12For the same reason, the Court rejects the President’s
argument that plaintiffs’ reliance on the vote nullification
theory articulated in Coleman is misplaced to the extent they
claim their injury encompasses being deprived of the option of
not voting because none of the precedent recognizes such an
injury. Reply, ECF No. 28 at 17.
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             c. Plaintiffs’ Alleged Injury is Personal,
                Particularized and Concrete

     Plaintiffs allege that the President has accepted, and

intends to continue accepting, prohibited foreign emoluments

without seeking congressional consent, thereby depriving them of

the opportunity to vote on whether to consent to his acceptance

of emoluments before he accepts them. Am. Compl., ECF No. 14 ¶¶

3-4. Plaintiffs’ injury is to a “legally protected interest”

because the Clause prohibits the President from accepting “any”

emolument from “any King, Prince, or foreign State” without the

consent of Congress. U.S Const. art. I, § 9, cl. 8. Consent is

obtained through the aggregate of the specific votes that each

individual Member of Congress is entitled to take. Id. art. I, §

1; art. I, § 3, cl. 1; art. I, § 5, cl. 3. Although this injury

is dispersed among all Members of Congress, as will necessarily

be the case when an institutional injury is alleged, this does

not render the injury less concrete or particularized. See

Raines, 521 U.S. at 821 (stating an institutional injury will

“necessarily damage all Members of Congress and both Houses of

Congress equally”); Ariz. State Legislature, 135 S. Ct. at 2664

(Plaintiff “is an institutional plaintiff asserting an

institutional injury”). Rather, each time the President

allegedly accepts a foreign emolument without seeking

congressional consent, plaintiffs suffer a concrete and


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particularized injury—the deprivation of the right to vote on

whether to consent to the President’s acceptance of the

prohibited foreign emolument—before he accepts it. And although

the injury is an institutional one, the injury is personal to

legislators entitled to cast the vote that was nullified. See

Raines, 521 U.S. at 823 (narrowing but not overruling the

holding in Coleman); Ariz. State Legislature, 135 S. Ct. at

2664-65 (holding that the legislature has standing to sue);

supra Section IV.C.2.b. Accordingly, plaintiffs adequately

allege that they “have suffered ‘an invasion of a legally

protected interest which is . . . [personal,] concrete and

particularized.’” Raines, 521 U.S. at 819 (quoting Lujan, 504

U.S. at 560).

     The President argues that the injury alleged here is

insufficiently concrete to give the plaintiffs a “personal stake

in the dispute” because the injury “damages all Members of

Congress and both Houses of Congress equally.” Reply, ECF No. 28

at 10 (quoting Raines, 521 U.S. at 821, 830). Furthermore,

according to the President, the alleged injury cannot support

Article III standing because it is felt equally by all Members

of Congress “solely because they are Members of Congress,” as

distinct from the personal injury alleged in Powell. Reply, ECF

No. 28 at 11 (quoting Raines, 521 U.S. at 821). The Court

disagrees. The Raines Court recognized two types of injuries

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that could support legislator standing: (1) a personal injury

such as that typified in Powell; and (2) an institutional

injury—vote nullification—such as that in Coleman. Raines, 521

U.S. at 829-30. An institutional injury will “necessarily damage

all Members of Congress and both Houses of Congress equally” and

will be felt equally by Members of Congress “solely because they

are Members of Congress.” Id. at 821. And as explained, supra at

30-31, by reaffirming Coleman in Raines and Arizona State

Legislature, the Supreme Court necessarily held that the

institutional injury alleged was sufficiently personal to each

of the plaintiffs to satisfy the standing requirement under

Article III.

                i. Plaintiffs’ Alleged Injury is Distinguishable
                   from the Injuries Alleged in the Precedent

     The President argues that plaintiffs’ claims are squarely

foreclosed by Raines. The Court disagrees. As an initial matter,

the President reads Raines to establish “a foundational

principle that the denial of institutional legislative

prerogative is not a judicially cognizable injury.” Mot. to

Dismiss, ECF No. 15-1 at 16. This broad principle, however, is

not supported by Raines. Raines establishes that legislators may

have standing based on the nullification of their votes, which

is an institutional, as opposed to a personal, injury. Raines,

521 U.S. at 821-23. To establish the broad principle asserted by


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the President, the Raines Court would have needed to overrule

Coleman. Not only did the Raines Court not overrule Coleman, but

the Court also relied on Coleman to uphold standing in Arizona

State Legislature, in which the alleged injury was deprivation

of a legislative prerogative. Ariz. State Legislature, 135 S.

Ct. at 2663.

     The President argues that the injury alleged here amounts

only to a “dilution of institutional legislative power.” Mot. to

Dismiss, ECF No. 15-1 at 22 (quoting Raines, 521 U.S. at 820).

Moreover, according to the President, there is little difference

between the claim in Raines and the claim here because the

members in Raines argued that the challenged Act “deprived them

of ‘their constitutional role in the repeal of legislation’”

which “does not differ materially from Plaintiffs’ claim that

they have been denied their constitutional role in deciding

whether to consent to the President’s acceptance of allegedly

prohibited foreign emoluments,” Reply, ECF No. 28 at 10-11

(quoting Raines, 521 U.S. at 816). In so arguing, the President

insists that plaintiffs’ claimed injury is indistinguishable

from the claimed injury in Chenoweth. Mot. to Dismiss, ECF No.

15-1 at 23-24. The Court disagrees. The injury alleged here is

distinguishable from those alleged in Raines and Chenoweth. In

Raines, plaintiffs sued after being on the losing side of the

vote that enacted the Line Item Veto Act, alleging that their

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injury was the diminution of legislative power caused by the

Act. Raines, 521 U.S. at 814. In Chenoweth, plaintiffs sued

after their bill seeking to end a program created by the

President by Executive Order failed to be brought to a vote,

alleging that their injury was that Members of Congress had been

deprived of their right to vote on the Presidentially-created

program. Chenoweth, 181 F.3d at 112. In each case, plaintiffs

either lost the vote in Congress or did not have the political

influence to bring their bill to a vote, and then sought relief

in the courts. Here, by contrast, plaintiffs’ alleged injury is

caused by the President’s alleged acceptance of prohibited

foreign emoluments before seeking and obtaining congressional

consent, not by any action taken or not taken by their

congressional colleagues. See Chenoweth, 181 F.3d at 117 (“it

was the President’s veto—not a lack of legislative support—that

prevented the bill from becoming a law”); infra Section

IV.C.3.a. The President’s repeated misstatement of the injury

does not change the nature of plaintiffs’ alleged injury.

Finally, the President’s alleged acceptance of a prohibited

foreign emolument before obtaining congressional consent does

not “dilute” plaintiffs’ legislative power because they do not

allege injury to their ability to legislate on the issue of

emoluments.



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           3. Separation-of-Powers Considerations

              a. Plaintiffs Lack Adequate Legislative Remedies

     The Court does agree with the President that, “when

legislators possess ‘political tools with which to remedy their

purported injury,’ they may not seek the aid of the Judiciary.”

Mot. to Dismiss, ECF No. 15-1 at 26 (quoting Campbell, 203 F.3d

at 23-24). But here, plaintiffs lack such tools.

     In addition to Congress bringing the bills currently

pending to a vote, see supra Section IV.C.2.b.i, the President

suggests that the following types of legislation would provide

plaintiffs with a legislative remedy: (1) voting on whether what

plaintiffs allege “constitute[s] violations of the Foreign

Emoluments Clause by the President and whether Congress should

provide its consent,” Mot. to Dismiss, ECF No. 15-1 at 2;

(2) “vot[ing] on a private bill [13] consenting to the receipt of

what it construed to be emoluments received from foreign

governments or a joint resolution expressing its disagreement

with such receipt,” id. at 24; and/or (3) “vot[ing] on a joint




13A private bill is legislation that addresses a matter of
narrow interest, which after being passed in identical form by
the House and Senate, is submitted to the President for
signature. United States Senate, Bills and Resolutions,
Legislation, Laws and Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three_sections_w
ith_teasers/bills.htm.
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resolution[14] that provides what Congress perceives to be the

proper definition of an emolument and prohibits any and all

emoluments, including ones unknown to Congress,” Reply, ECF No.

28 at 18. According to this argument, plaintiffs have ample

legislative remedies at their disposal; they just don’t have the

votes.

     The President’s purported legislative remedies are clearly

inadequate within the meaning of Raines. Raines, 521 U.S. at 829

(legislative remedy must be an “adequate” remedy). In Raines,

Chenoweth, and Campbell, adequate legislative remedies were

available to redress the plaintiffs’ grievances. In Raines, “a

majority of Senators and Congressmen c[ould] pass or reject

appropriations bills; the Act has no effect on this process.

Moreover, a majority of Senators and Congressmen c[ould] vote to

repeal the Act, or to exempt a given appropriations bill (or a

given provision in an appropriations bill) from the Act; again,

the Act has no effect on this process.” Id. at 824. In

Chenoweth, “[i]t [was] uncontested that the Congress could



14A joint resolution, with one exception, is legislation that
requires the approval of both the House and Senate and is
submitted to the President for signature. The exception is when
the joint resolution proposes a constitutional amendment. United
States Senate, Bills and Resolutions, Legislation, Laws and
Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three_sections_w
ith_teasers/bills.htm.


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terminate the AHRI were a sufficient number in each House so

inclined.” Chenoweth, 181 F.3d at 116. And in Campbell,

“Congress certainly could have passed a law forbidding the use

of U.S. forces in the Yugoslav campaign.” Campbell, 203 F.3d at

23.15

        Here, by contrast, legislation on the emoluments issue does

not provide an adequate remedy. First, in asking this Court to

accept the proposition that legislation on the emoluments issue

would be an adequate remedy, the President asks this Court to

ignore this constitutional Clause. The Court may not do so. See

Marbury, 1 Cranch at 174 (“It cannot be presumed that any clause

in the constitution is intended to be without effect           . . . .”).   The

Clause is unambiguous: acceptance is prohibited without

“Consent.” U.S Const. art. I, § 9, cl. 8. The Clause therefore

places the burden on the President to convince a majority of

Members of Congress to consent. The legislation suggested by the

President flips this burden, placing the burden on Members of

Congress to convince a majority of their colleagues to enact the

suggested legislation. This is not what the Clause requires.




15The President disputes that the precedent requires “political
remedies [to] put the plaintiff members back in the same
position as if the Executive had not caused the alleged injury
in the first place.” Reply, ECF No. 28 at 17. This is beside the
point because in each case, there was an adequate legislative
remedy, whereas here there is none.
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     Second, the President does not explain why such

legislation, assuming he signed it, would prevent him from

accepting prohibited foreign emoluments. His failure to explain

is especially problematic given that the Constitution itself has

not prevented him from allegedly accepting them. Third, the

President does not explain how the proposed legislation would be

adequate in view of the allegation that the President has not

provided any information to Congress about the prohibited

foreign emoluments he has received, and that he does not intend

to change this practice. Am. Compl., ECF No. 14 ¶¶ 40, 41.

Legislating after Congress happens to learn about his acceptance

of a prohibited foreign emolument through news reports is

clearly an inadequate remedy. Fourth, legislation disagreeing

with the President’s acceptance of prohibited foreign emoluments

does not provide a remedy for him already having allegedly

accepted them without seeking and obtaining consent. Finally,

legislation would neither prevent the President from accepting

future prohibited foreign emoluments, nor force him to return

those he has already accepted.

     Furthermore, and in contrast to the situation in Chenoweth

and Campbell, Congress’ appropriations power cannot be used to

obtain a legislative remedy, such as refusing to appropriate

funds for an Executive Branch program or for participation in a

war, because there are no federal appropriations associated with

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the President’s receipt of prohibited foreign emoluments. This

is another aspect of the Clause that makes it unusual. The

President suggests that among plaintiffs’ legislative remedies

is the use of Congress’ appropriations power to retaliate

against him for his alleged acceptance of prohibited foreign

emoluments by “tak[ing] action on matters not directly related

to emoluments.” Reply, ECF No. 28 at 18. Courts have treated

Congress’ use of its appropriations power as a legislative

remedy in situations in which failing to provide funding could

actually resolve the dispute. See, e.g., Campbell, 203 F.3d at

23 (“Congress always retains appropriations authority and could

have cut off funds for the American role in the conflict.”).

Here, however, Congress lacks a “broad range of legislative

authority it can use to stop” the President from failing to seek

consent before accepting prohibited foreign emoluments.

Campbell, 203 F.3d at 24 (noting that where “Congress has a

broad range of legislative authority it can use to stop a

President’s” action, Congress cannot mount a challenge to that

action pursuant to Raines).

     Finally, the availability of the extreme measure of

impeachment, see Campbell, 203 F.3d at 23 (noting that “there

always remains the possibility of impeachment should a President

act in disregard of Congress’ authority”), to enforce the

President’s compliance with the Clause is not an adequate remedy

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within the meaning of Raines. Cf. Nat’l Treasury Emp. Union v.

Nixon, 492 F.2d 587, 615 (D.C. Cir. 1974) (“the Constitution

should not be construed so as to paint this nation into a corner

which leaves available only the use of the impeachment process

to enforce the performance of a perfunctory duty by the

President”).

               b. Capable of Resolution Through the Judicial
                  Process

     Raines also instructs the Court to consider whether “the

dispute is ‘traditionally thought to be capable of resolution

through the judicial process.’” Raines, 521 U.S. at 819 (quoting

Flast, 392 U.S. at 97). The President argues that it is not

because “every[16] confrontation between one or both Houses of

Congress and the Executive Branch has been resolved through the

political process rather than through suits brought by

legislators.” Reply, ECF No. 28 at 10 (citing Raines, 521 U.S.

at 826). Plaintiffs respond that the Raines Court discussed the

novelty of litigation between the legislative and executive


16Again, the President has overstated the proposition. What the
Raines Court said was “in analogous confrontations between one
or both Houses of Congress and the Executive Branch, no suit was
brought on the basis of claimed injury to official authority or
power.” Raines, 521 U.S. at 826 (emphasis added). In Kennedy v.
Sampson, the D.C. Circuit held that Senator Kennedy had standing
to bring the suit and the Court issued a declaratory judgment
ruling that the President’s failure to take action on the bill
at issue did not result in a pocket veto, but instead the bill
became law. 511 F.2d at 442. Such suits are therefore not
nonexistent.
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branches, noting that it “appear[ed]” to argue against the

plaintiffs, but did not elaborate further. Pls.’ Opp’n, ECF No.

17 at 20.

     The Raines Court’s examples of analogous confrontations

between Congress and the Executive Branch are distinguishable

from the situation here. In Raines, the Court discussed at

length the fact that no President sued to challenge the

constitutionality of the Tenure of Office Act. Raines, 521 U.S.

at 826. That Act, which required the consent of the Senate for

the President to remove an official whose appointment to the

Executive Branch required Senate confirmation, was passed in

1867 and repealed in 1887. Id. The Raines Court stated that if

federal courts had become involved, “they would have been

improperly and unnecessarily plunged into the bitter political

battle being waged between the President and Congress” over the

Act. Id. at 827. Here, there is no “bitter political battle”

between the President and Congress over the constitutionality of

an Act passed, and ultimately repealed, by Congress that

impinged on the President’s appointments authority. Id.

     Two of the other three examples cited by the Raines Court

involved constitutional challenges to legislation that

impermissibly altered the power of the Legislative or Executive

Branch, but where the claim was not brought by one branch

against the other. See INS v. Chadha, 462 U.S. 919, 959

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(1983)(holding the one House congressional veto provision in

Section 244(1)(2) of the Immigration and Nationality Act to be

unconstitutional); Buckley v. Valeo, 424 U.S. 1, 140 (1976)

(holding the provisions of the then-existing Federal Election

Campaign Act of 1971 that “vest[ed] in the [Federal Election]

Commission primary responsibility for conducting civil

litigation in the courts of the United States for vindicating

public rights, violate[d] Art. II, § 2, cl., 2, of the

Constitution.”). These cases are distinguishable because here,

plaintiffs do not allege that their injury has been caused by a

similar type of legislation passed by Congress and signed into

law by the President. Furthermore, there is no legislative

remedy. In the final example, the Supreme Court held that a bill

that was presented to the President less than ten days before a

congressional session was adjourned did not become law when the

President “neither signed the bill nor returned it to the

Senate” in a challenge brought by certain Native American

Tribes. Okanogan, Methow, San Poelis (or San Poil), Nespelem,

Colville, and Lake Indian Tribes or Bands of the State of

Washington v. United States, 279 U.S. 655, 673, 691-92 (1929).

This case is distinguishable for the same reasons—at issue there

was the legal status of a bill that had been passed by both

Houses of Congress and presented to the President less than ten

days before the adjournment of the congressional session. The

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decision to do so had been made by Congress and could be

remedied by Congress.

     Similarly, this is not a situation in which plaintiffs

disagree with the manner in which the President is administering

or enforcing the law. See United States v. Windsor, 570 U.S.

744, 789 (2013) (Scalia, J. dissenting) (Ours is not a “system

in which Congress and the Executive can pop immediately into

court, in their institutional capacity, whenever the President .

. . implements a law in a manner that is not to Congress’

liking.”). Neither is it the situation in Raines where the Court

rejected the plaintiffs’ ability to sue the President over the

exercise of a statutory provision they believed to be

unconstitutional. Raines, 521 U.S. at 830. Furthermore, although

historical practice militates against Members of Congress

turning to the Courts to resolve a dispute for which there is a

legislative resolution, as explained supra Section IV.C.3.a,

there is no adequate legislative remedy here.

     This case does not raise the concern that the Court, in

exercising jurisdiction over plaintiffs’ claims, would be

engaging in some kind of “amorphous general supervision of the

operations of government.” Id. at 826 (quoting Richardson, 418

U.S. at 194 (Powell, J., concurring)). Rather, this dispute

raises concrete legal questions that are within the purview of

the federal courts to adjudicate: (1) what is an emolument;

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(2) what does it mean to accept an emolument; and (3) whether

the President has violated the Foreign Emoluments Clause. The

President contends that “Congress is far better equipped than

the courts to assess whether particular arrangements violate the

Foreign Emoluments Clause, and if so, how best to address the

violation.” Reply, ECF No. 28 at 18. While Congress clearly has

the power to legislate on the issue of emoluments, “it is ‘the

duty of the judicial department’—in a separation-of-powers case

as in any other—‘to say what the law is.’” N.L.R.B. v. Canning,

134 S. Ct. 2550, 2560 (2014) (quoting Marbury, 1 Cranch at 177).

Therefore, it is the role of the Judiciary to “say what the law

is” regarding the meaning of the Foreign Emoluments Clause and

the President’s compliance with it. Cf. United States v. Nixon,

418 U.S. 683, 705 (1974) (“We therefore reaffirm that it is the

province and duty of this Court ‘to say what the law is’ with

respect to the claim of privilege asserted in this case.”)

(quoting Marbury, 1 Cranch at 177). The President does not

dispute the role of the courts in interpreting the Constitution,

but rejects the proposition that judicial review is appropriate

here because “Congress continues to possess effective tools that

would serve as checks on the Executive.” Def.’s Suppl. Br. in

Support of his Mot. to Dismiss and in Response to the Brs. of

Amici Curiae (“Def.’s Suppl. Br.”), ECF No. 51 at 26-27.

Nevertheless, as explained supra Section IV.C.3.a, there are no

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adequate legislative remedies here.

     Furthermore, unlike in Raines, the dispute here is neither

an “interbranch dispute about calibrating the legislative and

executive powers [nor] is it an intrabranch dispute between

segments of Congress itself,” either of which would counsel

against judicial involvement based on separation-of-powers

principles. Raines, 521 U.S. at 833 (Souter, J., concurring).

Rather, this dispute is about the President’s alleged refusal to

seek consent prior to his alleged acceptance of prohibited

foreign emoluments that he receives as a result of his personal

financial interests. The President has strenuously attempted to

frame the dispute as “an intrabranch dispute between segments of

Congress itself,” see Raines, 521 U.S. at 833 (Souter, J.,

concurring), but as the Court has thoroughly explained, supra

Section IV.3.A, this characterization is incorrect.

     Accordingly, although this case implicates separation-of-

powers concerns, finding standing here “keep[s] the Judiciary’s

power within its proper constitutional sphere.” Raines, 521 U.S.

at 820. As the Court has explained, plaintiffs’ claim of

standing is not based on a “loss of political power,” see id. at

821, as was the case in Raines, because the injury alleged is

not an injury to their power to legislate on the issue of

emoluments. And since plaintiffs have no adequate legislative

remedy, they appropriately seek relief in federal court. See

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Valley Forge Christian Coll., 454 U.S. at 473-74 (“exercis[ing]

. . .    judicial power has been recognized as a tool of last

resort”).

             4. The Ability of Another Plaintiff to Bring this Case

        Raines instructs the Court to consider whether another

plaintiff could bring the case. Raines, 521 U.S. at 829 (noting

that the Court’s holding did not foreclose a constitutional

challenge by someone with standing). At oral argument, the Court

asked counsel for the President a hypothetical question:

Whether, if this case had been brought by Congress as an

institutional plaintiff, counsel would agree that it would have

standing. Hr’g Tr., ECF No. 54 at 71:2-6. The government refused

to concede that it would. Id. at 71:7-25, 77:5-20. At the same

time, counsel stated, “[j]ust because these plaintiffs don’t

have standing, it doesn’t mean another plaintiff in a proper

case might not have standing.” Id. at 76:2-3. When pressed by

the Court about who that plaintiff would be, counsel conceded:

“I have a hard time thinking through which plaintiff would be a

proper plaintiff to enforce the Emoluments Clause.” Id. at 76:8-

10. That no plaintiff would have standing to challenge the

President’s alleged violation of the Clause is certainly

consistent with the President’s argument that “when an official

fails to first seek congressional consent before accepting

emoluments prohibited by the Foreign Emoluments Clause, it only

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means that the official has violated the Clause, not that each

Member of Congress automatically acquires a judicially

cognizable personal stake to challenge the violation.” Def.’s

Suppl. Br., ECF No. 51 at 11. The faulty premise underlying the

President’s argument, however, is that there is a legislative

remedy for violating the Clause.          Hr’g Tr., ECF No. 54 at 79:12-

80:18.

     The Court is aware of one existing 17 challenge to the

President’s receipt of prohibited foreign emoluments. However,

that challenge seeks to remedy entirely different injuries: The

District of Columbia alleges injuries to its quasi-sovereign

interest and its proprietary interest, and the State of Maryland

alleges injuries to its sovereign interests, quasi-sovereign

interest and its proprietary interest. See District of Columbia

v. Trump, 291 F. Supp. 3d 725, 735 (D. Md. 2018).

     Accordingly, if these plaintiffs do not have standing to

bring their claims to address their alleged injury, it is

unlikely that another plaintiff would, rendering the Clause

unenforceable against the President except via impeachment. As

explained, supra at 45, impeachment is an inadequate remedy

within the meaning of Raines.


17Another challenge was dismissed for lack of standing. See
Citizens for Responsibility and Ethics in Washington v. Trump,
276 F. Supp. 3d 174 (S.D.N.Y. 2017), appeal docketed, No. 18-474
(2d Cir. 2018).
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          5. Traceability and Redressability

     “A plaintiff must allege a personal injury fairly traceable

to the defendant’s allegedly unlawful conduct and likely to be

redressed by the requested relief.” Allen, 468 U.S. at 751.

The President contends that “[p]laintiffs’ alleged injury is not

traceable to the President: The President has not prevented

Congress from voting on whether he may accept emoluments, and

Plaintiffs remain free to convince their congressional

colleagues to redress their alleged injury.” Reply, ECF No. 28

at 8. The Court disagrees. Again, the President has misstated

the alleged injury. Moreover, this matter is before the Court on

a motion to dismiss and the Court must take as true the facts

that are alleged in the complaint. Plaintiffs’ well-pleaded

complaint alleges that the President has accepted prohibited

foreign emoluments without first seeking the consent of

Congress. Am. Compl., ECF No. 14 ¶¶ 4-5. The alleged injury is

therefore directly traceable to the President’s alleged failure

to seek Congressional consent.

     Plaintiffs seek declaratory relief in the form of a

declaratory judgment stating that the President is violating the

Clause when he accepts emoluments from foreign states without

first seeking the consent of Congress, and injunctive relief in

the form of an order from the Court enjoining the President from

accepting “any present, Emolument, Office, or Title, of any kind

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whatever” from a foreign state without obtaining “the Consent of

Congress.” Id., ECF No. 14 ¶¶ 84-92. The President contends that

the injunctive relief sought by plaintiffs is unconstitutional,

Mot. to Dismiss, ECF No. 15-1 at 56-58; Reply, ECF No. 28 at 31-

34, but does not contest that injunctive relief, were it

available, would redress plaintiffs’ injury, see generally Mot.

to Dismiss, ECF No. 15-1; Reply, ECF No. 28. Whether injunctive

relief is available here is a merits determination that the

Court need not reach at this juncture, and the Court cannot

assume, for the purposes of determining whether plaintiffs have

standing, that injunctive relief would be unconstitutional.

Because the President’s alleged violation of the Clause could be

redressed by the declaratory and injunctive relief sought,

plaintiffs have satisfied the redressability component of the

standing inquiry.

V.   Conclusion

      Accordingly, the Court finds that plaintiffs have standing

to sue the President for allegedly violating the Foreign

Emoluments Clause. The Court therefore DENIES IN PART the motion




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to dismiss and DEFERS ruling on the remaining arguments in the

motion to dismiss. An appropriate Order accompanies this

Memorandum Opinion.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 28, 2018




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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                             MEMORANDUM OPINION

I.    Introduction

      In its previous Opinion, the Court held that plaintiffs,

approximately 201 Members of the 535 Members of the United

States Senate and House of Representatives, had standing to sue

defendant Donald J. Trump in his official capacity as President

of the United States (“the President”) for alleged violations of

the Foreign Emoluments Clause (“the Clause”). See Blumenthal v.

Trump, 335 F. Supp. 3d 45, 72 (D.D.C. 2018) (“Blumenthal I”).

The President has moved to dismiss the Amended Complaint for

failure to state a claim because, inter alia, he contends that

“Emolument” should be narrowly construed to mean “profit arising

from an official’s services rendered pursuant to an office or

employ.” Def.’s Mot. to Dismiss (“Mot. to Dismiss”), ECF No. 15-




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1 at 38. 1 The President’s definition, however, disregards the

ordinary meaning of the term as set forth in the vast majority

of Founding-era dictionaries; is inconsistent with the text,

structure, historical interpretation, adoption, and purpose of

the Clause; and is contrary to Executive Branch practice over

the course of many years.

     Pursuant to the Clause, certain federal officials,

including the President, shall not “accept” an “Emolument” from

“any King, Prince, or foreign State” without “the Consent of the

Congress.” U.S Const. art. I, § 9, cl. 8. In Count I, plaintiffs

seek declaratory relief pursuant to 28 U.S.C. § 2201 in the form

of a declaratory judgment stating that the President is

violating the Clause when he accepts Emoluments from foreign

states without first seeking the consent of Congress. Am.

Compl., ECF No. 14 ¶¶ 85-86. In Count II, plaintiffs seek

injunctive relief pursuant to the Court’s inherent authority to

grant equitable relief and pursuant to 28 U.S.C. § 1331 in the

form of a Court order enjoining the President from accepting

“any present, Emolument, Office, or Title, of any kind whatever”

from a foreign state without obtaining “the Consent of the

Congress.” Id. ¶ 92.




1 When citing electronic filings throughout this Memorandum
Opinion, the Court cites to the ECF header page number, not the
original page number of the filed document.



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       In holding that plaintiffs had standing to sue the

President in Blumenthal I, the Court deferred ruling on the

remaining arguments in the President’s motion to dismiss:

(1) failure to state a claim upon which relief can be granted;

(2) lack of a cause of action to seek the relief requested; and

(3) the injunctive relief sought is unconstitutional. Mot. to

Dismiss, ECF No. 15-1 at 17-18.

       Upon careful consideration of the President’s motion to

dismiss, the opposition and reply thereto, the relevant

arguments of amici, 2 and for the reasons explained below, the

Court finds that: (1) plaintiffs have stated a claim against the

President for allegedly violating the Foreign Emoluments Clause;

(2) plaintiffs have a cause of action to seek injunctive relief

against the President; and (3) the injunctive relief sought is

constitutional. The Court therefore DENIES the portions of the

motion to dismiss that were deferred in the Court’s prior Order.

II.    Factual Background

       Plaintiffs allege that the President “has a financial

interest in vast business holdings around the world that engage

in dealings with foreign governments and receive benefits from

those governments.” Am. Compl., ECF No. 14 ¶ 2. In particular,

the President owns “more than 500 separate entities–hotels, golf


2 The Court appreciates the illuminating analysis provided by the
amici.



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courses, media properties, books, management companies,

residential and commercial buildings, . . . airplanes and a

profusion of shell companies set up to capitalize on licensing

deals.” Id. ¶ 34 (internal quotation mark omitted). Since being

elected President, he has “not divested or otherwise given up

his ownership interest in his worldwide business holdings.” Id.

¶ 36.

     As a result of his financial interests, plaintiffs allege

the President has accepted, and will accept in the future,

Emoluments from foreign states. Id. ¶ 37. Indeed, the President

has acknowledged “that his businesses receive funds and make a

profit from payments by foreign governments, and that they will

continue to do so while he is President.” Id. Public reporting

has also confirmed this to be the case. Id.

     Plaintiffs allege that “[t]hese various benefits from

foreign governments—payments, loans, permits, exemptions, policy

changes, and intellectual property rights—constitute prohibited

‘Emolument[s]’ and/or ‘present[s]’ under the Foreign Emoluments

Clause . . . .” Id. ¶ 38 (citation omitted). Specifically, the

President has allegedly accepted valuable intellectual property

rights from the Chinese government without seeking and obtaining

the consent of Congress. Id. ¶¶ 44-50. The President has also

allegedly accepted payments for hotel rooms and events from

foreign diplomats and from foreign lobbying groups paid for by




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foreign governments without seeking and obtaining the consent of

Congress. Id. ¶¶ 52-57. The President has allegedly accepted

payments from foreign governments derived from real estate

holdings, id. ¶¶ 58-62, as well as licensing fees paid by

foreign governments for “The Apprentice,” id. ¶¶ 63-65, all

without seeking and obtaining the consent of Congress, id. ¶¶

59, 62, 65. Finally, the President has allegedly accepted

regulatory benefits from foreign governments without seeking and

obtaining the consent of Congress. Id. ¶¶ 66-67.

III. Standard of Review

     “A motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) “tests the legal sufficiency of a complaint.” Browning

v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). A complaint must

contain “‘a short and plain statement of the claim showing that

the pleader is entitled to relief,’ in order to ‘give the

defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007) (alteration in original) (quoting Conley v. Gibson,

355 U.S. 41, 47 (1957)). While detailed factual allegations are

not necessary, a plaintiff must plead enough facts “to raise a

right to relief above the speculative level.” Id.

     When ruling on a Rule 12(b)(6) motion, the Court may

consider “the facts alleged in the complaint, documents attached

as exhibits or incorporated by reference in the complaint, and




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matters about which the Court may take judicial notice.”

Gustave–Schmidt v. Chao, 226 F. Supp. 2d 191, 196 (D.D.C. 2002).

The Court must construe the complaint liberally in plaintiffs’

favor and grant plaintiff the benefit of all reasonable

inferences deriving from the complaint. Kowal v. MCI Commc’ns

Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994). The Court need not

accept inferences that are “unsupported by the facts set out in

the complaint.” Id. “Nor must the [C]ourt accept legal

conclusions cast in the form of factual allegations.” Id.

“[O]nly a complaint that states a plausible claim for relief

survives a motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662,

679 (2009).

IV.    Analysis

       A.    Constitutional Interpretation

       “When interpreting a constitutional provision, [the Court]

must look to the natural meaning of the text as it would have

been understood at the time of the ratification of the

Constitution.” Canning v. N.L.R.B., 705 F.3d 490, 500 (D.C. Cir.

2013) (citing District of Columbia v. Heller, 554 U.S. 570

(2008)). “In interpreting the text [the Court is] guided by the

principle that ‘[t]he Constitution was written to be understood

by the voters; its words and phrases were used in their normal

and ordinary as distinguished from technical meaning.’” Heller,

554 U.S. at 576 (quoting United States v. Sprague, 282 U.S. 716,




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731 (1931)). “Normal meaning may of course include an idiomatic

meaning, but it excludes secret or technical meanings that would

not have been known to ordinary citizens in the founding

generation.” Id. at 576-77. In determining the normal and

ordinary meaning, the Court is to consider founding-era

dictionaries and other contemporaneous sources. See, e.g.,

N.L.R.B. v. Canning, 573 U.S. 513, 527 (2014); Heller, 554 U.S.

at 581-86. When the text is ambiguous, the Court is to consider

the purpose of the clause and the historical interpretations and

applications of the clause. Canning, 573 U.S. at 528-29; see

also Heller, 554 U.S. at 592 (“This meaning is strongly

confirmed by the historical background of the [provision].”).

The Court is also to “treat[] [government] practice as an

important interpretive factor even when the nature or longevity

of that practice is subject to dispute, and even when that

practice began after the founding era.” Canning, 573 U.S. at

525, 530-32 (considering opinions of the Office of Legal Counsel

(“OLC”) and the Comptroller General in determining the meaning

of the Recess Appointments Clause).




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     B.    “Emolument” Is Broadly Defined as Any Profit, Gain, or
           Advantage 3

     The Foreign Emoluments Clause provides:

           No Title of Nobility shall be granted by the
           United States: And no Person holding any
           Office of Profit or Trust under them, shall,
           without the Consent of the Congress, accept of
           any present, Emolument, Office, or Title, of
           any kind whatever, from any King, Prince, or
           foreign State.

U.S. Const. art. I, § 9, cl. 8.

           1. The Ordinary Meaning, Text, Structure, Adoption, and
              Historical Interpretation of the Clause;
              Constitutional Purpose; and Consistent Executive
              Branch Practice Support a Broad Interpretation of
              “Emolument”

                  a. Ordinary Meaning of “Emolument”

     The parties dispute whether the profits that the

President’s business interests earn from foreign governments are

“Emoluments” covered by the Clause. The President contends that

the Clause “is not a blanket prohibition on commercial

transactions with foreign governments by businesses in which the


3 The parties do not dispute that the Clause applies to the
President. See generally Mot. to Dismiss, ECF No. 15-1; Pls.’
Opp’n, ECF No. 17; Def.’s Reply (“Reply”), ECF No. 28. The Court
therefore declines to reach the question despite the argument to
the contrary of one amicus brief and based on Judge Peter J.
Messitte’s persuasive analysis of that argument and conclusion
that the Clause does indeed apply to the President in the only
other judicial opinion construing the Clause. See District of
Columbia v. Trump, 315 F. Supp. 3d 875, 882-87 (D. Md. 2018)
(“Trump”); see also Br. for Scholar Seth Barrett Tillman and
Judicial Education Project as Amici Curiae in Supp. of the Def.,
ECF No. 16-1.




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official has a financial interest,” but rather “applies only to

the receipt of compensation for services rendered by an official

in an official capacity or in an employment (or equivalent)

relationship with a foreign government, and to the receipt of

honor and gifts by an office-holder from a foreign government.”

Mot. to Dismiss, ECF No. 15-1 at 33-34. In support of his

position, the President explains that at the time of the

Nation’s founding, an “‘[E]molument’ was a common characteristic

of a federal office . . . comprehensively describ[ing] ‘every

species of compensation or pecuniary profit derived from a

discharge of the duties of the office.’” Id. at 34 (alteration

in original) (first citing United States v. Hartwell, 73 U.S.

385, 393 (1867); and then quoting Hoyt v. United States, 51 U.S.

109, 135 (1850). 4 According to the President, this was because

most federal officials did not receive salaries as is the case

today, but rather, were compensated by fees in exchange for

their services. Id. Therefore, he argues, this “common usage” of

the word at the time of the founding compels interpreting the

term to mean “profit arising from an office or employ.” Id. at




4 The President’s added emphasis on the phrase and reliance on
this case are misleading given that the Court was not construing
the meaning of the term “Emolument” generally, but rather a
statutory provision concerning “the annual [E]moluments of any
[customs] collector.” Hoyt, 51 U.S. at 135. Accordingly, the
Emolument would necessarily derive from the discharge of the
duties of the office.



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35 (quoting James Barclay, A Complete & Universal English

Dictionary on a New Plan (1774)(“Barclay’s Dictionary”)). 5 To

illustrate, the President provides two examples of what would

constitute Emoluments under his definition: (1) “a federal

official would receive an Emolument if he or she was paid by a

foreign government to take certain official actions”; and

(2) “an Emolument would [] be received if an official became an

employee or entered an employment-like relationship with the

foreign government, such as if a federal government lawyer

provided legal advice and services to a paying foreign power.”

Id. According to the President, “[t]his interpretation is

consistent with the nature of the other prohibited categories in

the Foreign Emoluments Clause: present, office, and title, which

are all things personally conferred or bestowed on a U.S.

official holding an ‘Office of Profit or Trust.’” Id.

     Plaintiffs rely on contemporaneous dictionaries, general-

purpose writings, contemporaneous state constitutions, and legal

decisions to support their argument that at the time the

Constitution was written, “‘[E]molument’ was a commonly used




5 Plaintiffs point out that Barclay’s dictionary defines “employ”
not as “employment” but as “a person’s trade, business” and “a
public office” and therefore this source supports defining an
Emolument to include “profit arising from . . . a person’s
trade, business.” Pls.’ Opp’n, ECF No. 17 at 42. Plaintiffs
contend that this definition does not therefore support the
President’s position. Id. at 42-43.



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term that often referred to profit or gain in general.” Pls.’

Opp’n, ECF No. 17 at 39 (citing The Oxford English Dictionary

(2d ed. 1989) (referring to eighteenth century texts); Samuel

Johnson, A Dictionary of the English Language (1755); John

Mikhail, The Definition of “Emolument” in English Language &

Legal Dictionaries, 15-23-1806, at 8 (July 9, 2017) (working

paper),

https://papers.ssrn.com/so13/papers.cfm?abstract_id=2995693

(explaining that [E]molument was defined as “‘profit,’

‘advantage,’ ‘gain,’ or ‘benefit’ . . . in every known English

language dictionary” published in the seventeenth and eighteenth

centuries, that this was the exclusive definition provided in

over 92% of these dictionaries, and that the President’s

preferred definition appears in less than 8% of these

dictionaries, but that the broader definition also appears in

these latter dictionaries)). Plaintiffs also emphasize, again

relying on contemporaneous documents, that the term “was

frequently used to mean the profits accruing from private

financial transactions.” Id. at 40.

     Plaintiffs maintain that interpreting the term to

“requir[e] an employment-like relationship[] is based on a

flawed reading of Founding-era dictionaries . . . [and]

requiring the provision of specific services in an official

capacity” lacks legal support. Id. at 41. Moreover, they argue




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that even if the Court were to adopt the narrow definition that

appears in the Oxford English Dictionary–“[p]rofit or gain

arising from station, office, or employment; dues, reward;

remuneration, salary”–“the gain arising from President Trump’s

status as the head of a worldwide business empire” falls within

this definition. Id. Furthermore, according to plaintiffs,

“[t]he narrower definition the President cites also embraces

profit or gain ‘arising from [his] office,’ as when foreign

governments seek his favor by granting him lucrative trademarks

or selecting his hotels” because these “benefits ‘arise from’

the office he holds, because (the Plaintiffs allege) they are

being given to him because he is the President.” Id. (citing Am.

Compl., ECF No. 14 ¶¶ 48, 54).

     The President contends that the number of sources citing

the two competing definitions is not relevant because the

meaning of the term in the Clause depends on the constitutional

context, the history of the Clause, and founding-era practices.

Reply, ECF No. 28 at 22. The President also asserts that

plaintiffs’ reliance on Professor Mikhail’s article is misplaced

because another law review article has criticized it for making

inaccurate assumptions. Id. at 22-23. The President argues that

Professor Mikhail’s article and the sources it references

actually support his position because they “demonstrate that the

President’s definition is closely related to the etymology of




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[E]molument, which is profit derived from labor, or more

specifically, from grinding corn.” Id. at 23. The President also

notes that the Oxford English Dictionary lists his definition of

“emolument” first, and before plaintiffs’ broader definition,

indicating that the President’s definition predates that of the

plaintiffs. Id. at 24.

     Amici Legal Historians soundly reject the President’s

“narrow definition of ‘Emolument’ [as] inaccurate,

unrepresentative, and misleading”:

          Little or no evidence indicates that the two
          obscure sources—Barclay (1774) and Trusler
          (1766)—on which [the President] relies for
          [his]    “office-   and    employment-specific”
          definition    of “[E]molument”    were   owned,
          possessed, or used by the founders, let alone
          had any impact on them, or on those who debated
          and ratified the Constitution. For example,
          neither of these sources is mentioned in the
          more than 178,000 searchable documents in the
          Founders Online database, which makes publicly
          available the papers of the six most prominent
          founders. Nor do these volumes appear in other
          pertinent databases, such as Journals of the
          Continental Congress, Letters of Delegates to
          Congress,     Farrand’s    Records,    Elliot’s
          Debates, or the Documentary History of the
          Ratification of the Constitution. By contrast,
          all of the dictionaries that the founding
          generation did possess and use regularly
          define “[E]molument” in the broad manner
          favoring      the     plaintiffs:     “profit,”
          “advantage,” or “benefit.”

          Second, a careful review of English language
          dictionaries from 1604 to 1806 shows that
          every definition of “[E]molument” published
          during this period relies on one or more of
          the elements of the broad definition [the




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            President] rejects in [his] brief: “profit,”
            “advantage,” “gain,” or “benefit.” . . .
            Finally, Trusler’s volume is not a standard
            dictionary, but rather a thesaurus, which
            presumes    that   “gain,”    “profit,”    and
            “[E]molument” are synonyms; moreover, its
            explanation   of  “[E]molument”   was   copied
            directly from a French thesaurus, hence it is
            not even reliably grounded in English usage.
            The impression [the President] creates in
            [his] brief by contrasting four historical
            definitions of “[E]molument”—two broad and two
            narrow—is, therefore, highly misleading.

Br. of Amici Curiae by Certain Legal Historians on Behalf of

Pls. (“Br. of Legal Historians”), ECF No. 46 at 12-13 (footnotes

omitted).

     The President does not dispute that the broader definition

existed at the time the Constitution was ratified, Mot. to

Dismiss, ECF No. 15-1 at 37, and plaintiffs acknowledge that a

narrower definition existed at the time, Pls.’ Opp’n, ECF No. 17

at 41. Plaintiffs’ main contention is that because the evidence

demonstrates that the broader definition was more pervasive, it

was what was intended in the Clause. The President responds that

the narrower definition is the “better one” to use given the

context and history of the Clause.

The Court is persuaded that the weight of the evidence in

“founding-era dictionaries and other contemporaneous sources”

supports the broad meaning of the term advocated by plaintiffs

and supported by the Legal Historians. Trump, 315 F. Supp. 3d at

882 (citing Canning, 573 U.S. at 527). The fact that there is




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evidence from founding-era sources that both the broad

definition advocated by plaintiffs, as well as a narrower

definition associating “Emolument” with employment, existed at

the ratification of the Constitution, however, suggests some

ambiguity in the term. Accordingly, the Court considers the

surrounding text, structure, adoption, historical

interpretation, and purpose of the Clause, as well as Executive

Branch practice to determine the meaning of “Emolument.” See

Canning, 573 U.S. at 528-29 (when the constitutional text is

ambiguous, the court is to consider the purpose of the clause

and the historical interpretations and applications of the

clause).

                b. Text and Structure of the Clause, and Other
                   Uses in the Constitution

     The President acknowledges that the broader definition of

“Emolument” advocated by plaintiffs “resembles a broader

definition that also existed at the time of the founding” but

points to the legal interpretive principle that a word with

different meanings should be interpreted by reference to the

context. Mot. to Dismiss, ECF No. 15-1 at 37-38. Accordingly,

“when read harmoniously with the rest of the Clause, [Emolument]

has the natural meaning of the narrower definition of profit

arising from an official’s services rendered pursuant to an

office or employ.” Id. at 38. The President also asserts that




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plaintiffs’ broad definition of “Emolument” would subsume the

term “present” in the Clause and render it redundant, noting

that plaintiffs use the terms “Emolument” and “present”

interchangeably. Id. at 38-39 (citing Holmes v. Jennison, 39

U.S. 540, 570-71 (1840) (“In expounding the Constitution of the

United States, every word must have its due force, and

appropriate meaning; for it is evident from the whole

instrument, that no word was unnecessarily used, or needlessly

added.”)).

     The President contends that the other two instances in

which “Emolument” is used in the Constitution provide further

support for his narrow definition because “[e]ach is associated

with an office and refers to compensation for services rendered

in the capacity as the holder of that office.” Id. at 36 (citing

U.S. Const. art. II, § 1, cl. 7 (“The President, shall, at

stated Times, receive for his services, a Compensation . . . and

he shall not receive within that Period any other Emolument from

the United States, or any of them.”); U.S. Const. art. I, § 6,

cl. 2 (“No Senator or Representative shall, during the Time for

which he was elected, be appointed to any civil Office under the

Authority of the United States, which shall have been created,

or the Emoluments whereof shall have been encreased during such

time. . . .”)).




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     Plaintiffs argue that even if the President’s narrow

definition of “Emolument” existed, the Clause does not use the

word in such a narrow sense, because to do so would render the

phrase “of any kind whatever” surplusage. Pls.’ Opp’n, ECF No.

17 at 43. Plaintiffs assert that the purpose of this phrase “is

to rule out interpretations [of ‘Emoluments’] that would allow

some ‘kinds’ of emolument to be accepted.” Id. at 44. Plaintiffs

point to the Incompatibility Clause to support their argument

that the reach of the Clause is broad. Id. The Incompatibility

Clause provides that no member of Congress “shall, during the

Time for which he was elected, be appointed to any civil Office

. . . the Emoluments whereof shall have been encreased during

such time.” U.S. Const. art. I, § 6, cl.2. Plaintiffs point out

that this Clause applies only to Emoluments bestowed by the

federal government upon civil office holders, whereas the

Foreign Emoluments Clause contains no such prohibition. Pls.’

Opp’n, ECF No. 17 at 44. Plaintiffs also argue that the reason

the Clause permits exceptions—with the consent of Congress—is

precisely because its reach is so broad. Id.

     In response to plaintiffs’ argument that the phrase “of any

kind whatever” compels their preferred definition, the President

argues that this phrase “emphasizes the Clause’s reach—every

kind of [E]molument, present, office, or title—and is not a

basis to choose which definition” was intended in the Clause.




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Reply, ECF No. 28 at 25. In response to plaintiffs’ argument

that the President’s definition renders “of any kind whatever”

to be surplusage because of the word “any,” the President posits

that there is no redundancy in his interpretation because “[t]he

more plausible role of this first use of the word ‘any’ in the

Clause is numeric—that no prohibited Emoluments may be received

by a covered official without the consent of Congress, whereas

the phrase ‘of any kind whatever’ operates to ensure that every

type of the identified compensation is also prohibited.” Id. at

26.

       Finally, the President disputes that use of the term

“Emoluments” in the Incompatibility Clause bolsters plaintiffs’

interpretation of the term because “the fact that a reference to

an office is not included in the Foreign Emoluments Clause is

simply due to the fact that the Foreign Emoluments Clause has a

broader reach—it regulates not only compensation or benefits

arising from holding federal office but also any employment-like

relationship between a foreign government and a covered

official.” Id. The President notes that the term “Emolument” is

used only one other time in the Constitution—in the Domestic

Emoluments Clause which provides that “[t]he President shall, at

stated Times, receive for his Services, a Compensation . . . and

he shall not receive within that Period any other Emolument from

the United States, or any of them.” Id. at 27 (quoting U.S.




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Const. art. II, § 1, cl.7). The President concludes that it

would not make sense for the term to have different meanings in

the Constitution and that “all three clauses in which the term

appears are tied to holding office and regulat[ing] the conduct

of office-holders.” Id.

     The Court is persuaded that the text and structure of the

Clause, together with the other uses of the term in the

Constitution, support plaintiffs’ definition of “Emolument”

rather than that of the President. The Clause bans, without

congressional approval, “any present, Emolument, Office, or

Title, of any kind whatever, from any King, Prince, or foreign

State.” U.S Const. art. I, § 9, cl. 8 (emphasis added). The

President’s argument that the phrase “of any kind whatever”

should be understood to modify “Emoluments” defined narrowly

rather than being “a basis to choose which definition” was meant

in the Clause, Reply, ECF No. 28 at 25, is unpersuasive and

inconsistent with his own argument. The President himself argues

that a word with different meanings should be interpreted by

reference to the context. Mot. to Dismiss, ECF No. 15-1 at 38.

“[T]he meaning of a term may be enlarged or restrained by

reference to the object of the whole clause in which it is

used.” Virginia v. Tennessee, 148 U.S. 503, 519 (1893). Here, it

is uncontested that the broad meaning and a narrower meaning

tied to employment existed at the time the Constitution was




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ratified, and this expansive modifier, which as plaintiffs point

out is used nowhere else in the Constitution, logically serves

to ensure that the acceptance of any foreign Emolument, however

defined, is prohibited without congressional consent. See also

Trump, 315 F. Supp. 3d at 888 (“If there were any doubt as to

the limits of the Foreign Clause, the Framers used the word

‘any’ twice, ensuring a broad and expansive reach.”).

     The President’s argument that the use of “Emolument” in the

Incompatibility Clause and the Domestic Emoluments Clause

supports his narrow definition is similarly unconvincing. In the

former, “Emolument” specifically refers to an office, indicating

that when the Founders intended for an Emolument to refer to an

official’s salary or payment associated with their office, they

said so explicitly. See U.S. Const. art. I, § 6, cl. 2. In the

latter, the Emoluments that are prohibited are those that would

be received “from the United States or any of them.” U.S. Const.

art. II, § 1, cl. 7. Thus, rather than “Emolument” having

different meanings the three times it is used in the

Constitution, more logically, the broader meaning is modified in

each Clause according to the purpose of the Clause. See

Virginia, 148 U.S. at 519; see also Trump, 315 F. Supp. 3d at

888 (“If ‘[E]molument’ were always to be read as a synonym for

salary or payment for official services rendered, th[e] modifier

in the Incompatibility Clause would have been unnecessary.”).




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     Also unconvincing is the President’s argument that adopting

plaintiffs’ definition of “Emolument” to mean “profit,” “gain,”

or “advantage” would render the term “present” redundant. The

President points out that a “present” was defined as it is

today: “[s]omething bestowed upon another without price or

exchange; the act of giving.” Mot. to Dismiss, ECF No. 15-1 at

39 (quoting Barclay’s Dictionary). As Judge Messitte observed,

defining an “Emolument” as a “profit,” “gain,” or “advantage”

“ensure[s] that the Clause covered all types of financial

transactions—solicited or unsolicited, reciprocated or

unreciprocated, official or private”—even if “Emolument” is

sometimes used synonymously with “present.” Trump, 315 F. Supp.

3d at 889.

     Furthermore, Judge Messitte points out that the President’s

narrow definition “would seem to create its own concerning

redundancies within the Constitution.” Id. As the President

explained, a practical example of his definition would be when

“a federal official would receive an [E]molument if he or she

was paid by a foreign government to take certain official

actions.” Mot. to Dismiss, ECF No. 15-1 at 35. Judge Messitte

persuasively states that this example

          is tantamount to defining the transaction as
          nothing less than one of federal bribery, a
          crime which prohibits a federal public
          official   from,   directly  or   indirectly,
          receiving or accepting “anything of value” in




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          return   for   “being    influenced   in   the
          performance of any official act.” 18 U.S.C. §
          201(b)(2). Given that Article II, Section 4 of
          the Constitution already addresses the crime
          of bribery, making it an impeachable offense,
          there would have been little need to include
          two additional and distinct Emoluments Clauses
          prohibiting the acceptance of money from
          foreign or state governments for official
          services rendered. Moreover, it seems highly
          unlikely that the Framers would have intended
          bribery to be both an impeachable offense and,
          at the same time, an activity Congress could
          consent to when a foreign government donor is
          involved. The President makes no attempt to
          come to terms with this anomaly.

Trump, 315 F. Supp. 3d at 889 (footnote omitted). Finally, there

is no question that the receipt of Emoluments is tied to the

office of President and regulating his conduct as President, but

that does not compel defining “Emolument” as narrowly as the

President advocates.

                c. Adoption and Historical Interpretation of the
                   Clause

     The President argues that “[t]he adoption and historical

 interpretation of the . . . Clause are consistent with the

 office- and employment-specific construction of the term

 ‘Emolument.’” Mot. to Dismiss, ECF No. 15-1 at 40. In support,

 the President observes that “the history of the Clause’s

 adoption [is] devoid of any concern about an official’s private

 commercial businesses.” Id. at 42. Plaintiffs describe this as

 a “dog that didn’t bark” argument, stating that even if this is

 true, “it [] tells us nothing. Discussion of the Clause was not




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extensive because the Clause was not controversial.” Pls.’

Opp’n, ECF No. 17 at 44. Furthermore, according to plaintiffs,

“the agrarian economy of the eighteenth century, the

comparatively limited role of government, and the primitive

travel technology available would have made private commerce

with foreign states an unlikely conduit for foreign influence

at the time.” Id. at 44-45.

    Citing examples of early Presidents exporting agricultural

products to foreign countries, the President argues that

historical evidence supports his position that the Clause was

not intended “to reach commercial transactions that a President

(or other federal official) may engage in as an ordinary

citizen through his business enterprises.” Mot. to Dismiss, ECF

No. 15-1 at 43-44. Plaintiffs point out that none of the

examples are of commercial transactions with a foreign

government, thus the President can “claim only that they might

have conducted such business.” Pls.’ Opp’n, ECF No. 17 at 45.

The President responds that while the records are limited and

inconclusive, because “there is no question that private

business pursuits by federal officials, including by early

Presidents, were common at the time of the Nation’s founding[,]

[i]t is reasonable to infer that at least some of their

transactions may have been with foreign or domestic government

actors, including foreign state-chartered trading companies.”




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Reply, ECF No. 28 at 29. The President relies heavily on one

historical incident—President George Washington’s purchase of

land from the federal government in the then-Territory of

Columbia—to argue that if plaintiffs’ definition of

“Emoluments” applies, President Washington would have violated

the Domestic Emoluments Clause, pointing out that the

precedents President Washington set are considered

authoritative. Mot. to Dismiss, ECF No. 15-1 at 45-46.

    Finally, the President argues that a proposed

constitutional amendment that would have applied the

prohibitions in the Clause to all private citizens undermines

the broad definition, asserting that it is “implausible that

this amendment was intended or understood as providing for the

revocation of the citizenship of anyone engaging in commerce

with foreign governments or their instrumentalities . . . [and]

. . . inconceivable that Congress and nearly three-fourths of

the States intended to strip the citizenship of, for example,

those hotel owners whose customers included visiting foreign

diplomats using government funds.” Id. at 47. Amici Legal

Historians point out, however, that “[i]n 1810, Americans

conceived precisely of this problem” given the historical

context. Br. of Legal Historians, ECF No. 32 at 33. Plaintiffs

also point out that the President’s argument is self-defeating

because, for example, “a household servant temporarily hired by




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a visiting foreign diplomat . . . would be ‘in an employment-

like relationship’ with the diplomat.” Pls.’ Opp’n, ECF No. 17

at 45 (citing Mot. to Dismiss, ECF No. 15-1 at 22).

The Court is persuaded that the adoption of the Clause and its

historical interpretation support plaintiffs’ definition rather

than that of the President. It is well-established that there

was little discussion of the Clause by the Framers because it

was noncontroversial. See Br. of Legal Historians, ECF No. 46

at 24. Furthermore, the Court declines to make the inference

advocated by the President—that it is reasonable to infer that

some of the early Presidents’ private business pursuits would

have been with foreign state-chartered trading companies—

because the President has provided no evidence to justify

making such an inference. See generally Mot. to Dismiss, ECF

No. 15-1; Reply, ECF No. 28. On a motion to dismiss, it is the

plaintiff, not the defendant, who receives the benefit of all

reasonable inferences deriving from the complaint. See Kowal,

16 F.3d at 1276. Similarly, the Court declines to infer that

the President’s narrow definition should be adopted based on

President Washington’s purchase of public land, potentially in

violation of the Domestic Emoluments Clause, given this was a

single incident as compared with the great weight of the

historical interpretation of the Clause. See also Trump, 315 F.

Supp. 3d at 903-904 (noting that the facts regarding this




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transaction are “seriously incomplete”). Finally, the Court is

 not persuaded that the President’s reliance on a proposed

 constitutional amendment that never became law, and for which

 he is unable to cite any floor debates that would illuminate

 the intent of the amendment, should be accorded any weight in

 determining the meaning of “Emolument.”

                d. Purpose of the Clause

      The President pays little attention to interpreting the

meaning of “Emolument” by reference to the purpose of the

Clause, briefly acknowledging that “[a]lthough the Clause was

intended to combat corruption and foreign influence, the text,

original understanding, and historical practice provide no

support for Plaintiffs’ inferential leap from the Clause’s

purpose to a blanket prohibition on receiving ‘any monetary or

nonmonetary benefit’ regardless of context.” Mot. to Dismiss,

ECF No. 15-1 at 53. The President also notes that the Framers

“gave no indication that they intended to require officeholders

to divest their private commercial businesses in order to assume

federal office.” Id. The President argues that plaintiffs’

definition would result in “absurd consequences” because, among

other things, royalties from foreign book sales, United States

Treasury bonds, and stock holdings could be considered

prohibited foreign Emoluments. Id. at 53-56.




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     Plaintiffs argue that even if the term is considered

ambiguous, any ambiguity should be resolved against the

President because his proposed definition “would defeat the

Clause’s purpose—throwing open the doors to the corruption of

any officeholder wealthy enough to own businesses and reducing

the Clause to a mere bribery law, not a prophylactic safeguard

against the possibility of corruption.” Pls.’ Opp’n, ECF No. 17

at 45. Plaintiffs cite contemporaneous documents to support

their argument that the purpose of the Clause was “to exclude

corruption and foreign influence,” id. at 46 (quoting 3 Elliot’s

Debates 465 (Randolph)), prompted by the need to guard against

“the influence which foreign powers may attempt to exercise in

our affairs,” id. (quoting Tench Coxe, An Examination of the

Constitution for the United States of America, No. 4 (Oct. 21,

1787), and to “lock up every door to foreign influence,” id.

(quoting 5 Annals of Cong. 1584 (1978) (Claiborne)). Plaintiffs

also cite contemporary OLC memoranda which consistently give the

Clause a broad scope. Id. at 46-47.

     Amici Former Government Ethics Officers, former government

officials tasked with interpreting the Clause, dispute that

“absurd consequences” would result from adopting plaintiffs’

broad definition of “Emolument” because “the government applies

a totality-of-the-circumstances approach to Emoluments Clause

questions, with a bias in favor of breadth, and a keen eye to




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the anti-corruption purpose of the clause[].” Br. of Former

Gov’t Ethics Officers as Amici Curiae Supporting Pls.’ Opp’n to

Def.’s Mot. to Dismiss (“Br. of Former Gov’t Ethics Officers”),

ECF No. 42 at 10. So, for example, amici dispute that royalties

from foreign book sales would be subject to the Clause unless “a

foreign government attempts to influence a President by

purchasing copies of his book, or if a competent authority finds

a real potential for such influence.” Id. at 15. As to

restricting the ability to hold Treasury bonds or stock

holdings, amici state that “these payments are unlikely to raise

concerns because it is highly doubtful that holding publicly

traded securities would create the potential for others to

exercise undue influence over the holder.” Id. at 14.

In view of the overwhelming evidence pointing to over two

hundred years of understanding the scope of the Clause to be

broad to achieve its purpose of guarding against even the

possibility of “corruption and foreign influence,” 3 Records of

the Federal Convention of 1787, at 327 (Max Farrand ed., 1966),

the Court is persuaded that adopting plaintiffs’ broad

definition of “Emolument” ensures that the Clause fulfills this

purpose. See also Canning, 573 U.S. at 528 (“[W]e believe the

[Recess Appointments] Clause’s purpose demands the broader

interpretation” in light of the ambiguity of the constitutional

text.). In view of the arguments of amici to the contrary, the




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Court is also not persuaded that “absurd consequences” would

result from this broad definition in view of the consistent

Executive Branch practice of applying a totality-of-the-

circumstances approach to applying the Clause. For the same

reason, it is clear that adopting the plaintiffs’ definition

would not result in a “blanket prohibition” that disregards

context.

                e. Executive Branch Practice

     As the Court explained in Blumenthal I, “[h]istorically,

Presidents have complied with the Clause by either seeking and

obtaining congressional consent prior to accepting foreign

presents or Emoluments, or by requesting an opinion from the

Executive or Legislative Branch’s advisory office as to whether

the Clause applies.” Blumenthal I, 335 F. Supp. 3d at 53 (citing

Br. of Federal Jurisdiction and Constitutional Law Scholars as

Amicus Curiae in Supp. of Pls., ECF No. 44 at 24 (“Br. of

Federal Jurisdiction and Constitutional Law Scholars”)). “Modern

Presidents, except for President Trump, have sought advice from

OLC prior to accepting potentially covered Emoluments.” Id. at

53-54 (citing Br. of Federal Jurisdiction and Constitutional Law

Scholars, ECF No. 44 at 25). The Comptroller General of the

United States is also charged with interpreting the application

of the Clause. Mot. to Dismiss, ECF No. 15-1 at 49.




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     The President points to interpretations from these

authorities as support for his preferred definition of

“Emolument” because “[i]n every published OLC or Comptroller

General opinion in which proposed conduct was determined to

involve prohibited [E]moluments, the determination involved an

employment relationship (or a relationship akin to an employment

relationship) with the foreign government.” Id. Plaintiffs

respond that the reason for this is simple: “OLC and the

Comptroller General render decisions in response to requests

from federal officers. Most such officers are not real estate

magnates, but rather people who earn money by providing their

individual labor or expertise.” Pls.’ Opp’n, ECF No. 17 at 49.

     Amici Former Government Ethics Officers explain that the

OLC, Comptroller General, and Department of Defense apply the

following principles when determining whether the Clause applies

to the situation at issue. Br. of Former Gov’t Ethics Officers,

ECF No. 42 at 7-8. First, because the “‘expansive language and

underlying purpose . . . strongly suggest that [the Clause] be

given broad scope’ . . . analyses have therefore usually started

from the presumption that the clause applies . . . [because] . .

. ‘[t]hose who hold offices under the United States must give

the government their unclouded judgment and their uncompromised

loyalty.’” Id. at 8-9 (internal citations and quotations

omitted). Second, and as explained above, the government uses a




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“totality-of-the-circumstances approach” in determining whether

the Clause applies to the situation and “has never come close to

adopting anything like the rigid, narrow rule advanced by the

[President].” Id. at 10-11. As an example, “the government has

reached varying conclusions as to whether particular payments

come from a ‘foreign state’ depending on how much control

foreign governments exercise over those payments.” Id. at 10.

Amici also point out that “the government has never determined

that the clause permits a public officeholder to maintain an

interest in a business that stands to benefit by virtue of that

person holding public office.” Id. at 11. Amici explain that

officials pay “close attention to whether the arrangement

creates even a potential for improper foreign government

influence over a person in an office of public trust. When such

a potential exists—even if the probability is quite low—the

government has found that such arrangements violate the Foreign

Emoluments Clause.” Id.

     Given that there is only one other judicial opinion

interpreting the Clause, the Court looks to OLC and Comptroller

General opinions as sources of authority for how “Emolument” is

defined and how the Clause is interpreted and applied. Canning,

573 U.S. at 525 (noting that “the longstanding ‘practice of the

government’ can inform our determination of ‘what the law is’”

and that “this Court has treated practice as an important




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interpretive factor even when the nature or longevity of that

practice is subject to dispute, and even when that practice

began after the founding era”) (citations omitted). OLC opinions

have consistently cited the broad purpose of the Clause and

broad understanding of “Emolument” advocated by plaintiffs to

guard against even the potential for improper foreign government

influence. E.g., Application of Emoluments Clause to Part-Time

Consultant for the Nuclear Regulatory Commission, 10 Op. O.L.C.

96, 98 (1986) (The Clause’s “expansive language and underlying

purpose . . . strongly suggest that it be given broad scope.”);

Applicability of the Emoluments Clause to Non-Government Members

of ACUS, 17 Op. O.L.C. 114, 121 (1993) (“The language of the

Emoluments Clause is both sweeping and unqualified.”);

Memorandum from Norbert A. Schlei, Assistant Att’y Gen., Office

of Legal Counsel, to    Andrew F. Oehmann, Office of the Att’y

Gen., Re: Invitation by Italian Government to Officials of the

Immigration and Naturalization Service & a Member of the White

House Staff 2 (Oct. 16, 1962),

https://www.justice.gov/olc/page/file/935741/download (noting

“the sweeping nature of the constitutional prohibition and the

fact that in the past it has been strictly construed, being

directed against every possible kind of influence by foreign

governments over officers of the United States”). Accordingly,

adopting the President’s narrow definition of “Emolument” would




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be entirely inconsistent with Executive Branch practice defining

“Emolument” and determining whether the Clause applies.

     Significantly, the President has not cited an OLC or

Comptroller General opinion that supports his position. See

generally Mot. to Dismiss, ECF No. 15-1; Reply, ECF No. 28. To

the contrary, he can only assert that his position “is not

inconsistent with the conclusions of any published OLC or

Comptroller General opinions.” Def.’s Suppl. Br. in Supp. of his

Mot. to Dismiss and in Resp. to the Brs. of Amici Curiae, ECF

No. 51 at 23-24. However, one opinion directly contradicts his

narrow reading of the Clause, and another undermines his narrow

definition of “Emolument.”

     In 1993, OLC issued an opinion stating that non-

governmental lawyers who were members of the Administrative

Conference of the United States (“ACUS”) could not receive

partnership distributions from their respective firms where the

distribution would include fees from foreign government clients

even though the lawyers “did not personally represent a foreign

government, and indeed had no personal contact with that client

of the firm.” Applicability of the Emoluments Clause to Non-

Government Members of ACUS, 17 Op. O.L.C. at 119. OLC reasoned

that:

          Because the amount the Conference member would
          receive from the partnership’s profits would
          be a function of the amount paid to the firm




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           by the foreign government, the partnership
           would in effect be a conduit for that
           government. Thus, some portion of the member’s
           income could fairly be attributed to a foreign
           government. We believe that acceptance of that
           portion of the member’s partnership share
           would constitute a prohibited [E]molument.

Id. 6 Judge Messitte noted that “[t]his language directly

contradicts the President’s suggestion that there can be no

violation of the Foreign [Emoluments] Clause if the federal

official is receiving benefits in a private capacity.” Trump,

315 F. Supp. 3d at 902. And as amici observe, this Opinion

“devastates the [President’s] primary argument for a narrow

reading of the clause because it shows that even an attenuated

economic interest in ordinary commercial transactions that

generate value for both sides can violate the [Foreign]

Emoluments Clause if that business nevertheless creates the

potential for undue influence over public officials.” Br. of

Former Gov’t Ethics Officers, ECF No. 42 at 21. The Court

agrees.

     Nor does the Comptroller General opinion concluding that

President Ronald Reagan’s receipt of California pension benefits

did not violate the Domestic Emoluments Clause provide support




6 OLC later determined that non-governmental members of ACUS were
not subject to the Clause, but did not its modify determination
that the distribution was an Emolument. Applicability of the
Emoluments Clause to Nongovernmental Members of ACUS, 2010 WL
2516024 (June 3, 2010).



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for the President’s definition of “Emolument.” The Comptroller

General determined that “the term ‘[E]molument’ cannot be

considered to extend to benefits that have been earned or to

which entitlement arose before his occupancy of that office, and

that clearly have no connection, either direct or indirect, with

the Presidency . . . [because they]. . . cannot be construed as

being in any manner received in consequence of his possession of

the Presidency.” Hon. George J. Mitchell, U.S. Senate, B-207467,

1983 WL 27823, at *3 (Comp. Gen. Jan. 18, 1983). Those

retirement benefits are entirely distinguishable from the

situation here, where it is alleged that, among other things,

foreign diplomats stay at the President’s Washington D.C. hotel

“to curry favor with [him] because of his position as President

of the United States,” Am. Compl., ECF No. 14 ¶ 54; and that

“his businesses receive funds and make a profit from payments by

foreign governments, and that they will continue to do so while

he is President,” id. ¶ 37; see also Trump, 315 F. Supp. 3d at

903 (observing that “profits received from foreign or domestic

governments that patronize the Trump International Hotel for the

express purpose of potentially currying favor with a sitting

President present a stark contrast to the fully vested

retirement benefits that then-Governor Reagan earned from the

State of California which the State of California was not free

to withdraw.”).




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     Finally, the President finds support for his preferred

definition in statutory provisions that exempt certain

employment relationships between government officials and

foreign officials from the scope of the Clause, asserting that

“[h]ad Congress understood the Clause to reach more broadly than

compensation arising from personal services rendered to a

foreign government, it surely would have exempted a wider range

of activities.” Mot. to Dismiss, ECF no. 15-1 at 52. The Court

is not persuaded that the President’s reliance on statutory

provisions that were never enacted should be accorded any weight

in determining the scope of the Clause.

     Consistent Executive Branch practice, which “has never come

close to adopting anything like the rigid, narrow rule advanced

by the [President],” Br. of Former Gov’t Ethics Officers, ECF

No. 42 at 10-11, clearly supports plaintiffs’ broad definition

of “Emolument” rather than that of the President. Accordingly,

“Emolument” is broadly defined as any profit, gain, or

advantage. See also Trump, 315 F. Supp. 3d at 905 (finding that

the term Emolument “extends to any profit, gain, or advantage,

of more than de minimis value, received by [the President],

directly or indirectly, from foreign . . . governments”).




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     C.   Plaintiffs Have Stated a Claim Under the Foreign
          Emoluments Clause

     With “Emolument” defined broadly as any profit, gain, or

advantage, it is clear that the Amended Complaint states a

plausible claim against the President for violations of the

Clause. Plaintiffs have alleged that the President has accepted

a variety of Emoluments from foreign governments—intellectual

property rights, payments for hotel rooms and events, payments

derived from real estate holdings, licensing fees for “The

Apprentice,” and regulatory benefits—without seeking and

obtaining the consent of Congress. Am. Compl., ECF No. 14, ¶¶

44-67. Accepting the allegations in the Amended Complaint as

true, which the Court must at this juncture, plaintiffs’

allegations state a plausible claim for relief, and survive the

President’s motion to dismiss. Iqbal, 556 U.S. at 679.

     D.   Plaintiffs Have a Cause of Action to Seek Injunctive
          Relief and the Injunctive Relief Sought Is
          Constitutional

          1. Plaintiffs Have a Cause of Action to Seek
             Injunctive Relief

     The President, analogizing the Foreign Emoluments Clause to

the Supremacy Clause, argues that the Clause “is not a source of

federal rights such that the Court may imply a cause of action

under the Clause.” Mot. to Dismiss, ECF No. 15-1 at 29. As he

must, however, the President acknowledges that equitable relief

is available “to enjoin unconstitutional actions by public




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officials,” but emphasizes that such relief is only available in

“a proper case,” id. (citing Armstrong v. Exceptional Child

Ctr., Inc., 135 S. Ct. 1378, 1384 (2015)), as “an act of

equitable discretion by the district court,” id. (citing eBay,

Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). The

President argues that this is not “a proper case” for the Court

to exercise its equitable discretion for three reasons. Id. at

30-32. First, “[p]laintiffs are not preemptively asserting a

defense to a potential enforcement action against them by the

Government, which is the paradigmatic situation where implied

equitable claims against the Government have been recognized.”

Id. at 30. “Second, equity ‘may not be used to create new

substantive rights’ . . . and the . . . Clause does not create

any personal or judicially enforceable rights.” Id. at 31. As

part of this point, the President argues that plaintiffs cannot

show that their injury falls within the zone of interests

protected by the Clause because only Congress as a whole, and

not its individual members, fall within the zone of interests

protected by the Clause. Id. Third, plaintiffs “can obtain

relief only by suing the President himself, which (if not

legally foreclosed) is at a minimum grounds for extreme

equitable restraint.” Id. at 32 (citation omitted). The

President concludes by reiterating his argument that plaintiffs’

remedy lies with Congress rather than the Courts. Id.




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       Plaintiffs respond that they have an implied cause of

action to seek injunctive relief based on long-standing Supreme

Court precedent ensuring the “‘ability to sue to enjoin

unconstitutional actions’ by government officials.” Pls.’ Opp’n,

ECF No. 17 at 50-51 (quoting Armstrong, 135 S. Ct. at 1385-86).

According to plaintiffs, an implied private right of action

exists “when a plaintiff is injured by a constitutional

violation, including a ‘separation of powers’ violation,” unless

there is a reason to treat the claim differently from any other

constitutional claim. Id. (citing Free Enter. Fund v.

P.C.A.O.B., 561 U.S. 477, 491 n.2 (2010)). Plaintiffs argue that

there is no reason to treat the claim here differently, and they

reject the President’s analogy to the Supremacy Clause. Id. at

51.

       Plaintiffs reject the President’s contention that the

“zone-of-interests” test applies to constitutional claims in

light of Lexmark Int’l, Inc. v. Static Control Components, Inc.,

134 S. Ct. 1377, 1386 (2014), but state that even if it does,

they easily satisfy it. Pls.’ Opp’n, ECF No. 17 at 52.

Plaintiffs argue that “[t]he interest they seek to vindicate is

at the heart of the Clause, which employs separation of powers

to combat foreign corruption.” Id. Plaintiffs observe that the

President concedes that Congress as a whole would satisfy any

zone-of-interests test, but that he offers no reason why




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individual Members of Congress have a different zone of

interests. Id.

     The Court is not persuaded that it should find no implied

cause of action in the Foreign Emoluments Clause on the ground

that the Supremacy Clause does not create a cause of action. In

holding there is no implied cause of action in the Supremacy

Clause, the Supreme Court stated that it “does not create a

cause of action. It instructs courts what to do when state and

federal law clash . . .” Armstrong, 135 S. Ct. at 1383. That

“instruction” stands in sharp contrast to the Clause, which

prohibits the acceptance of any foreign Emoluments of any kind

whatever without the consent of Congress. Furthermore, the

President points to no authority holding that the Appointments

Clause, which arguably is analogous to the Foreign Emoluments

Clause, does not create an implied right of action. See

generally Mot. to Dismiss, ECF No. 15-1; Reply, ECF No. 28.

     The Court is persuaded that this is a proper case in which

to exercise its equitable discretion to enjoin allegedly

unconstitutional action by the President. See Armstrong, 135 S.

Ct. at 1384 (“[W]e have long held that federal courts may in

some circumstances grant injunctive relief . . . with respect to

violations of federal law by federal officials.”) (citations

omitted). As plaintiffs point out, there is no reason for the

exercise of equitable discretion to be limited to defend a




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potential enforcement action and the President has cited no

authority to the contrary. Pls.’ Opp’n, ECF No. 17 at 54.

Rather, “it is established practice for this Court to sustain

the jurisdiction of federal courts to issue injunctions to

protect rights safeguarded by the Constitution” unless there is

a reason not to do so. Free Enter. Fund, 561 U.S. at 491 n.2

(citation omitted); Nixon v. Fitzgerald, 457 U.S. 731, 753-54

(1982) (“It is settled law that the separation-of-powers

doctrine does not bar every exercise of jurisdiction over the

President of the United States.”). Here, accepting the

allegations in the Amended Complaint as true, which the Court

must at this juncture, the President is accepting prohibited

foreign emoluments without seeking congressional consent,

thereby defeating the purpose of the Clause to guard against

even the possibility of “corruption and foreign influence.” 3

Records of the Federal Convention of 1787, at 327 (Max Farrand

ed., 1966). Exercising the Court’s equitable discretion here is

therefore “not in derogation of the separation of powers, but to

maintain their proper balance.” Nixon, 457 U.S. at 754.

     “[T]he plaintiff’s complaint [must] fall within ‘the zone

of interests’ to be protected or regulated by the statue or

constitutional guarantee in question.” Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454

U.S. 464, 475 (1982) (quoting Warth v. Seldin, 422 U.S. 490, 499




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(1975)). “We doubt, however, that it is possible to formulate a

single [zone of interests] inquiry that governs all statutory

and constitutional claims.” Clarke v. Sec. Indus. Ass’n, 479

U.S. 388, 400 n.16 (1987). Assuming the zone-of-interests test

applies here, the Court is persuaded that individual Members of

Congress satisfy that test. The President has conceded that

Congress as a body would satisfy the zone-of-interests test,

Mot. to Dismiss, ECF No. 15-1 at 31, but asserts in his reply

that “[p]laintiffs’ claim that they have been deprived of

legislative prerogatives as Members of Congress is at most

‘marginally related’ to the Foreign Emoluments Clause’s purpose

of guarding against foreign influence,” Reply, ECF No. 28 at 20

(citing Clarke, 479 U.S. at 394, 399). The Court disagrees. The

only way the Clause can achieve its purpose is for the President

to seek and obtain the consent of Congress before he accepts

foreign Emoluments. The Amended Complaint alleges that

plaintiffs’ injury is that they have been deprived of the right

to vote to consent to the President’s receipt of foreign

Emoluments before he accepts them. Am. Compl., ECF No. 14 ¶ 82.

Plaintiffs’ injury is therefore hardly “marginally related” to

the purpose of the Clause, but is directly related to the only

way the Clause can achieve its purpose. See Riegle v. Fed. Open

Mkt Comm., 656 F.2d 873, 879 (D.C. Cir. 1981) (“[T]he interest

which Riegle claims was injured by defendants’ action (his right




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to advise and consent to the appointment of officers of the

executive branch) is within the zone of interests protected by

the Appointments Clause of the Constitution.” (citation

omitted)). 7 And as the Court explained at length in its previous

Opinion, here there is no adequate legislative remedy.

Blumenthal I, 335 F. Supp. 3d at 66-68.

     The Court rejects the President’s suggestion that “extreme

equitable restraint” is appropriate here because plaintiffs can

only obtain relief from the President. Mot. to Dismiss, ECF No.

15-1 at 32. Rather, the fact that plaintiffs can only obtain

relief from the President is precisely the reason the Court

should exercise its equitable discretion here. See District of

Columbia v. Trump, 291 F. Supp. 3d 725, 752 (2018) (observing

that “it would be exalting form over substance if the

President’s acts were held to be beyond the reach of judicial

scrutiny when he himself is the defendant, but held within

judicial control when he and/or the Congress has delegated the

performance of duties to federal officials subordinate to the

President and one or more of them can be named as a defendant”


7 The Court of Appeals for the District of Columbia Circuit
(“D.C. Circuit”) expressly disapproved of “Riegle’s intimation
in dicta that the standing of private plaintiffs to bring
particular action affects the propriety of our entertaining the
same challenge when brought by a legislator.” Melcher v. Fed.
Open Mkt Comm., 836 F.2d. 561, 565 (D.C. Cir. 1987). However,
the Court did not address the zone-of-interests analysis in
Riegle. See generally id.



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(quoting Nat’l Treasury Emps. Union v. Nixon, 492 F.2d 587, 613

(D.C. Cir. 1974)); see also Br. of Separation of Powers Scholars

as Amici Curiae in Supp. of Pls. (“Br. of Separation of Powers

Scholars”), ECF No. 45 at 15-16 (explaining that the cases cited

by the President do not require dismissal of this lawsuit

because: (1) in Mississippi v. Johnson, 71 U.S. 475 (1866), the

Supreme Court dismissed the case and Mississippi then brought

suit against Secretary of War and two other defendants

challenging the same Acts; and (2) in Franklin v. Massachusetts,

505 U.S. 788 (1992) (plurality opinion), the injury could be

redressed by the Secretary of Commerce. Rather, when there is no

other remedy, courts have allowed suits against the President to

proceed).

     The Court is mindful that “the separation-of-powers

doctrine requires that a branch not impair another in the

performance of its constitutional duties.” Loving v. United

States, 517 U.S. 748, 757 (1996) (citing Mistretta v. United

States, 488 U.S. 361, 397-408 (1989)). However, as amici

Separation of Powers Scholars point out, there is no such risk

here as the President has not identified what duties would be

impaired, which is distinct from Mississippi v. Johnson, where

“the relief sought by the plaintiff against the President would

have interfered directly with the President’s ability to take

care that the Reconstruction Acts were faithfully executed.” Br.




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of Separation of Powers Scholars, ECF No. 45 at 17-18 (citing

Johnson, 71 U.S. at 499). Amici also note that “far from

distracting the President from his official duties, ‘any

Presidential time spent dealing with, or action taken in

response to’ a case clarifying the scope of the Foreign

Emoluments Clause is actually ‘part of a President’s official

duties.’” Id. at 19 (quoting Clinton v. Jones, 520 U.S. 681, 718

(1997) (Breyer, J., concurring in the judgment)). The Court

agrees. The parties dispute the meaning of “Emolument” but not

that the Clause applies to the President. Accordingly,

adjudicating this case ensures that the President fulfills his

duty to “take Care that the Laws be faithfully executed,” U.S.

Const. art. II, § 3, and consistent with his oath of office to

“preserve, protect and defend the Constitution of the United

States,” U.S. Const. art. II, § 1, cl. 8.

          2. The Injunctive Relief Sought Is Constitutional

     The President argues that the remedy plaintiffs seek is

unconstitutional because an injunction against him in his

official capacity would effectively “impose a condition on [his]

ability to serve as President and to perform the duties he is

duly elected to perform,” Mot. to Dismiss, ECF No. 15-1 at 56,

thereby “implicating core ‘executive and political’ duties,”

Reply, ECF No. 28 at 32 (quoting Johnson, 71 U.S. at 499).

Plaintiffs respond that the relief sought is not barred because




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complying with the Clause is akin to performing a ministerial

duty rather than an official one, and there is no prohibition on

injunctive relief for the performance of a ministerial duty by

the President. Pls.’ Opp’n, ECF No. 17 at 52-54. The President

complains that if plaintiffs’ interpretation of the Clause is

correct, an injunction requiring his “compliance with the Clause

would impose significant burdens” on him. Reply, ECF No. 28 at

32. The President also disputes that compliance with the Clause

can be characterized as ministerial because of the “judgment”

and “planning” needed to ensure compliance, but that even if it

was so properly characterized, “this Court should still exercise

utmost restraint in deciding whether to enjoin a sitting

President.” Id.

     The Court agrees that restraint is appropriate. However,

Supreme Court and D.C. Circuit precedent do not foreclose

injunctive relief against the President under certain

circumstances. A “grant of injunctive relief against the

President himself is extraordinary, and should . . . raise []

judicial eyebrows.” Franklin, 505 U.S. at 802. That said, the

Supreme Court “left open the question whether the President

might be subject to a judicial injunction requiring the

performance of a purely ‘ministerial’ duty.” Id. (citing

Johnson, 71 U.S. at 498–99). “A ministerial duty is one that

admits of no discretion, so that the official in question has no




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authority to determine whether to perform the duty.” Swan v.

Clinton, 100 F.3d 973, 977 (D.C. Cir. 1996) (citing Johnson, 71

U.S. at 498 (“[A] ministerial duty . . . is one in respect to

which nothing is left to discretion.”)). “[A] ministerial duty

can exist even ‘where the interpretation of the controlling

statute is in doubt,’ provided that ‘the statute, once

interpreted, creates a peremptory obligation for the officer to

act.’” Id. at 978 (quoting 13th Reg’l Corp. v. Dep’t of the

Interior, 654 F.2d 758, 760 (D.C. Cir. 1980)).

      “The language of the Emoluments Clause is both sweeping

and unqualified.” 17 Op. O.L.C. at 121. The acceptance of an

Emolument barred by the Clause is prohibited unless Congress

chooses to permit an exception. Id. Given the “sweeping and

unqualified” Constitutional mandate, the President has “no

discretion . . . no authority to determine whether to perform

the duty” to not accept any Emolument until Congress gives its

consent. Swan, 100 F.3d at 977. Accordingly, seeking

congressional consent prior to accepting prohibited foreign

emoluments is a ministerial duty. Id. The President’s argument

regarding the “judgment” and “planning” needed to ensure

compliance with the Clause is beside the point. It may take

judgment and planning to comply with the Clause, but he has no

discretion as to whether or not to comply with it in the first

instance. See id. The President complains about the “significant




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burdens” an injunction requiring him to comply with the Clause

would impose. Reply, ECF No. 28 at 32. However, as discussed

supra Section IV.D.1, the correct inquiry is not whether

injunctive relief requiring the President to comply with the

Constitution would burden him, but rather whether allowing this

case to go forward would interfere with his ability to ensure

that the laws be faithfully executed. See Clinton, 520 U.S. at

718 (Breyer, J., concurring in the judgment). Accordingly, the

injunctive relief sought in this case is constitutional.

V.   Conclusion

      For the reasons discussed above, the Court finds that:

(1) plaintiffs have stated a claim against the President for

allegedly violating the Foreign Emoluments Clause;

(2) plaintiffs have a cause of action to seek injunctive relief

against the President; and (3) the injunctive relief sought is

constitutional. The Court therefore DENIES the portions of the

motion to dismiss that were deferred in the Court’s prior Order.

An appropriate Order accompanies this Memorandum Opinion.

SO ORDERED.

Signed:     Emmet G. Sullivan
            United States District Judge
            April 30, 2019




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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                     MEMORANDUM OPINION AND ORDER

     The Court has issued two previous Opinions in this case. In

its September 28, 2018 Opinion, the Court held that plaintiffs,

approximately 201 Members of the 535 Members of the United

States Senate and House of Representatives, had standing to sue

defendant Donald J. Trump in his official capacity as President

of the United States (“the President”) for alleged violations of

the Foreign Emoluments Clause (“the Clause”). See Blumenthal v.

Trump, 335 F. Supp. 3d 45, 72 (D.D.C. 2018). In its April 30,

2019 Opinion, the Court held that: (1) the term “Emolument” is

broadly defined as any profit, gain, or advantage;

(2) plaintiffs stated a plausible claim against the President

for violations of the Clause; (3) plaintiffs have a cause of

action to seek injunctive relief to prevent the President’s

violations of the Clause; and (4) the relief plaintiffs seek—an




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injunction against the President—is constitutional. See

Blumenthal v. Trump, 373 F. Supp. 3d 191, 207, 211, 212 (D.D.C.

2019).

     Pending before the Court are the President’s motions for

certification for interlocutory appeal of the Court’s September

28, 2018 Order, ECF No. 60; 1 and April 30, 2019 Order, ECF No.

71-1. The President also moves to stay proceedings while the

Court considers the motions and pending appeal if the Court

grants them. Id. at 25. Upon careful consideration of the

President’s motions, the oppositions and replies thereto, and

for the reasons explained below, the Court DENIES the

President’s motions. 2

     A District Court may certify an interlocutory order for

immediate appeal if the judge is “of the opinion that such order

involves [1] a controlling question of law [2] as to which there

is substantial ground for difference of opinion and [3] that an

immediate appeal from the order may materially advance the


1 The President filed his first motion for certification of
interlocutory appeal before the Court had ruled on all the
issues the President raised in his motion to dismiss the
complaint. To conserve judicial resources, the Court declined to
consider the first motion until it had ruled on all the issues
raised in the motion to dismiss as the ruling could have
rendered the motion for certification of interlocutory appeal
moot. The President’s argument in his initial brief that the
Court of Appeals could render a quick decision on the single
issue of standing, Def.’s Reply, ECF No. 62 at 4, is therefore
moot.
2 The Court thanks amici for their submission.




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ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

Through section 1292(b), “Congress ... chose to confer on

District Courts first line discretion” and “circumscribed

authority to certify for immediate appeal interlocutory orders

deemed pivotal and debatable.” Swint v. Chambers County Comm'n,

514 U.S. 35, 46, 47 (1995). The availability of immediate appeal

of interlocutory orders subject to the requirements of section

1292(b) is an “exception to the firm final judgment rule

governing federal courts.” Trout v. Garrett, 891 F.2d 332, 335

(D.C. Cir. 1989). Accordingly, a party seeking certification

pursuant to section 1292(b) must meet a high standard to

overcome the “strong congressional policy against piecemeal

reviews, and against obstructing or impeding an ongoing judicial

proceeding by interlocutory appeals.” United States v. Nixon,

418 U.S. 683, 690 (1974). “Although courts have discretion to

certify an issue for interlocutory appeal, . . . interlocutory

appeals are rarely allowed [and] the movant ‘bears the burden of

showing that exceptional circumstances justify a departure from

the basic policy of postponing appellate review until after the

entry of final judgement.’” Virtual Def. and Dev. Int'l, Inc. v.

Republic of Moldova, 133 F. Supp. 2d 9, 22 (D.D.C. 2001) (citing

First Am. Corp. v. Al–Nahyan, 948 F. Supp. 1107 (D.D.C. 1996)).

Finally, “[t]he moving party bears the burden of establishing

all three elements” of the provisions of section 1292(b). U.S.




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House of Representatives v. Burwell, No. 14-1967, 2015 WL

13699275, at *1 (D.D.C. Oct. 19, 2015) (citing Nat’l Cmty.

Reinvestment Coal. v. Accredited Home Lenders Holding Co., 597

F. Supp. 2d 120, 121 (D.D.C. 2009)); see also Butler v.

DirectSat USA, LLC, 307 F.R.D. 445, 452 (“Unless all of the

statutory criteria are satisfied . . . ‘the district court may

not and should not certify its order . . . under section

1292(b).’”) (citing Ahrenholz v. Bd. of Trs. of the Univ. of

Ill., 219 F.3d 674, 676 (7th Cir.)).

     The President contends that the Court’s Orders involve four

controlling questions of law: (1) whether plaintiffs have

standing to sue, Def.’s Statement of P. & A. in Supp. of Mot.

for Certification (“Def.’s Br.”) ECF No. 60-1 at 8 3; (2) whether

plaintiffs have an equitable cause of action; (3) whether the

Court can order the declaratory and injunctive relief sought;

and (4) the meaning of the Clause, Def.’s Suppl. Br. in Supp. of

His Mot. (“Def.’s Suppl. Br.”), ECF No. 71-1 at 10.

     Despite bearing the burden of establishing all three

elements of section 1292(b), the President has made little

effort to demonstrate the third element—that “an immediate

appeal from the [Court’s Orders] may materially advance the




3 When citing electronic filings throughout this Memorandum
Opinion and Order, the Court cites to the ECF header page
number, not the original page number of the filed document.



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ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

The President contends that this element is met because there

are substantial grounds for difference of opinion as to whether

plaintiffs have standing to sue and if the Court was reversed on

this issue, the case would be terminated for lack of

jurisdiction. Def.’s Br., ECF No. 60-1 at 23. The President also

states that “[r]esolution of either of the two threshold

justiciability questions [whether plaintiffs have standing to

sue and whether plaintiffs have an equitable cause of action] in

the President’s favor would terminate this suit. And if the

Court of Appeals agrees with the President’s interpretation of

the Foreign Emoluments Clause, the case would be substantially

narrowed, if not over.” Def.’s Suppl. Br., ECF No. 71-1 at 7.

     But as plaintiffs point out, if reversal by the Court of

Appeals were the standard for meeting this element of the

section 1292(b) test, “every denial of a defendant’s dispositive

motion would merit an interlocutory appeal.” Pls.’ Opp’n, ECF

No. 61 at 12 (citing Educ. Assistance Found. v. United States,

No. 11-1573, 2014 WL 12780253, at *3 (D.D.C. Nov. 21, 2014)

(“Any immediate appeal under an interlocutory order could affect

the conduct of litigation and avoid unnecessary litigation.”).

Furthermore, the President’s “contention that certification of

this Court’s Orders for interlocutory appeal will materially

advance this litigation necessarily assumes that [he] will




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prevail on appeal.” Judicial Watch Inc. v. Nat’l Energy Policy

Dev. Group, 233 F. Supp. 2d 16, 28 (D.D.C. 2002).

     To determine whether the third element has been met, the

Court considers whether an immediate appeal “would likely and

materially advance the ultimate determination” of the

litigation. Educ. Assistance Found., 2014 WL 12780253, at *3

(quoting McKenzie v. Kennickell, No. 73-0974, 1986 WL 32653, at

*2 (D.D.C. Oct. 27, 1986); see also Burwell, 2015 WL 13699275,

at *1 (noting that the third element was not satisfied where the

case could be “decided in a matter of months—likely before an

interlocutory appeal could even be decided”). The Court also

considers whether “[a]n immediate appeal would conserve judicial

resources and spare the parties from possibly needless expense.”

APCC Services Inc. v. AT&T Corp., 297 F. Supp. 2d 90, 100

(D.D.C. 2003).

     Here, the parties agree that all of the issues in this case

can be resolved on cross motions for summary judgment. See Local

Rule 16.3 Report, ECF No. 75 at 3. Plaintiffs have proposed a

three month time period for discovery commencing June 28, 2019

and concluding September 27, 2019. Id. at 6. The President

states that “fact discovery should not commence unless the Court

denies the motion for interlocutory appeal,” id. at 7, and the

parties agree on a proposed briefing schedule that would be

complete within another three months, id. at 5.




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     The parties agree, therefore, that discovery will conclude

and cross motions for summary judgment will be fully briefed

within six months. Once the cross motions are ripe, the Court

will be able to resolve them expeditiously thereby terminating

the case. In view of this abbreviated discovery and briefing

schedule, the President has not “carried [his] burden of

demonstrating that interlocutory appeal of this question at this

point in time would materially advance the litigation as a

whole.” Judicial Watch, 233 F. Supp. 2d at 29. This discovery

and briefing schedule stands in stark contrast to cases in this

district where Courts have found the moving party to have met

the burden of establishing the third element of the section

1292(b) test. For example, in Molock v. Whole Foods Market

Group, Judge Mehta observed that “[d]iscovery in this case, in

its present form, promises to be drawn out, complex, and

expensive” and that “[t]he potential time and expense of

obtaining such discovery is staggering.” 317 F. Supp. 3d 1, at

*7 (D.D.C. 2018). In APCC Services Inc., Judge Huvelle found the

third element of the section 1292(b) test to be satisfied in

protracted litigation where discovery had been ongoing “more

than four years after the filing of the suit” and where the

significant costs of discovery were expected to “exceed any

possible damages award.” 297 F. Supp. at 100.




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     The President asserts that “‘[w]hen there are substantial

grounds for difference of opinion as to a court’s subject matter

jurisdiction, courts regularly hold that immediate appeal may

materially advance the ultimate termination of the litigation.’”

Def.’s Br., ECF No. 60-1 at 23 (quoting Al Maqaleh v. Gates, 620

F. Supp. 2d 51, 55 (D.D.C. 2009)) (citing APCC Services Inc.,

297 F. Supp. 2d at 109 and Lemery v. Ford Motor Co., 244 F.

Supp. 2d 720, 728 (S.D. Tex. 2002)). This Court does not read

the cited cases to support such a broad proposition and finds

the facts here to be distinguishable. The Court has explained

Judge Huvelle’s reasoning in APCC Services Inc. for finding this

element to have been satisfied supra, and in Lemery, the Court

found this element to be satisfied with little analysis in a

products liability case where there would be protracted

discovery at “tremendous expense.” 244 F. Supp. 2d at 728.

Neither situation is the case here. Furthermore, although in

each case, the question for certification involved a

jurisdictional issue, that was not the sole reason the Court

found this element to be satisfied and for granting the motion.

     The President also argues that the cases plaintiffs cite in

support of their argument actually support his position because

each of the cases was in a late stage and “certain to conclude

in relatively short order through a resolution of summary

judgment motions or a brief trial.” Def.’s Reply, ECF No. 62 at




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5. The Court disagrees that the cases provide support for the

President’s position. Rather, these cases are more similar to

the situation here, where even though discovery has not begun,

it will be scheduled to conclude and cross motions for summary

judgment to be fully briefed within six months. See Burwell,

2015 WL 13699275 at *1 (denying motion for certification because

“[u]nlike typical civil litigation, where the denial of a motion

to dismiss would be followed by months or even years of

discovery, this case is presently suited for summary

disposition,” which could be decided “in a matter of months”);

United States ex rel. Barko v. Halliburton Co., 4 F. Supp. 3d

162, 167 (D.D.C. 2014) (denying motion for certification in part

because “[t]o pause litigation so close to the end of discovery

and so near the deadline for summary judgment briefing would

waste judicial resources.”). While some of the cases cited were

poised for a quicker resolution than is the case here, see

Washington Tennis & Educ. Found., Inc. v. Clark Nexsen, Inc.,

324 F. Supp. 3d, 128, 146 (D.D.C. 2018) (“Once calendared, trial

on Defendant’s counterclaim can be accomplished in less than a

week.”); Brown v. Pro Football Inc., 812 F. Supp. 237, 239

(D.D.C. 1992) (“Given that the trial on damages is imminent, it

is evident that it would not expedite the ultimate termination

of this litigation to delay proceedings for an interlocutory

appeal.”); Singh v. George Washington Univ., 383 F. Supp. 2d 99,




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105 (D.D.C. 2005) (“With this litigation poised for a relatively

short, limited trial, it would not materially advance the

termination of the litigation to authorize a piecemeal

appeal.”), this case will be poised for resolution within six

months; an immediate appeal would hardly materially advance its

ultimate termination.

     Since the President has failed to meet his burden of

establishing “that an immediate appeal from the order may

materially advance the ultimate termination of the litigation,”

28 U.S.C. § 1292(b), the Court need not consider whether the

President has met his burden of establishing the other two

criteria for certifying an order for an immediate appeal. See

Educ. Assistance Found., 2014 WL 12780253, at *3 (“The plaintiff

having failed to establish that the Court’s ruling on the

admissibility of the subject document presents a controlling

question of law, and that an interlocutory appeal would

materially advance the litigation, the Court need not consider

whether there exists a substantial ground for a difference of

opinion regarding the document’s admissibility.”) (citing 28

U.S.C. § 1292(b) and Ahrenholz, 219 F.3d at 676 (“Unless all

these criteria are satisfied, the district court may not and

should not certify its order to us for an immediate appeal under

section 1292(b).”); Baylor v. Mitchell Rubenstein & Assocs., No.

13-1995, 2014 WL 12644263, at *2 (D.D.C. July 30, 2014) (“But




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even if the Court were able to find that substantial grounds for

difference of opinion did exist, it would nonetheless deny the

motion for certification because plaintiff has not demonstrated

that this case satisfies section 1292(b)'s third requirement:

‘that an immediate appeal from the order may materially advance

the ultimate termination of the litigation.’”) (citation

omitted).

     The President argues that the exceptional circumstances of

this case make certification for interlocutory appeal

appropriate. See Def.’s Br., ECF No. 60-1 at 10-13. But “even if

the circumstances [are] truly extraordinary . . . that would

favor certification only if all the criteria required by

§ 1292(b) are otherwise met.” District of Columbia v. Trump, 344

F. Supp. 3d 828, 842 (D. Md. 2018). As explained above, the

President has failed to meet his burden of demonstrating the

third element of the section 1292(b) test.

     The President also moves to stay proceedings: (1) while the

Court considers the section 1292(b) motions; and (2) pending

appeal if the Court grants the motions. Def.’s Suppl. Br., ECF

No. 71-1 at 25. Because the Court has denied the President’s

motions for certification, his request to stay proceedings

pending consideration of the motions and pending appeal if the

motion is granted are DENIED as MOOT.




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     Accordingly, it is hereby

     ORDERED that [60] the President’s motion for certification

for interlocutory appeal of the Court’s September 28, 2018 Order

is DENIED; and it is further

     ORDERED that [71] the President’s motion for certification

for interlocutory appeal of the Court’s April 30, 2019 Order and

for stay is DENIED.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          June 25, 2019




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Senator RICHARD BLUMENTHAL                  )
706 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
                                            )
Representative JERROLD NADLER               )
2132 Rayburn House Office Building          )    Civil Action No. 17-1154 (EGS)
Washington, D.C. 20515,                     )
                                            )
Senator RICHARD J. DURBIN                   )
711 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
                                            )
Senator PATTY MURRAY                        )
154 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
Senator ELIZABETH WARREN                    )
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309 Hart Senate Office Building
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Washington, D.C. 20510,                     )
Senator AMY KLOBUCHAR                       )
425 Dirksen Senate Office Building          )
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Washington, D.C. 20510,
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Senator BERNARD SANDERS                     )
332 Dirksen Senate Office Building          )
Washington, D.C. 20510,                     )
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Senator PATRICK LEAHY                       )
437 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
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Senator SHELDON WHITEHOUSE                  )
530 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
                                            )
Senator CHRISTOPHER A. COONS                )
218 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
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Senator MAZIE K. HIRONO
                                            )
713 Hart Senate Office Building             )
Washington, D.C. 20510,                     )



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Senator CORY A. BOOKER                      )
717 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
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Senator KAMALA D. HARRIS                    )
112 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
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Senator MICHAEL F. BENNET                   )
261 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
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Senator MARIA CANTWELL                      )
511 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
Senator BENJAMIN L. CARDIN                  )
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509 Hart Senate Office Building
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Washington, D.C. 20510,                     )
Senator TOM CARPER                          )
513 Hart Senate Office Building             )
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Washington, D.C. 20510,
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Senator CATHERINE CORTEZ MASTO              )
516 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
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Senator TAMMY DUCKWORTH                     )
524 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
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Senator KIRSTEN E. GILLIBRAND               )
478 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
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Senator MARTIN HEINRICH                     )
303 Hart Senate Office Building             )
Washington, D.C. 20510,                     )
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Senator TIM KAINE
                                            )
231 Russell Senate Office Building          )
Washington, D.C. 20510,                     )
Senator EDWARD J. MARKEY                    )
                                            )
255 Dirksen Senate Office Building
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Washington, D.C. 20510,                     )

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Senator JEFF MERKLEY                          )
313 Hart Senate Office Building               )
Washington, D.C. 20510,                       )
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Senator CHRIS MURPHY                          )
136 Hart Senate Office Building               )
Washington, D.C. 20510,                       )
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Senator JACK REED                             )
728 Hart Senate Office Building               )
Washington, D.C. 20510,                       )
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Senator BRIAN SCHATZ                          )
722 Hart Senate Office Building               )
Washington, D.C. 20510,                       )
Senator TOM UDALL                             )
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531 Hart Senate Office Building
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Washington, D.C. 20510,                       )
Senator CHRIS VAN HOLLEN                      )
110 Hart Senate Office Building               )
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Washington, D.C. 20510,
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Senator RON WYDEN                             )
221 Dirksen Senate Office Building            )
Washington, D.C. 20510,                       )
                                              )
Representative NANCY PELOSI                   )
1236 Longworth House Office Building          )
Washington, D.C. 20515,                       )
                                              )
Representative STENY H. HOYER                 )
1705 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative JAMES E. CLYBURN               )
200 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative KATHERINE CLARK
                                              )
2448 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
Representative ZOE LOFGREN                    )
                                              )
1401 Longworth House Office Building
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Washington, D.C. 20515,                       )

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Representative SHEILA JACKSON LEE           )
2079 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
                                            )
Representative STEVE COHEN                  )
2104 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
                                            )
Representative HENRY C. “HANK”              )
JOHNSON JR.                                 )
2240 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
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Representative TED DEUTCH                   )
2447 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
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Representative KAREN BASS
                                            )
2059 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
Representative CEDRIC L. RICHMOND           )
                                            )
506 Cannon House Office Building
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Washington, D.C. 20515,
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Representative HAKEEM JEFFRIES              )
2433 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
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Representative DAVID N. CICILLINE           )
2233 Rayburn House Office Building          )
Washington, D.C. 20515,                     )
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Representative ERIC SWALWELL                )
407 Cannon House Office Building            )
Washington, D.C. 20515,                     )
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Representative TED W. LIEU                  )
403 Cannon House Office Building            )
Washington, D.C. 20515,                     )
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Representative JAMIE RASKIN                 )
412 Cannon House Office Building            )
Washington, D.C. 20515,                     )
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Representative PRAMILA JAYAPAL                )
1510 Longworth House Office Building          )
Washington, D.C. 20515,                       )
                                              )
Representative VAL BUTLER DEMINGS             )
217 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative J. LUIS CORREA                 )
1039 Longworth House Office Building          )
Washington, D.C. 20515                        )
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Representative MARY GAY SCANLON               )
1535 Longworth House Office Building          )
Washington, D.C. 20515,                       )
Representative SYLVIA GARCIA                  )
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1620 Longworth House Office Building
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Washington, D.C. 20515,                       )
Representative JOE NEGUSE                     )
1419 Longworth House Office Building          )
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Washington, D.C. 20515,
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Representative GREG STANTON                   )
128 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative MADELINE DEAN                  )
129 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative DEBBIE MUCARSEL-               )
POWELL                                        )
114 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative VERONICA ESCOBAR               )
1505 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative ALMA ADAMS                     )
2436 Rayburn House Office Building            )
Washington, D.C. 20515,                       )




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Representative PETE AGUILAR                   )
109 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative NANETTE DIAZ                   )
BARRAGÁN                                      )
1030 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative JOYCE BEATTY                   )
2303 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative AMI BERA                       )
1727 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative DONALD S. BEYER, JR.
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1119 Longworth House Office Building          )
Washington, D.C. 20515,                       )
Representative SANFORD D. BISHOP JR.          )
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2407 Rayburn House Office Building
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Washington, D.C. 20515,
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Representative EARL BLUMENAUER                )
1111 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative LISA BLUNT ROCHESTER           )
1519 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative SUZANNE BONAMICI               )
2231 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative BRENDAN F. BOYLE               )
1133 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative ANTHONY BROWN                  )
1323 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative JULIA BROWNLEY                 )
2262 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative CHERI BUSTOS                   )
1233 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative G.K. BUTTERFIELD               )
2080 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative SALUD O. CARBAJAL              )
1431 Longworth House Office Building          )
Washington, D.C. 20515,                       )
Representative TONY CÁRDENAS                  )
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2438 Rayburn House Office Building
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Washington, D.C. 20515,                       )
Representative ANDRÉ CARSON                   )
2135 Rayburn House Office Building            )
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Washington, D.C. 20515,
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Representative SEAN CASTEN                    )
429 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative KATHY CASTOR                   )
2052 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative JOAQUIN CASTRO                 )
2241 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative JUDY CHU                       )
2423 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative GILBERT R. CISNEROS, JR.
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431 Cannon House Office Building              )
Washington, D.C. 20515,                       )
Representative YVETTE D. CLARKE               )
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2058 Rayburn House Office Building
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Washington, D.C. 20515,                       )

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Representative WILLIAM LACY CLAY              )
2428 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative EMANUEL CLEAVER, II            )
2335 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative GERALD E. CONNOLLY             )
2238 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative JIM COOPER                     )
1536 Longworth House Office Building          )
Washington, D.C. 20515,                       )
Representative JIM COSTA                      )
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2081 Rayburn House Office Building
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Washington, D.C. 20515,                       )
Representative JOE COURTNEY                   )
2332 Rayburn House Office Building            )
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Washington, D.C. 20515,
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Representative CHARLIE CRIST                  )
215 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative ELIJAH E. CUMMINGS             )
2163 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative DANNY K. DAVIS                 )
2159 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative SUSAN A. DAVIS                 )
1214 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative PETER DEFAZIO
                                              )
2134 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
Representative DIANA DEGETTE                  )
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2111 Rayburn House Office Building
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Washington, D.C. 20515,                       )

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Representative ROSA L. DELAURO                )
2413 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative SUZAN K. DELBENE               )
2330 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative MARK DESAULNIER                )
503 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative DEBBIE DINGELL                 )
116 Cannon House Office Building              )
Washington, D.C. 20515,                       )
Representative LLOYD DOGGETT                  )
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2307 Rayburn House Office Building
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Washington, D.C. 20515,                       )
Representative MICHAEL F. DOYLE               )
306 Cannon House Office Building              )
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Washington, D.C. 20515,
                                              )
Representative ELIOT L. ENGEL                 )
2426 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
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Representative ANNA G. ESHOO                  )
202 Cannon House Office Building              )
Washington, D.C. 20515,                       )
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Representative ADRIANO ESPAILLAT              )
1630 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative DWIGHT EVANS                   )
1105 Longworth House Office Building          )
Washington, D.C. 20515,                       )
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Representative BILL FOSTER
                                              )
2366 Rayburn House Office Building            )
Washington, D.C. 20515,                       )
Representative LOIS FRANKEL                   )
                                              )
2305 Rayburn House Office Building
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Washington, D.C. 20515,                       )

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Representative MARCIA L. FUDGE             )
2344 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative TULSI GABBARD               )
1433 Longworth House Office Building       )
Washington, D.C. 20515,                    )
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Representative RUBEN GALLEGO               )
1131 Longworth House Office Building       )
Washington, D.C. 20515,                    )
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Representative JOHN GARAMENDI              )
2368 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
Representative JESÚS G. “CHUY” GARCÍA      )
                                           )
530 Cannon House Office Building
                                           )
Washington, D.C. 20515,                    )
Representative JIMMY GOMEZ                 )
1530 Longworth House Office Building       )
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Washington, D.C. 20515,
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Representative AL GREEN                    )
2347 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative RAUL M. GRIJALVA            )
1511 Longworth House Office Building       )
Washington, D.C. 20515,                    )
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Representative DEBRA HAALAND               )
1237 Longworth House Office Building       )
Washington, D.C. 20515,                    )
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Representative JOSH HARDER                 )
131 Cannon House Office Building           )
Washington, D.C. 20515,                    )
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Representative ALCEE L. HASTINGS
                                           )
2353 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
Representative JAHANA HAYES                )
                                           )
1415 Longworth House Office Building
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Washington, D.C. 20515,                    )

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Representative DENNY HECK                  )
2452 Rayburn Office Building               )
Washington, D.C. 20515,                    )
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Representative BRIAN HIGGINS               )
2459 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative KATIE HILL                  )
1130 Longworth House Office Building       )
Washington, D.C. 20515,                    )
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Representative JAMES A. HIMES              )
1227 Longworth House Office Building       )
Washington, D.C. 20515,                    )
Representative JARED HUFFMAN               )
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1527 Longworth House Office Building
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Washington, D.C. 20515,                    )
Representative EDDIE BERNICE JOHNSON       )
2306 Rayburn House Office Building         )
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Washington, D.C. 20515,
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Representative MARCY KAPTUR                )
2186 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative WILLIAM R. KEATING          )
2351 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative ROBIN L. KELLY              )
2416 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative JOSEPH P. KENNEDY III       )
304 Cannon House Office Building           )
Washington, D.C. 20515,                    )
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Representative RO KHANNA
                                           )
221 Cannon House Office Building           )
Washington, D.C. 20515,                    )
Representative DANIEL T. KILDEE            )
                                           )
203 Cannon House Office Building
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Washington, D.C. 20515,                    )

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Representative DEREK KILMER                )
1410 Longworth House Office Building       )
Washington, D.C. 20515,                    )
                                           )
Representative ANN KIRKPATRICK             )
309 Cannon House Office Building           )
Washington, D.C. 20515,                    )
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Representative RAJA KRISHNAMOORTHI         )
115 Cannon House Office Building           )
Washington, D.C. 20515,                    )
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Representative JAMES R. LANGEVIN           )
2077 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
Representative RICK LARSEN                 )
                                           )
2113 Rayburn House Office Building
                                           )
Washington, D.C. 20515,                    )
Representative JOHN B. LARSON              )
1501 Longworth House Office Building       )
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Washington, D.C. 20515,
                                           )
Representative BRENDA L. LAWRENCE          )
2463 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative AL LAWSON                   )
1406 Longworth House Office Building       )
Washington, D.C. 20515,                    )
                                           )
Representative BARBARA LEE                 )
2470 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
                                           )
Representative ANDY LEVIN                  )
228 Cannon House Office Building           )
Washington, D.C. 20515,                    )
                                           )
Representative MIKE LEVIN
                                           )
1626 Longworth House Office Building       )
Washington, D.C. 20515,                    )
Representative JOHN LEWIS                  )
                                           )
300 Cannon House Office Building
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Washington, D.C. 20515,                    )

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Representative DAVE LOEBSACK               )
1211 Longworth House Office Building       )
Washington, D.C. 20515,                    )
                                           )
Representative ALAN LOWENTHAL              )
108 Cannon House Office Building           )
Washington, D.C. 20515,                    )
                                           )
Representative NITA M. LOWEY               )
2365 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
                                           )
Representative BEN RAY LUJÁN               )
2323 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
Representative STEPHEN LYNCH               )
                                           )
2109 Rayburn House Office Building
                                           )
Washington, D.C. 20515,                    )
Representative CAROLYN B. MALONEY          )
2308 Rayburn House Office Building         )
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Washington, D.C. 20515,
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Representative SEAN PATRICK MALONEY        )
2331 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative DORIS MATSUI                )
2311 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
                                           )
Representative BETTY MCCOLLUM              )
2256 Rayburn House Office Building         )
Washington, D.C. 20515,                    )
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Representative A. DONALD MCEACHIN          )
314 Cannon House Office Building           )
Washington, D.C. 20515,                    )
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Representative JAMES P. MCGOVERN
                                           )
408 Cannon House Office Building           )
Washington, D.C. 20515,                    )
Representative ANN MCLANE KUSTER           )
                                           )
320 Cannon House Office Building
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Washington, D.C. 20515,                    )

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Representative GREGORY W. MEEKS            )
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Representative PETER WELCH                        )
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1217 Longworth House Office Building              )
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                                                  )
Representative JOHN YARMUTH
                                                  )
402 Cannon House Office Building
                                                  )
Washington, D.C. 20515,
                                                  )
                          Plaintiffs,             )
                                                  )
               v.
                                                  )
DONALD J. TRUMP, in his official capacity         )
as President of the United States of America      )
1600 Pennsylvania Avenue, N.W.                    )
Washington, D.C. 20500,                           )
                                                  )
                     Defendant.                   )
_____________________________________

                             SECOND AMENDED COMPLAINT

       Senator Richard Blumenthal and Representative Jerrold Nadler, along with 213 other

members of Congress, for their complaint against Donald J. Trump, in his official capacity as

President of the United States of America, allege as follows:

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                                                   I.
                                             INTRODUCTION

       1.        Plaintiffs, 29 members of the United States Senate and 186 members of the

United States House of Representatives, bring this action against President Donald J. Trump to

obtain relief from the President’s continuing violation of the Foreign Emoluments Clause of the

United States Constitution, which was designed to ensure that our nation’s leaders would not be

corrupted by foreign influence or put their own financial interests over the national interest. To

achieve those aims, the Clause provides that “no Person holding any Office of Profit or Trust

under [the United States], shall, without the Consent of the Congress, accept of any present,

Emolument, Office, or Title, of any kind whatever, from any King, Prince, or foreign State.”1

Through this measure, the nation’s Founders invested members of Congress with an important

role in preventing the corruption and foreign influence that the Founders sought to avoid—

permitting federal officeholders to accept otherwise prohibited “Emolument[s]” only if they first

received “the Consent of the Congress.”

       2.        Defendant, President Donald J. Trump, has a financial interest in vast business

holdings around the world that engage in dealings with foreign governments and receive benefits

from those governments.          By virtue of that financial interest, Defendant has accepted, or

necessarily will accept, “Emolument[s]” from “foreign State[s]” while holding the office of

President of the United States.

       3.        Because the Foreign Emoluments Clause requires the President to obtain “the

Consent of the Congress” before accepting otherwise prohibited “Emolument[s],” Plaintiffs, as

members of Congress, must have the opportunity to cast a binding vote that gives or withholds

their “Consent” before the President accepts any such “Emolument.”

       1
           U.S. Const. art. I, § 9, cl. 8.

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       4.      Despite this constitutional mandate, Defendant has chosen to accept numerous

benefits from foreign states without first seeking or obtaining congressional approval. Indeed, he

has taken the position that the Foreign Emoluments Clause does not require him to obtain such

approval before accepting benefits arising out of exchanges between foreign states and his

businesses. Because Defendant has failed to come to Congress and seek its consent for at least

some foreign emoluments that have been the subject of public reporting, it is impossible to know

whether Defendant has also accepted, or plans to accept, other foreign emoluments that have not

yet been made public. By accepting these benefits from foreign states without first seeking or

obtaining congressional approval, Defendant has thwarted the transparency that the “Consent of

the Congress” provision was designed to provide.

       5.      Moreover, by accepting these benefits from foreign states without first seeking or

obtaining congressional approval, Defendant has also denied Plaintiffs the opportunity to give or

withhold their “Consent” to his acceptance of individual emoluments and has injured them in

their roles as members of Congress.

       6.      To redress that injury, Plaintiffs seek declaratory relief establishing that

Defendant violates the Constitution when he accepts any monetary or nonmonetary benefit—any

“present, Emolument, Office, or Title, of any kind whatever”—from a foreign state without first

obtaining “the Consent of the Congress.”        Plaintiffs also seek injunctive relief ordering

Defendant not to accept any such benefits from a foreign state without first obtaining “the

Consent of the Congress.”

                                         II.
                         PARTIES, JURISDICTION, AND VENUE

       7.      Richard Blumenthal is a United States Senator who represents the state of

Connecticut. Senator Blumenthal is the Ranking Member of the Subcommittee on Oversight,

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Agency Action, Federal Rights and Federal Courts of the Senate Judiciary Committee.

       8.      Jerrold Nadler is a United States Representative who represents New York’s 10th

congressional district. Representative Nadler is the Chairman of the House Judiciary Committee.

       9.      Additional plaintiffs are the other 28 members of the United States Senate and

185 members of the United States House of Representatives whose names appear in the caption

of this Complaint.

       10.     As members of Congress, Plaintiffs have been entrusted by the Constitution with

the important role of determining when the President and other individuals who hold an “Office

of Profit or Trust” under the United States may accept “Emolument[s]” from “foreign States.”

By empowering members of Congress with this important gatekeeping role, the Founders

provided a mechanism by which federal officeholders could accept benefits from foreign

governments in appropriate circumstances while still maintaining a structural safeguard against

corruption and foreign influence.

       11.     Defendant Donald J. Trump is the President of the United States of America and

thus holds an “Office of Profit or Trust” under the United States. He is being sued in his official

capacity as President of the United States.

       12.     This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 2201.

       13.     Venue is proper in this Court under 28 U.S.C. § 1391(e)(1). Defendant is “an

officer . . . of the United States . . . acting in his official capacity or under color of legal

authority,” and the District of Columbia is a “judicial district” in which the “defendant in the

action resides,” in which “a substantial part of the events or omissions giving rise to the claim

occurred,” and in which “a substantial part of property that is the subject of the action is

situated.” For example, Trump International Hotel Washington, D.C., which is central to some



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of Plaintiffs’ allegations, is located in this district.

                                                III.
                                            BACKGROUND

          14.       Article I, Section 9, Clause 8 of the U.S. Constitution provides: “No Title of

Nobility shall be granted by the United States: And no Person holding any Office of Profit or

Trust under them, shall, without the Consent of the Congress, accept of any present, Emolument,

Office, or Title, of any kind whatever, from any King, Prince, or foreign State.” Commonly

known as the “Foreign Emoluments Clause,” this provision reflects the Founders’ deep concern

that corruption and foreign influence could undermine the new republic and harm the American

people.

          15.       Because the Founders believed that corruption was one of the gravest threats to

the new nation, they viewed anti-corruption measures as essential to preserving an enduring

republican system of government.            As George Mason warned his fellow delegates at the

Constitutional Convention, “if we do not provide against corruption, our government will soon

be at an end.”2 Thus, in drafting the Constitution, the Founders sought to ensure that “corruption

was more effectually guarded against, in the manner this government was constituted, than in

any other that had ever been formed.”3 Alexander Hamilton explained that “[n]othing was more

to be desired than that every practicable obstacle should be opposed to cabal, intrigue, and

corruption.”4

          16.       This preoccupation with stemming corruption, born of the Founders’ experience


          2
         1 The Records of the Federal Convention of 1787, at 392 (Max Farrand ed., 1911)
[hereinafter “Convention Records”].
          3
        4 Debates in the Several State Conventions on the Adoption of the Federal Constitution
302 (Jonathan Elliot ed., 1836) [hereinafter “Elliot’s Debates”] (Charles Cotesworth Pinckney).
          4
              The Federalist No. 68, at 411 (Clinton Rossiter ed., Signet Classics 2003).

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under British rule, pervaded the debates at the Constitutional Convention. According to James

Madison’s notes of the Convention, fifteen delegates used the word “corruption” no fewer than

fifty-four times,5 and corruption was a topic of discussion on almost a quarter of the days that the

Convention was in session.6 The Founders wanted to ensure that in the United States, unlike in

Britain, the nation’s leaders would be dependent on the people alone—not on those who would

give them financial benefits—and would be motivated solely by the national interest, not their

own personal interests. To promote that goal, the Founders included in the nation’s new charter

a number of safeguards against corruption. These safeguards took the form of “procedural

devices and organizational arrangements” meant to ward off “dependency, cabals, patronage,

unwarranted influence, and bribery.”7

       17.       The Founders were also deeply worried that foreign powers would interfere with

America’s internal affairs, undermining the nation’s republican institutions and making its

leaders subservient to foreign interests. Alexander Hamilton wrote that one of the vulnerabilities

of republics “is that they afford too easy an inlet to foreign corruption.”8             During the

Constitutional Convention, Elbridge Gerry warned that “[f]oreign powers will intermeddle in our

affairs, and spare no expence to influence them,”9 while Gouverneur Morris invoked “the

melancholy picture of foreign intrusions as exhibited in the History of Germany,” and “urged it


       5
        James D. Savage, Corruption and Virtue at the Constitutional Convention, 56 J. Pol.
174, 181 (1994).
       6
           Zephyr Teachout, The Anti-Corruption Principle, 94 Cornell L. Rev. 341, 352 (2009).
       7
         Savage, supra note 5, at 181; see id. at 177-82 (describing how fear of corruption
influenced the structure of the electoral college, Congress’s power to impeach, the prohibition on
members of Congress holding other offices, and the prohibition on acceptance of foreign
emoluments).
       8
           The Federalist No. 22, at 145 (Clinton Rossiter ed., Signet Classics 2003).
       9
           2 Convention Records 268 (Gerry).

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as a standing lesson to other nations.”10

       18.       Of particular concern to the Founders was the risk that foreign states would give

benefits and rewards to the nation’s chief executive to subvert his loyalty. As Hamilton noted,

the personal interest of a hereditary monarch was “so interwoven with that of the Nation . . . that

he was placed above the danger of being corrupted from abroad.”11 By contrast, as Madison

observed, an elected President would lack “that permanent stake in the public interest which

would place him out of the reach of foreign corruption.”12          During the state debates over

ratification of the Constitution, former delegate Charles Cotesworth Pinckney similarly

explained that while “kings are less liable to foreign bribery and corruption . . . because no bribe

that could be given them could compensate the loss they must necessarily sustain for injuring

their dominions . . . . the situation of a President would be very different.” As a temporary

officeholder, the President “might receive a bribe which would enable him to live in greater

splendor in another country than his own; and when out of office, he was no more interested in

the prosperity of his country than any other patriotic citizen.”13      This threat prompted the

Founders to reject entrusting the treaty power solely to the President—susceptible as he was to

foreign influence—and instead to require Senate approval, among other precautions.14

       19.       As the Founders saw it, the dangers of corruption and foreign influence were

joined together in the contemporary European practice of diplomatic gift-giving. Eighteenth-

century ambassadors and ministers were typically bestowed lavish presents by the monarchs with


       10
            1 Convention Records 530 (Morris).
       11
            Id. at 289 (Hamilton).
       12
            Id. at 138 (Madison).
       13
            4 Elliot’s Debates 264 (Charles Cotesworth Pinckney).
       14
            See id. at 264-65.

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whom they dealt, often consisting of “jewels, plate, tapestry, or porcelain, or sometimes of

money.”15 The “usual presents from the European Courts” varied by country, and “in Holland, it

was customary to give a gold chain and medal; in France, a gold snuff-box; and in Spain, a

picture.”16 America’s Founders, however, made a clean break from such customs as soon as they

established their own national government under the Articles of Confederation, prohibiting “any

person holding any office of profit or trust under the United States, or any of them” from

“accept[ing] any present, emolument, office, or title of any kind whatever, from any king, prince,

or foreign state.”17 Emphatically rejecting the custom of foreign gift acceptance, the Founders

sought to cultivate undivided loyalty on the part of American officeholders. Absolute in its

language, there was, in practice, only one exception to the ban: an officeholder could accept a

foreign benefit if it was presented to Congress and if Congress approved of its receipt.18

       20.       This restriction on accepting foreign emoluments was one of the few measures to

be transferred from the Articles of Confederation to the new Constitution in 1787, reflecting its

importance to the Founding generation. At Philadelphia, the Foreign Emoluments Clause was

added to the draft of the new Constitution by unanimous agreement of the state delegations after

Charles Pinckney “urged the necessity of preserving foreign Ministers & other officers of the

U.S. independent of external influence.”19 In adding that Clause, the Founders largely borrowed


       15
         4 John Bassett Moore, A Digest of International Law 578 (1906) (quoting Letter from
William Temple Franklin to Thomas Jefferson (Apr. 27, 1790)).
       16
            5 Annals of Cong. 1589 (1798) (Joseph Gales ed., 1834) (Bayard).
       17
            Articles of Confederation of 1781, art. VI, para. 1.
       18
         See Applicability of Emoluments Clause to Employment of Government Employees by
Foreign Public Universities, 18 Op. O.L.C. 13, 16 n.4 (1994) (citing instances under the Articles
in which Congress consented to American officials’ acceptance of gifts from foreign monarchs);
5 Annals of Cong. 1585 (1798) (Otis) (citing officials who were offered gifts from foreign
governments and presented those gifts to Congress for approval).
       19
            2 Convention Records 389; see id. at 384.

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the language of the precursor provision in the Articles of Confederation, but they made one

important change: they “institutionalized the practice” that federal officeholders could accept

otherwise prohibited emoluments from foreign states if they first obtained the consent of

Congress.20

           21.       During ratification, Edmund Jennings Randolph emphasized the twin evils that

the Clause was meant to avert, explaining that “[i]t was thought proper, in order to exclude

corruption and foreign influence, to prohibit any one in office from receiving or holding any

emoluments from foreign states.”21 A prominent contemporary pamphleteer urging ratification

stressed the value of the Clause in similar terms: “The influence which foreign powers may

attempt to exercise in our affairs was foreseen, and a wholesome provision has been made

against it.”22 In sum, the Clause was “founded in a just jealousy of foreign influence of every

sort.”23

           22.       Because the Founders wanted to eliminate “foreign influence of every sort,” they

drafted the Clause with language “both sweeping and unqualified,”24 “prohibit[ing] those holding

offices of profit or trust under the United States from accepting ‘any present, Emolument,




           20
         See Emoluments Clause, The Heritage Guide to the Constitution,
http://www.heritage.org/constitution/#!/articles/1/essays/68/emoluments-clause (last visited June
12, 2017).
           21
                3 Convention Records 327.
           22
         Tench Coxe, An Examination of the Constitution for the United States of America,
No. 4 (Oct. 21, 1787), in The Federalist and Other Contemporary Papers on the Constitution of
the United States 769 (E.H. Scott ed., 1894).
           23
                Joseph Story, Commentaries on the Constitution of the United States § 1352 (5th ed.
1891).
           24
         Applicability of Emoluments Clause to Employment of Government Employees by
Foreign Public Universities, 18 Op. O.L.C. at 17.

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Office, or Title, of any kind whatever’ from ‘any . . . foreign State’ unless Congress consents.”25

Consistent with that broad language, the Clause has been understood to be “‘directed against

every kind of influence by foreign governments upon officers of the United States,’ in the

absence of consent by Congress.”26

       23.       Notably, the word “emolument” was defined broadly in the eighteenth century to

mean “profit,” “advantage,” “benefit,” and “comfort.”27 Contemporary writers used the term to

refer, among other things, to profits accruing from private commerce.28 Founding-era statesmen

including George Washington and James Madison likewise used the term when referring to “the

consequences of ordinary business dealings.”29 And Governor Randolph’s comments at the

Virginia Ratifying Convention, specifically addressing the Foreign Emoluments Clause,




       25
            Id. (quoting U.S. Const., art. I, § 9, cl. 8 (emphasis added by Office of Legal Counsel)).
       26
        Application of Emoluments Clause to Part-Time Consultant for the Nuclear Regulatory
Commission, 10 Op. O.L.C. 96, 98 (1986) (quoting 24 Op. Att’y Gen. 116, 117 (1902)).
       27
          Oxford English Dictionary (2d ed. 1989) (citing eighteenth-century texts for definition
of “emolument” meaning “Advantage, benefit, comfort”); Samuel Johnson, A Dictionary of the
English Language (1755) (defining “emolument” as “Profit; advantage”); see, e.g., Jonathan
Swift, The Tale of a Tub 91 (Henry Morley ed., 1889) (1704) (“And so I proceed with great
content of mind upon reflecting how much emolument this whole globe of earth is like to reap by
my labours.”).
       28
          See, e.g., Samuel Johnson, Taxation No Tyranny: An Answer to the Resolutions and
Address of the American Congress 9 (1775) (“A merchant’s desire is not of glory, but of gain;
not of publick wealth, but of private emolument; he is, therefore, rarely to be consulted about
war and peace, or any designs of wide extent and distant consequence.”).
       29
          John Mikhail, A Note on the Original Meaning of “Emolument,” Balkinization (Jan.
18, 2017), https://balkin.blogspot.com/2017/01/a-note-on-original-meaning-of-emolument.html
(citing examples); see John Mikhail, The Definition of ‘Emolument’ in English Language and
Legal Dictionaries, 1523–1806 (July 13, 2017),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2995693 (concluding that “‘emolument’
was not a term of art at the founding with a highly restricted meaning” but rather was used in a
“broad variety of contexts, including private commercial transactions”).

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reflected this broad definition as well.30

       24.     Thus, it has long been understood by Congress and the executive branch that the

Foreign Emoluments Clause applies to the acceptance of any benefits or advantages from foreign

states—including compensation for services rendered in a private capacity.         Benefits and

advantages that have been viewed as falling within the scope of the Clause include the following:

               a. A NASA employee’s receipt of a $150 consulting fee for reviewing a Ph.D.

                   thesis.31

               b. Payments to a Nuclear Regulatory Commission employee by an American

                   consulting firm for work regarding the construction of a Mexican government

                   power plant.32

               c. Payments to a part-time Nuclear Regulatory Commission staff consultant by

                   an American corporation for work on a contract with the government of

                   Taiwan.33

               d. Payments to members of the Administrative Conference of the United States,

                   by those members’ law firms, of “a share of partnership earnings, where some

                   portion of that share is derived from the partnership’s representation of a



       30
          Randolph observed in his comments that “[a]ll men have a natural inherent right of
receiving emoluments from any one, unless they be restrained by the regulations of the
community.” 3 Convention Records 327.
       31
         Samuel A. Alito, Jr., Deputy Assistant Attorney General, Office of Legal Counsel,
Memorandum for H. Gerald Staub, Office of Chief Counsel, NASA, Re: Emoluments Clause
Questions raised by NASA Scientist’s Proposed Consulting Arrangement with the University of
New South Wales 2-3 (May 23, 1986).
       32
         Application of the Emoluments Clause of the Constitution and the Foreign Gifts and
Decorations Act, 6 Op. O.L.C. 156, 156 (1982).
       33
        Application of Emoluments Clause to Part-Time Consultant for the Nuclear Regulatory
Commission, 10 Op. O.L.C. at 96.

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                  foreign government.”34

              e. A retired U.S. Air Force member’s employment “as a teacher in a local

                  borough high school in the United Kingdom.”35

              f. A courthouse employee’s “receipt of pension payments from the British

                  Government.”36

              g. A Post Office clerk’s acceptance of an honorary military insignia from the

                  German government.37

              h. A gift of photographs to U.S. military and civilian officers by a foreign prince

                  as “a simple remembrance of courtesy.”38

              i. A Navy surgeon’s receipt of a “token of thankfulness” from a foreign

                  government for his services on behalf of one of its citizens.39

       25.    As these examples illustrate, the Clause has long been understood to apply to any

rewards or benefits given by foreign states—whether tangible or honorary, monetary or

nonmonetary, of great value or slight. This interpretation prevents officeholders from accepting

anything from a foreign state that might weaken their independence or cause them to act against

       34
         Applicability of the Emoluments Clause to Non-Government Members of ACUS, 17 Op.
O.L.C. 114, 120 (1993).
       35
        Comptroller General, Matter of: Major James D. Dunn & Senior Master Sergeant
Marcus A. Jenkins, B-251084 (Oct. 12, 1993).
       36
       Comptroller General, Officers and Employees—Acceptance of Foreign Presents,
Emoluments, Etc.—Court Employees, B-132808 (Aug. 26, 1957).
       37
         Delivery of an Insignia from the German Emperor to a Clerk in the Post-Office Dep’t,
27 Op. Att’y Gen. 219, 220 (1909).
       38
          Gifts from Foreign Prince—Officer—Constitutional Prohibition, 24 Op. Att’y Gen.
116, 118 (1902).
       39
         A Resolution allowing Doctor E.K. Kane, and the Officers associated with him in their
late Expedition to the Arctic seas, in search of Sir John Franklin, to accept such Token of
Acknowledgment from the Government of Great Britain as it may please to present, Aug. 30,
1856, 11 Stat. 152.

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the national interest—a danger the Founders perceived even in the “trifling presents” 40 of

ornament and jewelry that were customary of European diplomacy and that motivated the

adoption of the Clause.41

       26.       By entrusting Congress with responsibility for deciding which specific benefits

could be received from foreign states, the Founders ensured that federal officeholders would not

decide for themselves whether particular emoluments were likely to compromise their own

independence or lead them to put personal interest over national interest. An officeholder, in

short, would not be the sole judge of his own integrity. The important separation-of-powers

principle embodied in Congress’s gatekeeping role also ensured that any acceptance of foreign

“Emolument[s]” would be transparent and subject to public examination, further minimizing the

dangers of corruption and influence that such transfers of wealth or benefit might otherwise pose.

       27.       When Congress was first called upon to exercise this responsibility in 1798,42

lawmakers reaffirmed the views expressed a decade earlier during the Constitution’s ratification

about the dangers of foreign manipulation and the importance of the Foreign Emoluments Clause

in guarding against it. Representative William C.C. Claiborne described the Clause as “intended

to lock up every door to foreign influence, to the influence of Courts and Monarchies, which

could not but prove baneful to every free country.”43 Representative James Bayard noted that

“[i]f presents were allowed to be received without number, and privately, they might produce an

       40
            5 Annals of Cong. 1587 (1798) (Bayard).
       41
            See supra, ¶¶ 19-20.
       42
          Former envoy Thomas Pinckney was offered “the customary presents” by the kings of
England and Spain, but “declined receiving them, saying, that he would lay the matter before
Congress.” 5 Annals of Cong. 1590 (1798) (Rutledge). The Senate authorized acceptance of the
presents, but the House withheld its consent, see id. at 1570-93, subsequently passing a
resolution to clarify that the Congressmen “were induced to such refusal solely by motives of
general policy, and not by any view personal to the said Thomas Pinckney,” id. at 1775.
       43
            5 Annals of Cong. 1584 (1798) (Claiborne); see id. at 1587.

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improper effect, by seducing men from an honest attachment for their country, in favor of that

which was loading them with favors.”44 Representative Matthew Lyon expressed a refusal to

consent to the acceptance of any foreign emoluments, as “he should not be willing to lay this

country under an obligation to a foreign country by our Ministers accepting presents.”45

       28.       At the same time, lawmakers stressed that the dangers of foreign influence and

divided loyalty were reduced when officeholders obeyed the Constitution’s mandate by seeking

the consent of Congress before accepting any foreign benefit.           As Representative Bayard

explained, the Clause required officeholders “to make known to the world whatever presents

they might receive from foreign Courts and to place themselves in such a situation as to make it

impossible for them to be unduly influenced by any such presents.”46 Representative Harrison

Gray Otis likewise noted: “When every present to be received must be laid before Congress, no

fear need be apprehended from the effects of any such presents. For, it must be presumed, that

the gentleman who makes the application has done his duty, as he, at the moment he makes the

application, comes before his country to be judged.”47

       29.       In short, as Secretary of State Madison explained in 1803, “the Constitution of the

United States has left with Congress the exclusive authority to permit the acceptance of presents

from foreign governments by persons holding offices under the United States.” 48 In order “to

exclude corruption and foreign influence,”49 an officeholder must “make known to the world”50


       44
            Id. at 1583 (Bayard).
       45
            Id. at 1589 (Lyon).
       46
            Id. at 1583 (Bayard).
       47
            Id. at 1585 (Otis).
       48
          Letter from James Madison to David Humphreys (Jan. 5, 1803), in 4 Moore, supra
note 15, at 579.
       49
            3 Convention Records 327 (Randolph).

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any benefit he wishes to accept from a foreign state and “come before his country to be judged”51

by seeking “the Consent of the Congress.”52

       30.       By extending the reach of these important rules to everyone who holds “any

Office of Profit or Trust” under the United States, the Founders ensured that the Foreign

Emoluments Clause would apply to all federal officeholders and thus guard against corruption in

the highest reaches of the new nation’s government.53 Such officeholders naturally included the

President of the United States. As Randolph explained at the Virginia Ratifying Convention,

“[t]here is another provision against the danger . . . of the president receiving emoluments from

foreign powers. . . . I consider, therefore, that he is restrained from receiving any present or

emoluments whatever. It is impossible to guard better against corruption.”54 And as noted, the

Founders were especially afraid that foreign nations would use favors to subvert the loyalty of

the President.55

       31.       Historically, presidents have respected their obligations under the Foreign

Emoluments Clause and have declined to accept presents or emoluments from foreign states

without obtaining the consent of Congress:

                 a. President Andrew Jackson transmitted to Congress in 1830 a commemorative

                      gold medal that Colombia’s president Simón Bolívar had presented to him.


       50
            5 Annals of Cong. 1583 (1798) (Bayard).
       51
            Id. at 1585 (Otis).
       52
            U.S. Const. art. I, § 9, cl. 8.
       53
           Emoluments Clause, The Heritage Guide to the Constitution, supra note 20 (“the
clause was directed not merely at American diplomats serving abroad, but more generally at
officials throughout the federal government”).
       54
          David Robertson, Debates and other Proceedings of the Convention of Virginia 345
(2d ed. 1805) (1788).
       55
            See supra, ¶ 18.

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                    Congress directed that the medal be “deposited in the Department of State.”56

                 b. President Martin Van Buren in 1840 was offered two horses, a case of rose

                    oil, five bottles of rose water, a package of cashmere shawls, a Persian rug, a

                    box of pearls, and a sword by the Imam of Muscat.57 Writing to the Imam,

                    Van Buren explained that “a fundamental law of the Republic which forbids

                    its servants from accepting presents from foreign States or Princes, precludes

                    me from receiving” the items.58 Van Buren then apprised Congress of the

                    gifts: “I deem it my duty to lay the proposition before Congress, for such

                    disposition as they may think fit to make of it.”59 Congress directed him to

                    deposit the items with the State Department, selling any items that could not

                    “conveniently be deposited or kept” there and placing the proceeds with the

                    U.S. Treasury.60

                 c. President John Tyler in 1843 was offered two horses by the Imam of Muscat.

                    He notified Congress, seeking direction regarding the disposition of the

                    gifts.61 Congress directed Tyler to sell the horses at auction and place the




       56
           See Message from the President of the United States, at 3 (Jan. 22, 1834), in Message
from the President of the United States to the Two Houses of Congress at the Commencement of
the First Session of the Twenty-Third Congress, at 259 (1833).
       57
         14 Abridgment of the Debates of Congress from 1789 to 1856, at 140-41 (Thomas Hart
Benton ed., 1860).
       58
        Id. at 141 (reprinting Letter from Martin Van Buren to Syed Bin Sutan, Imaum of
Muscat (May 8, 1840)).
       59
            Id. at 140 (reprinting Letter from Martin Van Buren to the Senate (May 21, 1840)).
       60
          Joint Resolution No. 4, A Resolution to authorize the President to dispose of certain
presents from the Imaum of Muscat and the Emperor of Morocco, July 20, 1840, 5 Stat. 409.
       61
            4 Moore, supra note 15, at 582.

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                     proceeds with the U.S. Treasury.62

                  d. President Abraham Lincoln wrote to the King of Siam in 1862 regarding gifts

                     that the King had sent to the President—two decorative elephant tusks, an

                     ornate sword, and a photograph of the King. Lincoln wrote that “our laws

                     forbid the President from receiving these rich presents as personal

                     treasures. . . . Congress being now in session at this capital, I have had great

                     pleasure in making known to them this manifestation of Your Majesty’s

                     munificence and kind consideration.”63 Congress directed that the items be

                     deposited with the Department of the Interior.64

                  e. President Benjamin Harrison had “certain medals presented to him by the

                     Governments of Brazil and Spain during the term of his service as President

                     of the United States.”65    In 1896, Congress authorized him to personally

                     accept the medals.66

                  f. President John F. Kennedy was offered honorary Irish citizenship in 1963 by

                     the government of Ireland.        The White House sought the views of the

                     Department of Justice’s Office of Legal Counsel, which advised that




       62
          An Act to authorize the sale of two Arabian horses, received as a present by the Consul
of the United States at Zanzibar, from the Imaum of Muscat, Mar. 1, 1845, 5 Stat. 730.
       63
          Letter from Abraham Lincoln, President of the United States of America, to His
Majesty Somdetch Phra Paramendr Maha Mongut, King of Siam (Feb. 3, 1862), available at
http://quod.lib.umich.edu/l/lincoln/lincoln5/1:269.1?rgn=div2;view=fulltext.
       64
         Joint Resolution No. 20, A Resolution providing for the Custody of the Letter and Gifts
from the King of Siam, Mar. 15, 1862, 12 Stat. 616.
       65
         Joint Resolution No. 39, Joint Resolution to authorize Benjamin Harrison to accept
certain medals presented to him while President of the United States, Apr. 2, 1896, 29 Stat. 759.
       66
            Id.

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                  acceptance would implicate the Foreign Emoluments Clause.67            Kennedy

                  declined to accept the honor.68

               g. President Barack Obama was named the winner of the Nobel Peace Prize in

                  2009. The White House sought the views of the Office of Legal Counsel,

                  which advised that acceptance of the prize would not fall within the Foreign

                  Emoluments Clause because the Nobel Committee that awards the prize is not

                  a foreign state or controlled by a foreign state.69

       32.     In sum, past presidents have recognized that they are bound by the Foreign

Emoluments Clause and have responded accordingly—either seeking Congress’s consent to

accept foreign emoluments or simply choosing not to receive them.

       33.     Although Defendant Donald J. Trump has accepted the privilege of occupying the

highest office in the land, he is not obeying the same rules as the federal officers and employees

described above or following the example of compliance set by former presidents. He has

refused to divest from his businesses and instead continues to accept financial payments and

other benefits from foreign states through his many business entities without first obtaining the

consent of Congress.




       67
         Norbert A. Schlei, Office of Legal Counsel, Proposal That the President Accept
Honorary Irish Citizenship: Memorandum Opinion for the Special Assistant to the President 278
(May 10, 1963).
       68
          See Clodagh Sheehy, JFK Had To Turn Down Citizenship Offer From Government,
Irish Indep. (Dec. 29, 2006), http://www.independent.ie/irish-news/jfk-had-to-turn-down-
citizenship-offer-from-government-26352995.html.
       69
          Applicability of the Emoluments Clause and the Foreign Gifts and Decorations Act to
the President’s Receipt of the Nobel Peace Prize, 33 Op. O.L.C. 1, 1 (2009).

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                                             IV.
                                       RELEVANT FACTS

       A.      Defendant’s Acceptance of Benefits from Foreign States

       34.     Defendant is the owner, in whole or in part, of hundreds of businesses, which are

“linked in a complex network of interconnected individual corporations, limited liability

companies and partnerships. The list includes more than 500 separate entities—hotels, golf

courses, media properties, books, management companies, residential and commercial buildings,

. . . airplanes and a profusion of shell companies set up to capitalize on licensing deals.”70 These

business interests are located in the United States and in at least twenty foreign countries.71

       35.     While it is well known that Defendant’s business empire is vast and global, the

exact nature of his holdings and the benefits he receives from them remain unclear. Defendant

has refused to release his tax returns, and the complicated interconnection between the hundreds

of discrete business entities and shell companies in which he owns an interest makes it

impossible to determine the full scope of the benefits he is currently accepting from foreign

states. Contributing to the lack of transparency, “[o]ver the last 12 months, about 70% of buyers

of Trump properties were limited liability companies—corporate entities that allow people to

purchase property without revealing all of the owners’ names.”72


       70
           John W. Schoen, Inside Trump’s Holdings: A Web of Potential Conflicts, CNBC.com
(Jan. 23, 2017), http://www.cnbc.com/2017/01/19/inside-trumps-holdings-a-web-of-potential-
conflicts.html.
       71
          Marilyn Geewax, Trump’s Businesses and Potential Conflicts: Sorting It Out, NPR
(Dec. 5, 2016), http://www.npr.org/2016/12/05/503611249/trumps-businesses-and-potential-
conflicts-sorting-it-out; see Donald J. Trump, U.S. Office of Gov’t Ethics Form 278e (May 16,
2016), available at https://www.documentcloud.org/documents/2838696-Trump-2016-Financial-
Disclosure.html.
       72
        Nick Penzenstadler et al., Most Trump Real Estate Now Sold to Secretive Buyers,
USAToday (June 13, 2017), https://www.usatoday.com/story/news/2017/06/13/trump-property-
buyers-make-clear-shift-secretive-llcs/102399558/?siteID=je6NUbpObpQ-
p94xNqqEtnpXcOmZy086bA.

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       36.       Defendant has not divested or otherwise given up his ownership interest in his

worldwide business holdings since he was elected President of the United States.

       37.       Defendant has acknowledged, through his personal attorney, that his businesses

receive funds and make a profit from payments by foreign governments, and that they will

continue to do so while he is President.73 Further, public reporting has confirmed that Defendant

and his businesses have accepted benefits from foreign states since he took office.74

       38.       These various benefits from foreign governments—payments, loans, permits,

exemptions,      policy   changes,   and   intellectual   property   rights—constitute   prohibited

“Emolument[s]” and/or “present[s]” under the Foreign Emoluments Clause (hereinafter referred

to collectively as “Emolument[s]” or “foreign emoluments”).75

       39.       Defendant has not sought “the Consent of the Congress” with respect to any of the

benefits that he has accepted, or will accept, from foreign states in conjunction with his business

holdings.

       40.       Because Defendant has failed to come to Congress and seek consent before

accepting foreign emoluments that have been confirmed through public reporting, it is

impossible to know whether Defendant is accepting other foreign emoluments that have not yet


       73
          See Donald Trump’s News Conference: Full Transcript and Video, N.Y. Times (Jan.
11, 2017) (statement of Sheri A. Dillon, Partner, Morgan, Lewis & Bockius LLP),
https://www.nytimes.com/2017/01/11/us/politics/trump-press-conference-transcript.html.
       74
            See infra, ¶¶ 44-67.
       75
          Historically, certain awards and benefits from foreign states have been understood by
Congress and the executive branch to be prohibited by the Clause without a determination of
which specific term or terms they implicate. See, e.g., Schlei, supra note 67, at 280 (“medals and
decorations have always been regarded as coming within the constitutional provision, although it
has never been precisely articulated whether one of these constitutes a ‘present, Emolument,
Office, or Title’”). Whether any of the benefits discussed below are better characterized as
“present[s]” or “Emolument[s]” may depend on their terms and the circumstances under which
they are conferred—information that Defendant has not fully disclosed.

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been made public. Indeed, through his personal attorney, Defendant has indicated that he does

not believe the Constitution requires him to seek or obtain Congress’s consent before accepting

benefits arising out of exchanges between foreign states and his businesses.76

       41.     Because Defendant has not sought congressional consent before accepting these

foreign emoluments, nor provided information about them to Congress, Plaintiffs are unable to

exercise their constitutional prerogative to authorize or reject the specific emoluments he is

accepting. While some information about Defendant’s financial dealings with foreign states is

publicly available in press reports and financial disclosures, that information is fragmentary.

Even where reliable sources confirm specific transactions between foreign states and

Defendant’s businesses, the complex structure of those transactions and Defendant’s financial

holdings makes it impossible to determine precisely how a given arrangement benefits him or

affects the foreign state in question.77 Without that information, Plaintiffs cannot judge whether

they should consent to the acceptance of any particular payment or other benefit from a foreign

state, as the Constitution requires.

       42.     In sum, Defendant’s refusal to disclose to Congress the foreign emoluments he

wishes to accept makes it impossible for Plaintiffs to judge whether any specific foreign

emoluments should be approved, and often to know of their existence. Defendant has therefore

denied Plaintiffs the opportunity to decide, on a case-by-case basis, whether to authorize his

acceptance of particular emoluments from foreign states. The Constitution expressly demands

that Plaintiffs be given that opportunity.


       76
         See, e.g., Donald Trump’s News Conference: Full Transcript and Video, supra note 73
(statement of Sheri A. Dillon) (“The Constitution does not require [Defendant] to do anything
here.”).
       77
          See Susanne Craig, Trump’s Empire: A Maze of Debts and Opaque Ties, N.Y. Times
(Aug. 20, 2016), https://www.nytimes.com/2016/08/21/us/politics/donald-trump-debt.html?_r=0.

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       43.     By accepting benefits from foreign states without first obtaining “the Consent of

the Congress,” Defendant is therefore committing numerous violations of the Foreign

Emoluments Clause. Some of these violations have been partially described in media reports

and other publicly available sources, as detailed below. But because Defendant refuses to come

to Congress and seek consent, thereby preventing the transparency that “the Consent of the

Congress” was designed to provide, other violations, upon information and belief, remain

completely hidden.

               Acceptance of Intellectual Property Rights

       44.     On February 14, 2017, the Chinese government registered a trademark to

Defendant for branded construction services, “the result of a 10-year legal battle that turned in

[Defendant]’s favor after he declared his candidacy.”78

       45.     On February 27 and March 6, 2017, the Chinese government granted preliminary

approval of 38 new trademarks to Defendant and one of his companies, covering “branded spa

and massage services, golf clubs, hotels, insurance, finance and real estate companies,

restaurants, bars, and a trademark class that covers bodyguards, social escorts, and concierge

services.”79

       46.     In May 2017, the Chinese government granted Defendant preliminary approval of

two more trademarks, one for catering services and one that “can be used in clothing like

trousers, underwear and suits.”80


       78
          Erika Kinetz, China Grants Preliminary Approval to 38 New Trump Trademarks, AP
(Mar. 9, 2017), https://apnews.com/8f54b14808a2459f9efcb0089f41f056/China-grants-
preliminary-approval-to-38-new-Trump-trademarks.
       79
         Id. Trademarks that receive preliminary approval are automatically registered after
ninety days if there are no objections. Id.
       80
         Sui-Lee Wee, Trump Adds Another Chinese Trademark to His Portfolio, N.Y. Times
(May 23, 2017), https://www.nytimes.com/2017/05/23/business/trump-china-
                                               40

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       47.        On June 6 and June 13, 2017, the Chinese government granted Defendant

preliminary approval of eight additional trademarks, covering services that include “construction,

advertising, weather forecasting and dietary consulting.”81

       48.        Circumstances suggest that at least some of these trademarks were approved or

expedited as a result of Defendant’s status as President of the United States.          After the

preliminary approval of trademarks in February and March, the director of a Hong Kong

intellectual property consultancy “said he had never seen so many applications approved so

expeditiously,”82 and those approvals closely followed Defendant’s abrupt decision as President

to honor the one-China policy, in contrast to his earlier statements.83 Moreover, many of the

preliminary approvals granted since Defendant became President were for trademarks that the

Chinese government had previously rejected.84 Regarding these reversals, another intellectual

property attorney stated: “The speed with which these appeals were decided is mind-blowing. . . .




trademarks.html?_r=1; Paul Mozur, Trump Awarded a New Chinese Trademark, This Time for
Catering, N.Y. Times (June 1, 2017), https://www.nytimes.com/2017/06/01/business/trump-
china-trademark.html.
       81
          Jill Disis & Serenitie Wang, Trump’s Newest Chinese Trademarks: Religious Clothing,
Advertising, CNN Money (June 14, 2017), http://money.cnn.com/2017/06/14/news/trump-
chinese-trademarks-religious-clothing/index.html; Sui-Lee Wee, Trump Adds More Trademarks
in China, N.Y. Times (June 13, 2017), https://mobile.nytimes.com/2017/06/13/business/trump-
china-trademarks.html?emc=edit_th_20170614&nl=todaysheadlines&nlid=51243100&_r=0&
referer=.
       82
            Id.
       83
           Simon Denyer & Philip Rucker, Backing Away From a Fight, Trump To Honor One-
China Policy, Wash. Post (Feb. 10, 2017),
https://www.washingtonpost.com/world/asia_pacific/trump-agrees-to-honor-one-china-policy-in-
call-to-xi-jinping/2017/02/10/ea6e7ece-ef4a-11e6-9973-
c5efb7ccfb0d_story.html?utm_term=.655101b0f540.
       84
          See Erika Kinetz, China Approves 9 of Trump’s Trademarks that They Had Previously
Rejected, AP (June 14, 2017), http://www.businessinsider.com/ap-china-overturns-rejections-of-
9-trump-trademarks-2017-6.

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I have never seen any decisions made that quickly. That suggests special treatment.”85

       49.        Possession of these various trademarks “offers a potential business foothold for

[Defendant]’s family company and protects his name in a country notorious for counterfeiters,”86

benefits that are of particular value to Defendant as his company prepares to build twenty to

thirty hotels in major Chinese cities.87 Foreign trademarks “can be enormously valuable—

whether they are intended as groundwork for future business activity or defensive measures

against squatting to protect the value of the brand,”88 and a Trump Organization spokesman has

stated that the company has pursued Chinese trademarks “to protect its brand and overall

intellectual property rights from third-party infringers.”89

       50.        By accepting the registration of these trademarks, Defendant has violated the

Foreign Emoluments Clause because he did not first seek and obtain “the Consent of the

Congress” before accepting these benefits from a foreign state.

       51.        As of April 2017, according to one investigation, Defendant’s companies had 157

trademark applications pending in 36 foreign nations.90 Accepting the registration of these

trademarks would violate the Foreign Emoluments Clause unless Defendant first sought and

obtained “the Consent of the Congress,” which he has not done.


       85
            Id.
       86
            Kinetz, China Grants Preliminary Approval, supra note 78.
       87
         Rob Schmitz, Trump’s Hotels in China Could Be a Conflict for the President-Elect,
NPR (Nov. 24, 2016), http://www.npr.org/2016/11/24/503236237/trumps-hotels-in-china-could-
be-a-conflict-for-the-president-elect.
       88
            Kinetz, China Approves 9 of Trump’s Trademarks, supra note 84.
       89
         Wee, Trump Adds More Trademarks, supra note 81 (statement of Alan Garten,
executive vice president and chief legal officer).
       90
          Sharon LaFraniere & Danny Hakim, Trump’s Trademark Continues Its March Across
the Globe, Raising Eyebrows, N.Y. Times (Apr. 11, 2017),
https://www.nytimes.com/2017/04/11/us/politics/trump-trademark-ethics.html.

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                  Acceptance of Payments for Hotel Rooms and Events

       52.        In 2013, Trump Old Post Office LLC signed a lease with the General Services

Administration, so it could house Trump International Hotel Washington, D.C. in the Old Post

Office building located at 1100 Pennsylvania Avenue, N.W., Washington, D.C. 20004.

Defendant owns approximately 77 percent of Trump Old Post Office LLC.91

       53.        “For Washington hotels . . . diplomats’ visits are big business,” and Defendant’s

hotel has been “actively courting” foreign diplomats,92 including hiring a “director of diplomatic

sales” and hosting an event soon after the November 2016 election in which “[a]bout 100 foreign

diplomats, from Brazil to Turkey” were given “a sales pitch about [Defendant]’s newest hotel.”93

An attendee who works with foreign officials noted that “‘[t]he place was packed’” and that

“much of the discussion among Washington-based diplomats [was] over ‘how are we going to

build ties with the new administration.’”94

       54.        According to public reports, diplomats plan to stay at the hotel to curry favor with

Defendant because of his position as President of the United States. “In interviews with a dozen

diplomats . . . some said spending money at Trump’s hotel is an easy, friendly gesture to the new

president.”95 According to an Asian diplomat, “Why wouldn’t I stay at [Defendant’s] hotel

blocks from the White House, so I can tell the new president, ‘I love your new hotel!’ Isn’t it

       91
            See U.S. Office of Gov’t Ethics Form 278e, supra note 71.
       92
          Eric Lipton & Susanne Craig, At Trump Hotel in Washington, Champagne Toasts in an
Ethical ‘Minefield,’ N.Y. Times (Jan. 19, 2017),
https://www.nytimes.com/2017/01/19/us/politics/trump-international-hotel-ethics.html.
       93
          Jonathan O’Connell & Mary Jordan, For Foreign Diplomats, Trump Hotel Is Place To
Be, Wash. Post (Nov. 18, 2016),
https://www.washingtonpost.com/business/capitalbusiness/2016/11/18/9da9c572-ad18-11e6-
977a-1030f822fc35_story.html?utm_term=.1a4c839c9c6a.
       94
            Id.
       95
            Id.

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rude to come to his city and say ‘I am staying at your competitor?’”96 One Middle Eastern

diplomat put it even more simply: “Believe me, all the delegations will go there.”97

        55.        Indeed, during the first four months of 2017, Defendant’s company made nearly

$2 million in profit from the hotel, although the company had earlier projected that it would lose

over $2 million during that period.98 These profits accumulated despite an occupancy rate well

below standard for the industry,99 and despite the hotel’s ranking by a “travel group that

specializes in high-end accommodations” as “the world’s third-lousiest new hotel.”100 “Driving

the profits are the extraordinary prices guests have been willing to pay for rooms,” as the hotel

charges “three times the average rate,” making it probably “the most expensive hotel in the

city.”101

        56.        By virtue of his ownership of the Trump International Hotel Washington, D.C.,

Defendant has accepted, or necessarily will accept, “Emolument[s]” from a “foreign State” or its

agent or instrumentality every time foreign diplomats stay at the hotel, foreign embassies hold

events there, or foreign governments otherwise pay for rooms there. On information and belief,

there have been at least three such incidents since Defendant’s inauguration:




        96
             Id.
        97
             Id.
        98
           Jonathan O’Connell, Trump D.C. Hotel Turns $2 Million Profit in Four Months, Wash.
Post (Aug. 10, 2017), https://www.washingtonpost.com/politics/trump-dc-hotel-turns-2-million-
profit-in-four-months/2017/08/10/23bd97f0-7e02-11e7-9d08-
b79f191668ed_story.html?utm_term=.24484d88a37e.
        99
             Id.
          Benjamin Freed, Luxury Travel Group Gives Trump’s DC Hotel a Brutal Review,
        100

Washingtonian (Dec. 20, 2016), https://www.washingtonian.com/2016/12/20/travel-group-dc-
trump-hotel-one-worlds-worst-new-luxury-hotels/.
        101
              O’Connell, supra note 98.

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                   a. In late January 2017, “[a] lobbying firm working for Saudi Arabia paid for a

                      room at [Defendant]’s Washington hotel after Inauguration Day,” as part of its

                      effort to bring activists to Washington “to urge Congress to repeal the law

                      letting 9/11 victims’ families sue the kingdom.”102 This transaction marked

                      “the first publicly known payment on behalf of a foreign government to a

                      Trump property since [Defendant] became president.”103 The lobbying firm

                      made additional payments to the hotel in early February 2017, and all

                      payments were reimbursed by the Saudi government.104 Between November

                      2016 and February 2017, the firm paid Defendant’s hotel approximately

                      $270,000 for lodging, catering, and parking—all reimbursed by the Saudi

                      government.105

                   b. On February 22, 2017, the Embassy of Kuwait held its National Day

                      Celebration at Trump International Hotel Washington, D.C. According to

                      cost estimates from the hotel, the price of the celebration was between

                      $40,000 and $60,000.106




       102
          Isaac Arnsdorf, Saudis Foot Tab at Trump Hotel, Politico (Feb. 9, 2017),
http://www.politico.com/story/2017/02/trump-hotel-saudi-arabia-234878?cmpid+sf.
       103
             Id.
       104
          Byron Tau & Rebecca Ballhaus, Trump Hotel Received $270,000 From Lobbying
Campaign Tied to Saudis, Wall St. J. (June 5, 2017), https://www.wsj.com/articles/trump-hotel-
received-270-000-from-lobbying-campaign-tied-to-saudis-1496700739.
       105
          Id. Public reports do not indicate what portion of these payments were made after
Defendant became President, though an executive from the lobbying firm has claimed that the
majority of the payments occurred before he became President. Id.
       106
         Julia Harte, Kuwait Could Pay Up To $60,000 for Party at Trump Hotel in
Washington, Reuters (Feb. 27, 2017), http://www.reuters.com/article/us-usa-trump-hotel-
idUSKBN1640LE.

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              c. On or about April 6, 2017, the Ambassador & Permanent Representative

                  of Georgia to the United Nations stayed at Trump International Hotel

                  Washington, D.C.107

       57.    Defendant has not sought or received “the Consent of the Congress” to accept

these “Emolument[s]” and is therefore violating the Foreign Emoluments Clause when he

accepts such “Emolument[s].”

              Acceptance of Payments Derived from Real Estate Holdings

       58.    Defendant owns Trump Tower, a mixed-use skyscraper located at 725 Fifth

Avenue, New York, N.Y. 10022. Since Defendant became President, at least two entities owned

by foreign states have been tenants of Trump Tower: (1) the Industrial and Commercial Bank of

China, which is owned by China,108 and (2) the Abu Dhabi Tourism & Culture Authority, which

is owned by the United Arab Emirates.109

       59.    By virtue of his ownership of Trump Tower and the leases of these entities,

Defendant has accepted, or necessarily will accept, “Emolument[s]” from a “foreign State” or its

agent or instrumentality. Defendant has not sought or received “the Consent of the Congress” to

accept these “Emolument[s]” and is therefore violating the Foreign Emoluments Clause.


       107
            Kaha Imnadze (@kahaimnadze), Twitter (Apr. 6, 2017, 8:49 AM),
https://twitter.com/kahaimnadze/status/850012655347789824.
       108
           Caleb Melby, Stephanie Baker, & Ben Brody, When Chinese Bank’s Trump Lease
Ends, Potential Conflict Begins, Bloomberg Pol. (Nov. 28, 2016),
https://www.bloomberg.com/politics/articles/2016-11-28/trump-s-chinese-bank-tenant-may-
negotiate-lease-during-his-term.
       109
           Adam Schreck, In a First, Emirati Foreign Minister Defends Trump Visa Ban, AP
(Feb. 1, 2017), http://bigstory.ap.org/article/4ecfcc9c03bb412fae7233be0f53f2b6/first-emirati-
foreign-minister-defends-trump-visa-ban. According to a subsequent report, the Abu Dhabi
tourism authority ended its lease effective January 31, 2017. Lorraine Woellert, Abu Dhabi
Tourism Office Quits Trump Tower, Politico (June 6, 2017),
http://www.politico.com/story/2017/06/06/abu-dhabi-trump-tower-tourism-office-239188.

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       60.         Defendant also owns Trump World Tower, which is located at 845 United

Nations Plaza, New York, N.Y. 10017.

       61.         In 2001, the Kingdom of Saudi Arabia purchased a floor of Trump World Tower,

and the floor currently belongs to the Saudi Mission to the United Nations.110 At the time of the

sale, the floor had “yearly common charges of $85,585 for building amenities.”111

       62.         If Saudi Arabia continues to pay common charges to Defendant’s company,

Defendant has accepted, or necessarily will accept, “Emolument[s]” from a “foreign State” or its

agent or instrumentality, and he will have done so without first seeking and receiving “the

Consent of the Congress,” in violation of the Foreign Emoluments Clause.

                   Acceptance of Licensing Fees for “The Apprentice”

       63.         While serving as President, Defendant remains an executive producer of the

MGM-produced television show “The Apprentice.” In that role, he is contractually entitled to a

percentage of the profits derived from licensing the show and its related spin-offs to television

networks, including in foreign countries. “The show has current iterations in the U.K., Brazil,

Bulgaria, Indonesia and Vietnam; each of these must pay MGM a licensing fee for the show’s

name and set-up, a portion of which goes to Trump.”112

       64.         In the United Kingdom, the television network that pays these licensing fees is

owned and operated by the government.           Specifically, the state-owned network BBC One

       110
          Stephen Rex Brown, Exclusive: Donald Trump Made Millions from Saudi
Government, but Trashes Hillary Clinton for Saudi Donations to Clinton Foundations, N.Y.
Daily News (Sept. 4, 2016), http://www.nydailynews.com/news/politics/exclusive-donald-trump-
made-millions-saudi-government-article-1.2777211.
       111
             Id.
       112
           Madeline Berg, Here’s How Much Donald Trump Will Earn From Producing
‘Celebrity Apprentice,’ Forbes (Dec. 13, 2016),
https://www.forbes.com/sites/maddieberg/2016/12/13/heres-how-much-trump-will-earn-from-
producing-celebrity-apprentice/#505f22311d0c.

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broadcasts a version of “The Apprentice,”113 for which the network pays a licensing fee, a

portion of which goes to Defendant.

       65.       By taking a portion of licensing fees paid by foreign governments, Defendant has

accepted, or necessarily will accept, “Emolument[s]” from a “foreign State” or its agent or

instrumentality, and he will have done so without first seeking and receiving “the Consent of the

Congress,” in violation of the Foreign Emoluments Clause.

                 Acceptance of Regulatory Benefits

       66.       Defendant is at least part owner of numerous business ventures around the world,

including in Argentina,114 China,115 India,116 Indonesia,117 Scotland,118 Turkey,119 United Arab

Emirates,120 and the Philippines.121 Many of these ventures are in the planning stages, and as


       113
           See The Apprentice, BBC One, http://www.bbc.co.uk/programmes/b0071b63 (last
visited June 12, 2017).
       114
           Josh Marshall & Catherine Thompson, Cashing in BIGLY in Argentina!, Talking
Points Memo (Nov. 21, 2016), http://talkingpointsmemo.com/edblog/cashing-in-bigly-in-
argentina.
       115
             Schmitz, supra note 87.
       116
          Richard C. Paddock et al., Potential Conflicts Around the Globe for Trump, the
Businessman President, N.Y. Times (Nov. 26, 2016),
https://www.nytimes.com/2016/11/26/us/politics/donald-trump-international-business.html.
       117
          Richard C. Paddock & Eric Lipton, Trump’s Indonesia Projects, Still Moving Ahead,
Create Potential Conflicts, N.Y. Times (Dec. 31, 2016),
https://www.nytimes.com/2016/12/31/world/asia/indonesia-donald-trump-resort.html.
       118
          Severin Carrell, Trump’s Scotland Golf Resort Proceeds with Expansion Despite
Business Pledge, The Guardian (Jan. 14, 2017), https://www.theguardian.com/us-
news/2017/jan/14/trump-scotland-golf-resort-conflicts-of-interest.
       119
            Pema Levy, Trump Admitted to a Conflict of Interest in Turkey, Mother Jones (Nov.
15, 2016), http://www.motherjones.com/politics/2016/11/donald-trump-i-have-little-conflict-
interest-turkey.
       120
           Jon Gambrell, AP Exclusive: Golf Club Shows Pitfalls of Trump Presidency, AP (Jan.
3, 2017), http://bigstory.ap.org/article/f105158bacc94890bc952a26f8a5c819.
       121
          Jackie Northam, Trump Business Deals in Southeast Asia Raise Conflict of Interest
Concerns, NPR (Jan. 6, 2017),
                                                48

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public reports note, “foreign developers could stand to benefit if their governments were to

grease the skids for Trump-branded projects as a way to curry favor with the new American

president.”122 Indeed, since the election, there have been reports of Defendant asking for, and

receiving, such help from foreign governments:

                a. In November 2016, when Argentine President Mauricio Macri called

                    Defendant to congratulate him on his victory, Defendant reportedly asked him

                    “to deal with the permitting issues that are currently holding up” a project that

                    Defendant and Argentine partners have been working on for a number of

                    years, namely, the development of a major office building in Buenos Aires.123

                    “[T]hree days after Trump spoke with Argentina’s president, . . . the long

                    delayed project was moving ahead.”124

                b. In a meeting “held shortly after the presidential election,” Defendant

                    reportedly “encouraged [British politician Nigel Farage] . . . to oppose the

                    kind of offshore wind farms that [Defendant] believes will mar the pristine

                    view from one of his two Scottish golf courses.”125



http://www.npr.org/sections/parallels/2017/01/06/508411598/trump-business-deals-in-southeast-
asia-raise-conflict-of-interest-concerns.
       122
          Rosalind S. Helderman & Tom Hamburger, Trump’s Presidency, Overseas Business
Deals and Relations with Foreign Governments Could All Become Intertwined, Wash. Post
(Nov. 25, 2016), https://www.washingtonpost.com/politics/trumps-presidency-overseas-
business-deals-and-relations-with-foreign-governments-could-all-become-
intertwined/2016/11/25/d2bc83f8-b0e2-11e6-8616-
52b15787add0_story.html?utm_term=.9f2b946fffd5.
       123
             Marshall & Thompson, supra note 114.
       124
             Helderman & Hamburger, supra note 122.
       125
          Danny Hakim & Eric Lipton, With a Meeting, Trump Renewed a British Wind Farm
Fight, N.Y. Times (Nov. 21, 2016), https://www.nytimes.com/2016/11/21/business/with-a-
meeting-trump-renewed-a-british-wind-farm-fight.html.

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                   c. Further, “[d]ays after [Defendant]’s election victory, a news agency in the

                       former Soviet republic of Georgia reported that a long-stalled plan for a

                       Trump-branded tower in a seaside Georgian resort town was now back on

                       track.”126

          67.      Defendant’s acceptance of any benefits from foreign governments related to his

business ventures abroad—including payments, loans, permits, exemptions, tax incentives, and

favorable policy changes—would violate the Foreign Emoluments Clause unless Defendant first

sought and obtained “the Consent of the Congress,” which he has not done.

                   Consequences of Defendant’s Failure To Comply with the Constitution

          68.      Defendant’s refusal to seek and obtain “the Consent of the Congress” before

accepting the payments and benefits discussed above suggests that Defendant may have accepted

other payments and benefits from foreign states that have not yet been made public. Neither the

Plaintiffs nor the public, therefore, can know the full range of Defendant’s unconstitutional

acceptance of foreign emoluments.

          69.      By accepting such benefits without first obtaining congressional consent,

Defendant is causing the harms that the Founders sought to prevent when they adopted the

Foreign Emoluments Clause.          The Clause was meant to ensure “the undivided loyalty of

individuals occupying positions of trust under our government,”127 because, as the Founders

recognized, “[t]hose who hold offices under the United States must give the government their

unclouded judgment and their uncompromised loyalty.”128 Defendant’s conduct deprives the


          126
                Helderman & Hamburger, supra note 122.
          127
          Application of Emoluments Clause to Part-Time Consultant for the Nuclear
Regulatory Commission, 10 Op. O.L.C. at 100.
          128
                Employment of Government Employees by Foreign Public Universities, 18 Op. O.L.C.
at 18.

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American people of assurance that their highest elected official is pursuing their best interests

with undivided loyalty.

       70.       For instance, as Defendant addresses critical trade issues with China, which could

dramatically affect the American economy and American jobs, he may be influenced by the fact

that New York’s Trump Tower will soon be renegotiating its lease with the state-owned

Industrial and Commercial Bank of China,129 or the fact that the Chinese government recently

granted him numerous trademarks enabling his companies to pursue lucrative business

opportunities in that country.130

       71.       As Defendant brokers arms deals with Saudi Arabia,131 as he navigates conflicts

between Saudi Arabia and Qatar,132 and as he decides whether to commit U.S. resources to

support Saudi military actions in Yemen, which potentially could escalate and put American

servicemembers in harm’s way, he may be influenced by his desire to pursue hotel deals in Saudi

Arabia requiring government approvals.133        Indeed, Defendant said during the presidential



       129
             Melby, Baker, & Brody, supra note 108.
       130
             Kinetz, China Grants Preliminary Approval, supra note 78.
       131
           Michael J. de la Merced, Saudi Arabia To Invest $20 Billion in Infrastructure, Mostly
in U.S., N.Y. Times (May 20, 2017),
https://www.nytimes.com/2017/05/20/business/dealbook/saudi-arabia-to-invest-20-billion-in-
infrastructure-mostly-in-us.html; Mark Landler et al., $110 Billion Weapons Sale to Saudis Has
Jared Kushner’s Personal Touch, N.Y. Times (May 18, 2017),
https://www.nytimes.com/2017/05/18/world/middleeast/jared-kushner-saudi-arabia-arms-deal-
lockheed.html.
       132
           David D. Kirkpatrick, Trump’s Business Ties in the Gulf Raise Questions About His
Allegiances, N.Y. Times (June 17, 2017),
https://www.nytimes.com/2017/06/17/world/middleeast/trumps-business-ties-in-persian-gulf-
raise-questions-about-his-allegiances.html?cn=bWVudGlvbg%3D%3D&_r=0 (noting that
Defendant’s position on this dispute differed from the position of his Secretary of State).
       133
          Drew Harwell & Anu Narayanswamy, A Scramble To Assess the Dangers of
President-Elect Donald Trump’s Global Business Empire, Wash. Post (Nov. 20, 2016),
https://www.washingtonpost.com/business/economy/a-scramble-to-assess-the-dangers-of-
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campaign that he “would want to protect Saudi Arabia” from Iranian aggression and also stated:

“Saudi Arabia, I get along with all of them. They buy apartments from me. They spend $40

million, $50 million. Am I supposed to dislike them?”134

       72.         As Defendant decides how to shape U.S. policy toward Russia, he may be

influenced by his long-standing, though yet unrealized, desire to build housing and hotels in

Russia,135 which could also require government approvals or licenses. Indeed, Donald Trump

Jr., Defendant’s son and an executive in the Trump Organization, has in the past acknowledged

the business ties between Defendant and Russia, noting in 2008 that “Russians make up a pretty

disproportionate cross-section of a lot of our assets” and that “we see a lot of money pouring in

from Russia.”136

       73.         Finally, as Defendant weighs the United States’ response to allegations that

Philippine president Rodrigo Duterte has endorsed extrajudicial killings and other human rights

abuses, he may be influenced by the millions of dollars he is set to receive in licensing revenue

from the new Trump Tower in Manila, particularly because his business partner in that venture


president-elects-global-business-empire/2016/11/20/1bbdc2a2-ad18-11e6-a31b-
4b6397e625d0_story.html?utm_term=.0926499e36bb.
       134
             Id.
       135
           Oren Dorell, Donald Trump’s Ties to Russia Go Back 30 Years, USA Today (Feb. 15,
2017), https://www.usatoday.com/story/news/world/2017/02/15/donald-trumps-ties-russia-go-
back-30-years/97949746/; see Mike McIntire, Russia Renewed Unused Trump Trademarks in
2016, N.Y. Times (June 18, 2017), https://www.nytimes.com/2017/06/18/us/politics/russia-
trump-trademarks.html (“The extension of trademarks such as ‘Trump International Hotel and
Tower’ protects his brand in that country and preserves conditions for potential business deals.”);
see also Kevin G. Hall & Ben Wieder, Trump Dreamed of His Name on Towers Across Former
Soviet Union, McClatchy (June 28, 2017), http://www.mcclatchydc.com/news/nation-
world/national/article158518589.html.
         Rosalind S. Helderman, Here’s What We Know About Donald Trump and His Ties to
       136

Russia, Wash. Post (July 29, 2016), https://www.washingtonpost.com/politics/heres-what-we-
know-about-donald-trump-and-his-ties-to-russia/2016/07/29/1268b5ec-54e7-11e6-88eb-
7dda4e2f2aec_story.html?utm_term=.d25e09c907e7.

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was appointed by President Duterte to serve as a top trade envoy to the United States.137

       74.       As Defendant makes countless other foreign policy decisions, he may similarly be

influenced by how those decisions will affect his business pursuits. And because Defendant is

not coming to Congress and identifying the emoluments he wishes to accept, the American

people will have no way of knowing whether his actions as President reflect only his beliefs

about what is best for the country, or whether they are partly motivated by personal financial

considerations.     For instance, when Defendant publicly advocated during the presidential

campaign for a ban on Muslims entering the United States, Turkish President Recep Tayyip

Erdogan called for Defendant’s name to be removed from the Trump Towers Istanbul, two high-

rises containing offices and luxury apartments, connected by a shopping mall.             But after

Defendant subsequently defended Erdogan’s suppression of political dissidents, “the calls for the

renaming of the Trump Towers Mall ended.”138 Defendant himself has acknowledged that he

has “a little conflict of interest” regarding Turkey because “I have a major, major building in

Istanbul.”139

       75.        To avoid even the possibility that conflicts of interest like these would harm the

American people by compromising the judgment of their leaders, the Founders laid down the

strict prohibitions of the Foreign Emoluments Clause.

       B.        Plaintiffs’ Injuries

       76.       The text of the Foreign Emoluments Clause expressly assigns members of

       137
           Drew Harwell & Matea Gold, While in White House, Trumps Remained Selling Points
for ‘Very Special’ Philippines Project, Wash. Post (May 2, 2017),
https://www.washingtonpost.com/politics/while-in-white-house-trumps-remained-selling-points-
for-very-special-philippines-project/2017/05/02/09ee6164-2e99-11e7-9dec-
764dc781686f_story.html?utm_term=.b60fdfde5a42.
       138
             Paddock et al., supra note 116.
       139
             Harwell & Narayanswamy, supra note 133.

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Congress a role in regulating federal officeholders’ acceptance of emoluments from foreign

states. By providing that persons holding an “Office of Profit or Trust” under the United States

may accept such “Emolument[s]” with, and only with, “the Consent of the Congress,” the

Constitution makes clear that members of Congress must have the opportunity to cast a binding

vote that gives or withholds their “Consent” before the President or any other federal

officeholder accepts a foreign “Emolument.”

       77.     Since taking office, Defendant has accepted, or necessarily will accept, numerous

emoluments from foreign states.

       78.     Congress has not consented to Defendant’s acceptance of any of the emoluments

that he has received or will be receiving in the future.

       79.     Although the Foreign Emoluments Clause places on federal officeholders who

wish to accept “Emolument[s]” the burden of seeking “the Consent of the Congress,” Defendant

has never sought Congress’s consent for his acceptance of these foreign emoluments.

       80.     Similarly, Defendant has not provided Congress with any information about the

foreign emoluments he has accepted or the transactions that produced them.

       81.     Defendant’s refusal to seek Congress’s consent and provide information about the

foreign emoluments he is accepting makes it impossible for Plaintiffs to evaluate the unique

circumstances of each emolument and decide, on a case-by-case basis, whether any of those

specific emoluments should be approved.

       82.     By accepting emoluments without “the Consent of the Congress,” Defendant has

violated the Foreign Emoluments Clause. In the process, Defendant has deprived Plaintiffs of

their ability to vote on which emoluments he, as a federal officeholder, may accept. When




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legislators’ votes are “completely nullified” or “deprived of all validity,” 140 they may seek

judicial redress to “have their votes given effect.”141 Such nullification occurs both where a

previously cast vote has been unlawfully disregarded and where, as here, legislators are

unlawfully denied an “opportunity to cast a binding vote” in the first place. 142 By refusing to

seek Plaintiffs’ consent as constitutionally required, “[t]he President’s action has deprived them

of this opportunity completely, in the sense that they have no legislative power to exercise an

equivalent voting opportunity.”143 Plaintiffs thus have “a plain, direct and adequate interest in

maintaining the effectiveness of their votes” on whether consent should be given to Defendant’s

acceptance of foreign emoluments.144

       83.       Without a judicial order, Plaintiffs cannot force Defendant to obey the

Constitution’s text by seeking their consent before accepting such foreign emoluments. The

declaratory and injunctive relief that Plaintiffs are seeking would redress this injury by ensuring

       140
             Raines v. Byrd, 521 U.S. 811, 822-23 (1997).
       141
           Coleman v. Miller, 307 U.S. 433, 438 (1939); see Kennedy v. Sampson, 511 F.2d 430,
436 (D.C. Cir. 1974) (recognizing legislator’s standing “to vindicate the effectiveness of his
vote” after “an illegal nullification” by the executive branch).
       142
            Goldwater v. Carter, 617 F.2d 697, 702-03 (D.C. Cir. 1979) (en banc) (recognizing
standing where President’s action “deprived each individual Senator of his alleged right to cast a
vote” on whether to terminate a treaty), vacated on other grounds, 444 U.S. 996 (1979); see Ariz.
State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2663, 2665 (2015)
(recognizing standing where action that “strips the Legislature of its alleged prerogative to
initiate redistricting” would “completely nullify any vote by the Legislature, now or in the
future,” on that topic (brackets and quotation marks omitted)); Moore v. U.S. House of
Representatives, 733 F.2d 946, 949 (D.C. Cir. 1984) (recognizing standing where members of
the House of Representatives were allegedly denied their constitutional prerogative “to originate
bills for raising revenues”); Am. Fed’n of Gov’t Emps., AFL-CIO v. Pierce, 697 F.2d 303, 305
(D.C. Cir. 1982) (recognizing standing where legislator was allegedly deprived by the executive
branch of his “statutory right to participate in the legislative process”); cf. Raines, 521 U.S. at
824 (denying standing because legislators could not claim that the statute they were challenging
“will nullify their votes in the future”).
       143
             Goldwater, 617 F.2d at 703.
       144
             Coleman, 307 U.S. at 438.

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that Defendant accepts no “present, Emolument, Office, or Title” from any “foreign State”

without first giving them an opportunity to vote on whether to provide their consent.

                                                 V.
                                               CLAIMS

                                              COUNT I
                           Violations of the Foreign Emoluments Clause
                                        (Declaratory Relief)

        84.       Plaintiffs re-allege and incorporate by reference each and every foregoing

paragraph of this Complaint as if set forth here in full.

        85.       There is an actual controversy between Plaintiffs and Defendant as to the meaning

of the Foreign Emoluments Clause and its application to Defendant and his conduct.

Specifically, Plaintiffs allege that Defendant, by virtue of his continuing ownership of vast

business interests around the world, has been, or necessarily soon will be, accepting emoluments

from foreign states. Because Defendant has not sought and received the consent of Congress, he

is in violation of the Foreign Emoluments Clause. Defendant, through his personal attorney, has

indicated that he disagrees with these allegations, believing instead that “[t]he Constitution does

not require [Defendant] to do anything here.”145

        86.       Plaintiffs are entitled to declaratory relief under 28 U.S.C. § 2201. A declaration

resolving the actual controversy between Plaintiffs and Defendant will aid in the resolution of

legal issues in this action. Without this relief, Plaintiffs will continue to suffer injury.

                                             COUNT II
                           Violations of the Foreign Emoluments Clause
                                         (Injunctive Relief)

        87.       Plaintiffs re-allege and incorporate by reference each and every foregoing

paragraph of this Complaint as if set forth here in full.

        145
              Donald Trump’s News Conference: Full Transcript and Video, supra note 73.

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       88.     Defendant is a “Person holding any Office of Profit or Trust” under the Foreign

Emoluments Clause.

       89.     The Foreign Emoluments Clause prohibits “Person[s] holding any Office of Profit

or Trust” under the United States from accepting “present[s]” or “Emolument[s] . . . of any kind

whatever”—that is, anything of value and any benefits, monetary or nonmonetary—from “any

King, Prince, or foreign State,” without “the Consent of the Congress.”

       90.     As described more fully in paragraphs 34-62 herein, Defendant has committed

and, absent this Court’s intervention, will continue to commit violations of the Foreign

Emoluments Clause because he has accepted, or necessarily will accept, “Emolument[s]” from

foreign states without obtaining the consent of Congress.

       91.     By accepting “Emolument[s]” from foreign states without obtaining the consent

of Congress, Defendant has denied each Plaintiff the opportunity to cast binding votes on

whether to provide his or her consent to Defendant’s acceptance of these individual

“Emolument[s].”

       92.     Plaintiffs are entitled to injunctive relief to stop the above-mentioned injury, and

this Court has the power to grant such relief pursuant to its inherent ability to grant equitable

relief and pursuant to 28 U.S.C. § 1331. Such relief would order Defendant not to accept “any

present, Emolument, Office, or Title, of any kind whatever” from a foreign state without

obtaining “the Consent of the Congress,” thus ensuring that individual members of Congress

have the opportunity to vote on a case-by-case basis whether to give their consent, as the

Constitution requires.

                                           VI.
                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter a judgment in

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Plaintiffs’ favor and against Defendant, consisting of:

       (a)     A declaratory judgment stating that:

                       (1) Defendant is a “Person holding any Office of Profit or Trust” within

               the meaning of the Foreign Emoluments Clause;

                       (2) the Foreign Emoluments Clause prohibits any “Person holding any

               Office of Profit or Trust” from accepting any benefits of value, monetary or

               nonmonetary, from “any King, Prince, or foreign State”;

                       (3) the phrase “any King, Prince, or foreign State” under the Foreign

               Emoluments Clause includes any foreign government and any agent or

               instrumentality thereof; and

                       (4) by accepting “Emolument[s]” from foreign states without first seeking

               and obtaining “the Consent of the Congress,” Defendant is violating the Foreign

               Emoluments Clause;

       (b)     Injunctive relief, enjoining Defendant from accepting “Emolument[s]” from

               foreign states without first obtaining the consent of Congress; and

       (c)     Such other and further relief as this Court may deem just and proper.

       Dated: June 20, 2019

                                      CONSTITUTIONAL ACCOUNTABILITY CENTER

                                      By: /s/ Brianne J. Gorod
                                         Brianne J. Gorod

                                          Elizabeth B. Wydra (DC Bar No. 483298)
                                          Brianne J. Gorod (DC Bar No. 982075)
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U.S. Const. art. I, § 9, cl. 8 (Foreign Emoluments Clause)

No Title of Nobility shall be granted by the United States: And no Person holding any
Office of Profit or Trust under them, shall, without the Consent of the Congress,
accept of any present, Emolument, Office, or Title, of any kind whatever, from any
King, Prince, or foreign State.

U.S. Const. art. II, § 1, cl. 7 (Domestic Emoluments Clause)

The President shall, at stated Times, receive for his Services, a Compensation, which
shall neither be encreased nor diminished during the Period for which he shall have
been elected, and he shall not receive within that Period any other Emolument from
the United States, or any of them.




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28 U.S.C. § 1292. Interlocutory Decisions

                                            ***
(b) When a district judge, in making in a civil action an order not otherwise appealable
under this section, shall be of the opinion that such order involves a controlling
question of law as to which there is substantial ground for difference of opinion and
that an immediate appeal from the order may materially advance the ultimate
termination of the litigation, he shall so state in writing in such order. The Court of
Appeals which would have jurisdiction of an appeal of such action may thereupon, in
its discretion, permit an appeal to be taken from such order, if application is made to
it within ten days after the entry of the order: Provided, however, That application for
an appeal hereunder shall not stay proceedings in the district court unless the district
judge or the Court of Appeals or a judge thereof shall so order.

                                          ***

28 U.S.C. § 1651. Writs

(a) The Supreme Court and all courts established by Act of Congress may issue all
writs necessary or appropriate in aid of their respective jurisdictions and agreeable to
the usages and principles of law.

(b) An alternative writ or rule nisi may be issued by a justice or judge of a court which
has jurisdiction.




                                        Add. 179
